Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 1 of 68




             EXHIBIT 39
             REDACTED
     Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 2 of 68

                                     CONFIDENTIAL

                                                                      Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
 2                  FOR THE MIDDLE DISTRICT OF ALABAMA
 3                           NORTHERN DIVISION
 4
 5      BRIANNA BOE, et al.,          )
                                      )
 6             Plaintiffs,            )
                                      )Civil Action No.
 7      UNITED STATES OF AMERICA,     )2:22-cv-184-LCB
                                      )
 8             Intervenor Plaintiff, )
                                      )
 9               vs.                  )
                                      )
10      HON. STEVE MARSHALL in his    )
        official capacity as          )
11      Attorney General of the State )
        of Alabama, et al.,           )
12                                    )
               Defendants.            )
13      ______________________________)
14
15
16                      VIDEO-RECORDED DEPOSITION OF
17                           DAN KARASIC, M.D.
18                          Tuesday, May 7, 2024
19                                Volume I
20                          *** CONFIDENTIAL ***
21
22      Reported by:
        CARLA SOARES
23      CSR No. 5908
24      Job No. 6671384
25      Pages 1 - 263

                                  Veritext Legal Solutions
     877-373-3660                                                       800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 3 of 68

                                                   CONFIDENTIAL
                                                        Page 2                                           Page 4
 1       IN THE UNITED STATES DISTRICT COURT                      1 APPEARANCES (Continued):
 2       FOR THE MIDDLE DISTRICT OF ALABAMA
 3             NORTHERN DIVISION
                                                                  2
 4                                                                3 For the Defendants:
 5 BRIANNA BOE, et al.,           )                               4    COOPER & KIRK PLLC
                       )
 6      Plaintiffs,        )
                                                                  5    BY: JOHN D. RAMER, Attorney at Law
                       )Civil Action No.                          6    1523 New Hampshire Avenue, NW
 7 UNITED STATES OF AMERICA, )2:22-cv-184-LCB                     7    Washington, DC 20036
                       )
 8      Intervenor Plaintiff, )
                                                                  8    202.220.9621
                       )                                          9    jramer@cooperkirk.com
 9        vs.            )                                       10
                       )
10 HON. STEVE MARSHALL in his )
                                                                 11
   official capacity as        )                                 12 For the Witness:
11 Attorney General of the State )                               13    COVINGTON & BURLING LLP
   of Alabama, et al.,         )
                                                                 14    BY: CORTLIN H. LANNIN, Attorney at Law
12                     )
        Defendants.          )                                   15    BY: NOAH S. GOLDBERG, Attorney at Law
13 ______________________________)                               16    Salesforce Tower
14                                                               17    415 Mission Street
15
16         VIDEO-RECORDED DEPOSITION OF DAN KARASIC,             18    San Francisco, California 94105
17 M.D., Volume I, taken on behalf of Defendants,                19    415.591.7078
18 beginning at 8:58 a.m., and ending at 5:34 p.m., on           20    clannin@cov.com
19 Tuesday, May 7, 2024, before CARLA SOARES, Certified
20 Shorthand Reporter No. 5908.                                  21    ngoldberg@cov.com
21                                                               22
22                                                               23
23
24                                                               24 ALSO PRESENT: Cassia Leet, Video Operator
25                                                               25              --o0o--
                                                        Page 3                                           Page 5
 1 APPEARANCES:                                    1              INDEX
 2                                                 2 WITNESS
 3 For the Private Plaintiffs:                     3 DAN KARASIC, M.D.                   EXAMINATION
 4    NATIONAL CENTER FOR LESBIAN RIGHTS             Volume I
 5    BY: CHRISTOPHER STOLL, Attorney at Law       4
 6    BY: SHANNON MINTER, Attorney at Law          5          BY MR. RAMER                  13
 7       (via Zoom)                                6          BY MR. STOLL                 260
 8    870 Market Street, Suite 370                 7
                                                   8             EXHIBITS
 9    San Francisco, California 94102
                                                   9 NUMBER            DESCRIPTION             PAGE
10    415.392.6257
                                                  10 Exhibit 1                        48
11    cstoll@nclrights.org
                                                  11      Document entitled "Chapter 18
12    sminter@nclrights.org
                                                  12      Mental health"
13
                                                  13
14
                                                  14 Exhibit 2                        71
15 For the United States of America:
                                                  15      Document entitled "Standards of
16    DEPARTMENT OF JUSTICE CIVIL RIGHTS DIVISION 16      Care 8," Bates JHU_000003256 - 3262
17    BY: RENEE WILLIAMS, Attorney at Law         17
18       (via Zoom)                               18 Exhibit 3                        89
19    150 M Street, NE, 8th Floor                 19      Document entitled "Appendix A
20    Washington, DC 20004                        20      Methodology"
21    205.514.2000                                21
22    renee.williams3@usdoj.gov                   22 Exhibit 4                       119
23                                                23      Expert Rebuttal Report of Dan H.
24                                                24      Karasic, M.D.
25                                                25

                                                                                                2 (Pages 2 - 5)
                                               Veritext Legal Solutions
877-373-3660                                                                                     800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 4 of 68

                                           CONFIDENTIAL
                                               Page 6                                                  Page 8
 1             EXHIBITS                                  1              EXHIBITS
 2 NUMBER             DESCRIPTION             PAGE       2 NUMBER             DESCRIPTION           PAGE
 3 Exhibit 5                         140                 3 Exhibit 15                        215
 4      Document entitled "Chapter 6                     4      Email string, top email to
 5      Adolescents"                                     5      WPATH EC from [redacted], dated
 6                                                       6      2-12-17, Bates BOEAL_WPATH_101671 - 1672
 7 Exhibit 6                         158                 7
 8      Document entitled "Consensus                     8 Exhibit 16                        219
 9      Parameter: Research Methodologies                9      Document containing numbered paragraphs,
10      to Evaluate Neurodevelopmental Effects          10      Bates BOEAL_WPATH_143750 - 3751
11      of Pubertal Suppression in                      11
12      Transgender Youth"                              12 Exhibit 17                        222
13                                                      13      Private Plaintiffs' Supplemental
14 Exhibit 7                         162                14      Rule 26 Disclosures
15      Document entitled "Gender Dysphoria             15
16      in Adults: An Overview and Primer               16 Exhibit 18                        224
17      for Psychiatrists"                              17      Email string, top email to Walter
18                                                      18      Bouman from Asa Radix, dated 6-14-22,
19 Exhibit 8                         195                19      Bates BOEAL_WPATH_105494 - 5498
20      Facebook post, dated 2-4-17                     20
21                                                      21 Exhibit 19                        226
22 Exhibit 9                         197                22      Email to Melanie Bird from Emily G.
23      Email string, top email to [redacted]           23      Gean, dated 12-29-20, Bates HHS-0153399
24      from [redacted], dated 6-7-22,                  24
25      Bates BOEAL_WPATH_064098 - 4099                 25
                                               Page 7                                                  Page 9
 1             EXHIBITS                                  1             EXHIBITS
 2 NUMBER             DESCRIPTION             PAGE       2 NUMBER             DESCRIPTION             PAGE
 3 Exhibit 10                         202                3 Exhibit 20                        227
 4      Video labeled "Karasic_Dep_                      4      Document entitled "Treatments for
 5      Video1.mp4"                                      5      Gender Dysphoria in Transgender
 6                                                       6      Youth Topic Nomination,"
 7 Exhibit 11                         205                7      Bates HHS-0153400 - 3402
 8      Video labeled "Karasic_Dep_                      8
 9      Video2.mov"                                      9 Exhibit 21                        229
10                                                      10      Email string, top email to Karen
11 Exhibit 12                         206               11      Robinson from Christine Chang, dated
12      Video labeled "Karasic_Dep_                     12      9-1-20, Bates HHS-0153484 - 3487
13      Video3.mov"                                     13
14                                                      14 Exhibit 22                        243
15 Exhibit 13                         207               15      Document entitled "SOC 8 Mental
16      Document entitled "A message from               16      Health chapter in Clinical Practice,"
17      the WPATH Executive Committee"                  17      Bates BOEAL_WPATH_139861 - 9873
18                                                      18
19 Exhibit 14                         212               19 Exhibit 23                        253
20      Email string, top email to [redacted]           20      Document entitled "Initial Clinical
21      from [redacted], dated 2-13-17,                 21      Guidelines for Co-Occurring Autism
22      Bates BOEAL_KARASIC_000008 - 0010               22      Spectrum Disorder and Gender
23                                                      23      Dysphoria or Incongruence in
24                                                      24      Adolescents"
25                                                      25             --o0o--

                                                                                             3 (Pages 6 - 9)
                                       Veritext Legal Solutions
877-373-3660                                                                                  800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 5 of 68

                                                CONFIDENTIAL
                                                    Page 10                                                    Page 12
 1             REFERENCED EXHIBITS                             1 The court reporter is Carla Soares, from the firm
 2               (None.)                                       2 Veritext Legal Solutions.
 3                                                             3        I am not related to any party in this
 4                                                             4 action, nor am I financially interested in the
 5                                                             5 outcome.
 6                                                             6        Would counsel and all present, including
 7          INSTRUCTIONS NOT TO ANSWER                         7 remotely, please state your appearances and
 8              (None.)                                        8 affiliations for the record, beginning with the
 9                                                             9 noticing attorney.
10                 --o0o--                                    10        MR. RAMER: John Ramer, from the law firm
11                                                            11 Cooper & Kirk, on behalf of defendants.
12                                                            12        MR. LANNIN: Cortlin Lannin, of Covington
13                                                            13 & Burling, representing the witness, Dr. Dan
14                                                            14 Karasic, in his capacity as a fact witness. I'm
15                                                            15 joined this morning by my colleague Noah Goldberg,
16                                                            16 also of Covington.
17                                                            17        MR. STOLL: Christopher Stoll, of the
18                                                            18 National Center for Lesbian Rights, for the private
19                                                            19 plaintiffs.
20                                                            20        THE VIDEO OPERATOR: Remote counsel?
21                                                            21        MR. MINTER: Shannon Minter, also with
22                                                            22 NCLR, for the private plaintiffs.
23                                                            23        MS. WILLIAMS: Good morning. Renee
24                                                            24 Williams for the United States.
25                                                            25        THE VIDEO OPERATOR: Thank you.
                                                    Page 11                                                    Page 13
  1           San Francisco, California                        1         Would the court reporter please swear in
  2             Tuesday, May 7, 2024                           2 the witness, and then counsel you may proceed.
  3                 8:58 a.m.                                  3               DAN KARASIC, M.D.,
  4                                                            4 having been administered an oath, was examined and
  5            PROCEEDINGS                                     5 testified as follows:
  6         THE VIDEO OPERATOR: Good morning. We are           6                 EXAMINATION
  7 going on the record at 8:58 a.m. on May 7th, 2024.         7 BY MR. RAMER:
  8         Please note that the microphones are               8     Q Good morning, Dr. Karasic.
  9 sensitive and may pick up whispering and private           9     A Good morning.
 10 conversations. Audio- and video-recording will            10     Q My name is John Ramer. I represent the
 11 continue to take place unless all parties agree to        11 defendants. And I know you've been deposed several
 12 go off the record.                                        12 times before. This will be the normal drill.
 13         This is Media Unit 1 of the video-recorded        13         I'll try to take a break about every hour,
 14 deposition of Dan Karasic, M.D., taken by counsel         14 but if at any point you need a break, just let me
 15 for defendants, in the matter of Brianna Boe,             15 know. And the only request is that you would answer
 16 et al., Plaintiff, and United States of America,          16 any pending questions.
 17 Intervenor Plaintiff, vs. Honorable Steve Marshall,       17         If you don't understand a question, just
 18 in his official capacity of Attorney General of the       18 let me know, and I'll try to rephrase it.
 19 State of Alabama, et al., filed in the United States      19 Otherwise, I'll assume you understand it.
 20 District Court for the Middle District of Alabama,        20         Does that all make sense?
 21 Northern Division, Civil Action No. 2:22-cv-184-LCB.      21     A Yes.
 22 The location of the deposition is 415 Mission             22     Q Great.
 23 Street, San Francisco, California 94105.                  23         MR. LANNIN: Counsel, I wonder -- before
 24         My name is Cassia Leet, representing              24 you get started, as we discussed earlier,
 25 Veritext Legal Solutions, and I am the videographer.      25 Dr. Karasic is here both in a fact witness capacity

                                                                                                   4 (Pages 10 - 13)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 6 of 68

                                               CONFIDENTIAL
                                                   Page 14                                                    Page 16
 1 and in his capacity as an expert witness in this           1 adults. So they're -- it is distinguished in
 2 litigation. And I'm here to represent him in his           2 that -- in that way.
 3 fact capacity, and Mr. Stoll here is here on behalf        3      Q Is it fair to say that the beginning of
 4 of the plaintiffs to represent Dr. Karasic in his          4 puberty is often described as the beginning of
 5 expert capacity.                                           5 Tanner Stage 2?
 6         To minimize disruptions to the record,             6         MR. LANNIN: Object to the form.
 7 I'll endeavor to object to form when necessary. And        7         THE WITNESS: So it's fair to describe
 8 can we agree that an objection on one party's behalf       8 Tanner Stage 2 as the onset of puberty, yes.
 9 is an objection for all?                                   9 BY MR. RAMER:
10         MR. RAMER: Yes.                                   10      Q And so you said there were separate
11         MR. STOLL: Agreed.                                11 diagnoses for children and adolescents. So how do
12         MR. LANNIN: Very good.                            12 you determine which diagnosis is applicable to a
13 BY MR. RAMER:                                             13 particular patient?
14      Q Dr. Karasic, are you an expert?                    14      A So that is prior to the onset of puberty
15      A Yes, on this subject matter.                       15 versus at Tanner Stage 2 or afterwards.
16      Q And when you say "this subject                     16      Q And so today, if -- let me start again.
17 matter," what do you mean by that?                        17         Unless you or I say otherwise, if we use
18      A I would say I'm an expert on healthcare            18 the term "children," is it fair to say we're talking
19 provision for transgender people.                         19 about prepubertal individuals?
20      Q Any other areas in which you're an expert?         20      A Yes.
21      A Yes. I'm a psychiatrist, a consultation            21      Q And if we use the term "adolescents," is
22 liaison psychiatrist in terms of my career                22 it fair to say we're talking about individuals
23 initially, and so I think I have broader expertise        23 between the beginning of puberty and the age of
24 in psychiatry as a professor emeritus of                  24 majority?
25 psychiatrist at UCSF.                                     25      A Yes. Yes.
                                                   Page 15                                                    Page 17
 1      Q Any other fields?                                   1     Q And so are you -- are you an expert in the
 2      A Other than -- I would say more broadly in           2 treatment of gender dysphoria in children along the
 3 transgender health, and then in psychiatry.                3 lines we've just described?
 4      Q Are you an expert in the treatment of               4     A My clinical practice does not extend to
 5 gender dysphoria in children?                              5 prepubertal children.
 6      A So I am a -- an expert in the care of               6        Usually when I -- when I see patients,
 7 children, adolescents; adolescents in terms of my          7 they are at Tanner Stage 2 or older. And -- but I
 8 clinical practice, my years as a psychiatrist for          8 do have expertise more broadly as somebody who has
 9 the Dimensions Clinic for trans youth, where I was a       9 been in the field of transgender health for many
10 psychiatrist for 17 years. And that clinic saw            10 decades, and have been involved in conferences and
11 patients from 12 to 25, and also in my own faculty        11 publications.
12 practice and private practice where I saw some            12        For example, on -- I edited a book about
13 people who were younger even than 12.                     13 questions for DSM-V that was -- that were articles
14      Q And in this field, do you agree that there         14 written early on in the stage of discussion of how
15 is a distinction between children and adolescents?        15 the gender identity diagnoses of DSM-IV might be
16      A Yes.                                               16 changed, and those included the diagnosis for
17        MR. LANNIN: Object to the form.                    17 prepubertal children.
18        THE WITNESS: Yes.                                  18        So I have -- I have academic expertise
19 BY MR. RAMER:                                             19 there. I don't have -- my clinical practice isn't
20      Q And what is that distinction?                      20 young children.
21      A So medical treatment is first contemplated         21     Q And so your clinical practice involves
22 at the start of puberty. And so with that,                22 only adolescents or older patients; is that right?
23 diagnostically, there's a separate diagnosis for          23     A Yes.
24 gender dysphoria in prepubertal children and one          24     Q But you have published in the field of
25 in -- another diagnosis for those in adolescence and      25 gender dysphoria in children specifically?

                                                                                                 5 (Pages 14 - 17)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 7 of 68

                                                 CONFIDENTIAL
                                                    Page 18                                                      Page 20
  1     A I have -- I edited a book which included             1 hormones, but I was seeing people for mental health
  2 discussion on the DSM diagnoses of -- for gender           2 issues that they -- that they had.
  3 identity disorder in children, and I was involved in       3     Q Just to make sure I understand, is your
  4 meetings and discussions with WPATH and the American       4 role as the psychiatrist actually prescribing the
  5 Psychiatric Association and the World Health               5 medication or recommending it?
  6 Organization about the diagnoses for children as           6        MR. LANNIN: Object to the form.
  7 well as for adults.                                        7        THE WITNESS: So I prescribe psychiatric
  8     Q Would you say that your relationship to              8 medication. I don't prescribe puberty blockers or
  9 WPATH is relevant to the expertise that you're             9 hormones.
 10 testifying about in this case?                            10 BY MR. RAMER:
 11        MR. LANNIN: Object to the form.                    11     Q What would you describe what you do with
 12        THE WITNESS: Yes.                                  12 respect to puberty blockers or hormones for your
 13 BY MR. RAMER:                                             13 patients?
 14     Q And I understand that your clinical                 14        MR. LANNIN: Object to the form.
 15 practice does not currently have -- let me start          15        THE WITNESS: So, mostly I have -- I'm
 16 again.                                                    16 part of a treatment team which varies in
 17        Your clinical practice does not currently          17 different -- over different settings.
 18 extend to children with gender dysphoria.                 18        So the Dimensions Clinic was a clinic in
 19        Have you ever treated a child for gender           19 faculty practice. In private practice, it's kind of
 20 dysphoria?                                                20 a more virtual team, where most patients have a
 21        MR. LANNIN: Object to the form.                    21 psychotherapist, a psychiatrist, and a pediatrician
 22        THE WITNESS: So the youngest people I've           22 or pediatric endocrinologist or internist if they're
 23 treated were right at the start of Tanner Stage 2.        23 over -- 18 and over.
 24        So in my faculty practice, I may have seen         24 BY MR. RAMER:
 25 people as young as 10 or 11.                              25     Q And so what do you do in the context of
                                                    Page 19                                                      Page 21
 1         My practice at Dimensions Clinic was only           1 that team?
 2 12 to 25 years old because that was the age range           2     A So I am addressing mental health issues
 3 for people to be able to receive care at that               3 with the -- with the patient, and consulting and
 4 clinic.                                                     4 working with the team that is providing other
 5 BY MR. RAMER:                                               5 aspects of care.
 6     Q And when did you first begin treating                 6     Q Are you ever the member of the team who is
 7 adolescents for gender dysphoria?                           7 recommending hormone treatment?
 8     A So I was hired to be the psychiatrist for             8        MR. LANNIN: Object to the form.
 9 the Dimensions Clinic in 2003, and -- but as early          9        THE WITNESS: So sometimes I will have a
10 as the 1990s, in my faculty practice, I was seeing         10 patient where there is either a mental health
11 some adolescents with gender dysphoria.                    11 assessment that is needed or discussion in terms of
12     Q Were you seeing them for treatment of                12 psychiatric stability, or sometimes there's a letter
13 gender dysphoria?                                          13 required. It can be different in different
14     A So I was not seeing them for medical                 14 settings.
15 treatment of gender dysphoria, but I was seeing            15        But I communicate to the person who's
16 people as their psychiatrist or for mental health          16 providing medical care, and also communicate with
17 reasons who were being treated medically for gender        17 the psychotherapist if there's a separate
18 dysphoria.                                                 18 psychotherapist about -- about recommendations for
19     Q And when you say you weren't "seeing them            19 care.
20 for medical treatment of gender dysphoria," what do        20        The recommendation, you know, can come
21 you mean by that?                                          21 from different parts of the team, but I can end up
22     A I wasn't -- I wasn't prescribing hormones            22 assuming kind of some different roles, very often
23 or puberty blockers. Back then it was just                 23 about mental health stability, sometimes in terms of
24 hormones.                                                  24 a primary person that I've worked with in terms of
25         So I wasn't the person prescribing                 25 their eligibility per standards of care for medical

                                                                                                    6 (Pages 18 - 21)
                                             Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 8 of 68

                                               CONFIDENTIAL
                                                  Page 22                                                     Page 24
 1 treatment.                                                1 recommended puberty blockers as a treatment for
 2 BY MR. RAMER:                                             2 gender dysphoria in a patient?
 3      Q So you said the recommendation can come            3     A So that was later. In the early part of
 4 from different parts of the team. Does the                4 my practice, puberty blockers weren't available, and
 5 recommendation ever come from you?                        5 adolescents would, though, get started on hormones.
 6         MR. LANNIN: Object to the form.                   6         So I would guess that that was in the
 7         THE WITNESS: Yes. It's typically not              7 late -- late 2000s. It would have been in my
 8 my -- my saying to the patient, "I recommend that         8 faculty practice, I think.
 9 it's time to start hormones or puberty blocker."          9         Typically, though I worked at various
10         They've often been seen, you know, in            10 times with the Child and Adolescent Gender Center at
11 therapy, and sometimes then, at some point, they         11 UCSF, I wasn't typically the person doing the
12 might get a referral to a pediatric endocrinologist.     12 evaluation for puberty blockers. It was more often
13         And the pediatric endocrinologist might          13 for hormones, but there were instances that I did.
14 want my opinion, and I might speak with a therapist,     14     Q When you say "late 2000s," what do you
15 and include my own experience with the patient in        15 mean by that?
16 communicating that to the pediatric endocrinologist.     16     A So -- well, I'm trying to think.
17 BY MR. RAMER:                                            17         So the Child and Adolescent Gender Center
18      Q Do you diagnose gender dysphoria in               18 didn't start until -- officially until 2012, but
19 adolescents?                                             19 there were pediatric endocrinologists as early as
20      A Yes.                                              20 maybe 2009 that were prescribing puberty blockers at
21      Q And then do you ever assess the adolescent        21 UCSF.
22 patient to determine whether hormone therapy would       22         So it would be somewhere in that early
23 be an appropriate treatment for the gender               23 period. I guess it could be between 2009 and 2012
24 dysphoria?                                               24 in my -- via my faculty practice.
25      A Yes.                                              25         The people at the Dimensions Clinic did
                                                  Page 23                                                     Page 25
 1      Q And then do you reach a conclusion that it 1 start cooperating or working with the Child and
 2 would be appropriate?                              2 Adolescent Gender Center, but that wasn't until a
 3        MR. LANNIN: Object to the form.             3 little bit later.
 4        You can answer.                             4      Q And so approximately sometime between 2009
 5        THE WITNESS: Yes. So it would be            5 and 2012 was the first time you recommended puberty
 6 appropriate in -- right. Yes.                      6 blockers as a treatment for gender dysphoria; is
 7 BY MR. RAMER:                                      7 that right?
 8      Q And then who do you relay that decision     8         MR. LANNIN: Object to the form.
 9 to?                                                9         THE WITNESS: Yeah, that would be my
10        MR. LANNIN: Object to the form.            10 recollection.
11        THE WITNESS: So in that particular case, 11 BY MR. RAMER:
12 it can be to the pediatric endocrinologist or     12      Q And for recommending hormone therapy for
13 pediatrician who might be prescribing the medical 13 adolescents, did I hear you correctly, you said
14 intervention.                                     14 early 2000s?
15 BY MR. RAMER:                                     15      A Yes. So the -- I became the psychiatrist
16      Q And when was the first time that you       16 at the -- at the Dimensions Clinic for trans youth
17 recommended hormone therapy to treat gender       17 that -- even though you often see, like, a history
18 dysphoria in an adolescent?                       18 of pediatric gender care, just going back to Norm
19      A It would -- I would say probably in the    19 Spack at Boston Children's, the Dimensions Clinic
20 early 2000s.                                      20 has been providing care for trans adolescents since
21      Q And have you ever recommended puberty 21 the 1990s, and I was hired as a psychiatrist in
22 blockers as a treatment for gender dysphoria in a 22 2003.
23 patient?                                          23      Q And so when you say "early 2000s," we're
24      A Yes.                                       24 talking, approximately 2003 would have been the
25      Q And when was the first time you            25 first time you recommended hormone therapy to treat

                                                                                                 7 (Pages 22 - 25)
                                           Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 9 of 68

                                               CONFIDENTIAL
                                                  Page 26                                                    Page 28
 1 gender dysphoria in an adolescent?                        1 were just being started on hormones as their first
 2      A Well, before that, I may well have seen            2 intervention.
 3 adolescents -- I mean, I got hired from them because      3     Q I guess, just to kind of understand a
 4 I was already seeing adolescents in my faculty            4 ballpark, I mean, are we talking -- have you
 5 practice.                                                 5 recommended puberty blockers as a treatment for
 6         And so -- so I can't say precisely the            6 gender dysphoria in over 50 patients?
 7 year, but it was in that -- in that early 2000s           7     A It's hard for me to say. It may well be,
 8 period, I would say.                                      8 when we're talking about puberty blockers, fewer
 9      Q So approximately 2003 would have been the          9 than that. But it would be hard for me to give a
10 first time that you recommended hormone therapy to       10 number.
11 treat gender dysphoria in an adolescent, correct?        11        As I said, I would say more often over the
12         MR. LANNIN: Object to the form.                  12 course of my career, people were either already on
13         THE WITNESS: Certainly through the               13 puberty blockers, or we were recommending
14 Dimensions Clinic. It's possible I -- in my faculty      14 recommendations before puberty blockers were widely
15 practice, I would guess that I had made those            15 available.
16 recommendations beforehand because I was already         16        But I did recommend people for puberty
17 kind of known when they hired me as the                  17 blockers over the course of those years,
18 psychiatrist.                                            18 particularly in my faculty practice, and then
19 BY MR. RAMER:                                            19 private practice.
20      Q And so you're saying that, if anything,           20     Q Would you say that you've recommended
21 it's -- earlier than 2003 could have been the first      21 puberty blockers as a treatment for gender dysphoria
22 time?                                                    22 in more than 10 patients?
23         MR. LANNIN: Object to the form.                  23     A Yes.
24         THE WITNESS: It's possible. I don't              24     Q More than 20?
25 recall.                                                  25     A Yes.
                                                  Page 27                                                    Page 29
 1 BY MR. RAMER:                                         1     Q More than 30?
 2      Q But it was not after 2003 that was the         2     A You know, then I would just -- I just
 3 first time that you recommended hormone therapy to    3 never really thought about how many. And I've seen
 4 treat gender dysphoria in an adolescent, correct?     4 so many patients over so many years.
 5         MR. LANNIN: Object to the form.               5        There was a time when there were
 6         THE WITNESS: It's hard for me to remember     6 relatively few practitioners, and -- but puberty
 7 specific patients, but I started in a clinic that     7 blockers weren't so -- there were many young people
 8 was seeing adolescents and young adults.              8 that I saw for hormones, and then puberty blockers
 9         And at that time, we did see adolescents      9 weren't really available until UCSF pediatric
10 who had started hormones on their own and then moved 10 endocrinology started prescribing them in the late
11 to San Francisco. And then the pediatricians, the    11 2000s before the multidisciplinary clinic was set
12 family practitioners, started -- you know, often     12 up.
13 were starting the provision of hormones in a         13        And then I was asked to be involved on the
14 monitored way for people who had already started     14 steering committee to set up the Child and
15 them.                                                15 Adolescent Gender Clinic, and that was probably
16 BY MR. RAMER:                                        16 around in 2009 or 2010.
17      Q Approximately how many patients have you      17        And then the clinic officially didn't have
18 had for whom you've recommended puberty blockers as 18 its first meeting until 2012, but there were a lot
19 a treatment for gender dysphoria?                    19 of meetings about the provision of puberty blockers
20      A I don't know if I can say a number because    20 in that period, I'd say, between 2010 and 2012,
21 I've been working over so many years.                21 including Norm Spack, who had -- was the original
22         But I would say more commonly, I had         22 prescriber, the person who started the first clinic
23 gotten involved with a patient after they were       23 in the U.S. at Boston Children's, came out to
24 already on puberty blockers, or I had patients,      24 San Francisco, and we met with him in 20- --
25 before puberty blockers were routinely given, who    25 probably 2010 is my guess.

                                                                                                8 (Pages 26 - 29)
                                           Veritext Legal Solutions
877-373-3660                                                                                        800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 10 of 68

                                              CONFIDENTIAL
                                                  Page 30                                                    Page 32
  1        And then I was involved in kind of             1     A So a lot of times it's -- I would say most
  2 organizing a set of therapists who worked with        2 commonly there's a psychotherapist who's doing it,
  3 transgender -- or gender-diverse youth who -- and 3 and the person -- it's a patient who has a
  4 that was -- that's a group led by Diane Ehrensaft.    4 psychotherapist and a psychiatrist, and then there's
  5 So that was also in that period.                      5 a letter that's going to the pediatrician or
  6        I remember doing a presentation with Diane 6 pediatric endocrinologist, or at Dimensions there
  7 Ehrensaft in 2009. So in that period between 2009 7 was often a family practice doctor who took care of
  8 and 2012, there was a lot of discussion about         8 kids.
  9 setting up services for people who might receive      9     Q Have you ever recommended surgery as a
 10 puberty blockers as well as hormones.                10 treatment for gender dysphoria in an adolescent?
 11     Q Why were you mentioning all that               11     A I have recommended -- I have recommended
 12 background?                                          12 chest surgery, mastectomy, in adolescents.
 13        MR. LANNIN: Object to the form.               13     Q Any other surgeries?
 14        THE WITNESS: I was just -- you were           14     A No.
 15 trying to relate, like, how -- I was trying to maybe 15     Q What age was the youngest patient for whom
 16 kind of talk through the -- evaluating people for    16 you've recommended surgery as a treatment for gender
 17 puberty blockers and the timeline for that, because 17 dysphoria?
 18 puberty blockers weren't widely available until      18     A So for an adolescent, probably 13 or 14
 19 probably 2009, and then -- but there wasn't a        19 was the earliest. Typically, my patients have
 20 structured clinic until 2012.                        20 received chest surgery later in adolescence.
 21        So I was -- I've been in practice for a       21     Q And when was the first time you
 22 long time, and so the years are arbitrary things.    22 recommended surgery as a treatment for gender
 23 So I was just kind of talking through when those 23 dysphoria in an adolescent?
 24 services were set up to provide puberty blockers in 24      A Good question.
 25 San Francisco.                                       25        We didn't have -- in the early years of
                                                  Page 31                                                    Page 33
  1 BY MR. RAMER:                                            1 the Dimensions Clinic, there wasn't wide access to
  2     Q And approximately how many minor patients          2 surgery for those who needed chest surgery, but
  3 have you had for whom you've recommended hormone         3 there were a few people who did get it privately.
  4 therapy as a treatment for gender dysphoria?             4        I'm just trying to think of specific
  5         MR. LANNIN: Object to the form.                  5 patients. But I'll just -- I don't remember a year.
  6         THE WITNESS: So -- well, I've certainly          6     Q And when you first began recommending
  7 taken care of many hundreds of adolescents over the      7 hormone therapy as a treatment for gender dysphoria
  8 years, but I don't -- I don't know if I could say        8 in adolescents back in the early 2000s, what
  9 how many I wrote the letter for them starting            9 evidence were you relying on?
 10 hormones versus their psychotherapist, because there    10        MR. LANNIN: Object to the form.
 11 were many of them who also saw a psychotherapist,       11        THE WITNESS: So there -- so we obviously
 12 and the psychotherapist wrote the letter.               12 had far less evidence, but there were many
 13         But I was involved with the treating team,      13 adolescents who were already benefiting from
 14 as well as at the Dimensions Clinic where there was     14 hormones.
 15 a group of therapists that I would meet with and        15        So the circumstance I can recall the most
 16 where we would discuss cases, as well as with the       16 from that time was adolescents who had -- who had
 17 hormone prescriber.                                     17 originally self-treated or had gotten hormones on
 18 BY MR. RAMER:                                           18 their own, and then presented with -- to the clinic.
 19     Q And so you've treated over hundreds of            19        There was a pretty robust mental health
 20 adolescents for gender dysphoria. And is your point     20 component, and so they would work with the
 21 that it's not always some clear distinction of          21 therapists.
 22 who's -- what individual on the team is doing the       22        And there was -- I think the initial
 23 recommending? Is that --                                23 treatment was really, even before I started there,
 24     A Right.                                            24 from the 1990s, from the Tom Waddell Clinic, of kind
 25     Q Okay.                                             25 of harm reduction, of providing supervised hormones.

                                                                                                 9 (Pages 30 - 33)
                                           Veritext Legal Solutions
877-373-3660                                                                                        800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 11 of 68

                                               CONFIDENTIAL
                                                   Page 34                                                   Page 36
  1        And then at some point, particularly               1 by 2011, they had published. But in 2009 at the
  2 adolescents in later adolescence would come to the        2 WPATH conference in Oslo, they discussed their
  3 clinic seeking initiation of hormones, and they           3 experience pretty -- the Dutch group -- pretty
  4 would meet with therapists there and then initiate        4 extensively, from my recollection.
  5 hormones. And that preceded the availability of           5 BY MR. RAMER:
  6 puberty blockers.                                         6     Q And when you say "information was shared
  7 BY MR. RAMER:                                             7 with pediatric endocrinology at UCSF," who are you
  8     Q And so in the early 2000s, in your                  8 referring to as sharing information?
  9 opinion, there was sufficient evidence to conclude        9        MR. LANNIN: Object to the form.
 10 that giving adolescents hormone therapy was              10        You can answer.
 11 effective for treating gender dysphoria, correct?        11        THE WITNESS: So between the Dutch group,
 12        MR. LANNIN: Object to the form.                   12 I remember Annelou de Vries coming to San Francisco,
 13        THE WITNESS: So we used the information           13 who published the 2011 and 2014 publications on
 14 we had. There already was a long history of people,      14 their group, and the pediatric endocrinologist was
 15 even adolescents, on hormones.                           15 Steven Rosenthal, who had been the pediatric
 16        You know, the famous case of Agnes Torres         16 endocrinologist for people with disorders of sexual
 17 who started treating herself with her mother's           17 development before starting to take care of trans
 18 hormones in 1951 or '52, and then that was very          18 kids, and so would provide puberty blockers for
 19 well-documented, although they originally thought        19 people with precocious puberty before doing that
 20 that she had -- that she was intersex because she        20 care for trans youth. And so he was already
 21 didn't tell them. But they did -- she got                21 familiar with the provision of that care.
 22 vaginoplasty in 1959 at UCLA.                            22        And then there was the information that
 23        And I had -- did my psychiatry residency          23 this was helping youth in the Netherlands.
 24 training at UCLA and was just kind of aware of the       24 BY MR. RAMER:
 25 long history of that care being provided. And it         25     Q And so in your opinion, in the late 2000s,
                                                   Page 35                                                   Page 37
  1 was clear that there were adolescents who had         1 there was sufficient evidence to conclude that
  2 received hormones and benefited from it, even though  2 giving adolescents puberty blockers was effective
  3 the evidence base obviously was much less than we     3 for treating gender dysphoria, correct?
  4 have now.                                             4        MR. LANNIN: Object to the form.
  5 BY MR. RAMER:                                         5        THE WITNESS: Well, it was certainly true
  6      Q But you would not have recommended hormone 6 that we welcomed more research as it came about, but
  7 therapy as a treatment for gender dysphoria in        7 there was certainly promising research of the
  8 adolescents if you did not think there was            8 benefits that had been going on for quite a number
  9 sufficient evidence to conclude that it was           9 of years in the Netherlands. And so there was the
 10 effective, correct?                                  10 start of people getting that care in San Francisco.
 11        MR. LANNIN: Object to the form.               11 BY MR. RAMER:
 12        THE WITNESS: Correct. Yes.                    12     Q When you say "the start of people getting
 13 BY MR. RAMER:                                        13 that care in San Francisco," what are you referring
 14      Q And when you first recommended puberty        14 to?
 15 blockers as a treatment for gender dysphoria in the  15     A People getting -- youth getting puberty
 16 late 2000s, what evidence were you relying on?       16 blockers through pediatric endocrinology at UCSF in
 17        MR. LANNIN: Object to the form.               17 the late 2000s, and then leading to the opening of a
 18        THE WITNESS: So -- so the evidence at         18 formal interdisciplinary clinic in 2012.
 19 that point was evidence that was being used          19     Q And you mentioned you served as the
 20 successfully in Amsterdam, and then in Boston. And 20 psychiatrist for the Dimensions Clinic; is that
 21 then that information was shared with pediatric      21 right?
 22 endocrinology at UCSF.                               22     A Yes.
 23        And -- so it was information from the         23     Q And what age group did that clinic serve?
 24 Dutch clinic and their clinical experience, as well  24     A Ages 12 to 25.
 25 as, I believe, their early publication. Certainly    25     Q Why did the clinic provide care up to age

                                                                                               10 (Pages 34 - 37)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 12 of 68

                                               CONFIDENTIAL
                                                   Page 38                                                     Page 40
  1 25?                                                       1 bio-psychosocial -- that's how it's often
  2         MR. LANNIN: Object to the form.                   2 described -- understanding and evaluation of -- of
  3         You can answer.                                   3 the patient. And that there is variability as
  4         THE WITNESS: So, many youth clinics               4 people get older in terms of their own understanding
  5 provide care for adolescents into young adults. So        5 of themselves, such that it may well be clinically
  6 I just -- I think -- I don't know why they picked         6 advisable for young adults to -- to have more care
  7 those specific ages, but it's not unusual to see          7 around transition.
  8 youth clinics that span between providing care to         8        But they're typically -- you know, because
  9 adolescents and to young adults.                          9 ages are set in terms of things like legal capacity,
 10 BY MR. RAMER:                                            10 18 is -- you know, is the divider in that way, and
 11     Q Do you think 18- to 24-year-olds should be         11 people generally, at 18, are considered to have the
 12 treated as adolescents rather than adults with           12 capacity to consent on their own for medical care.
 13 respect to gender-affirming care?                        13 BY MR. RAMER:
 14         MR. LANNIN: Object to the form.                  14     Q When you say clinicians can use their
 15         THE WITNESS: So there are recommendations        15 individual judgment with a patient, does that mean
 16 that are specific to age, but I think that there are     16 that a clinician could have a 22-year-old patient
 17 youth who are more or less mature.                       17 and determine that the clinician is going to use the
 18         So one has to certainly pick an age. And         18 requirements from the "Adolescents" chapter?
 19 generally, for legal capacity to consent to care         19        MR. LANNIN: Object to the form.
 20 generally, that age has been 18.                         20        THE WITNESS: So, you know, again, they're
 21         On the other hand, in the Dimensions             21 practice guidelines. And so I wouldn't describe
 22 Clinic, there was a substantial provision of             22 them as requirements for a 22-year-old, but there
 23 psychotherapy and mental health care for people in,      23 are 22-year olds who would benefit from more time,
 24 you know, also 18 to 25, recognizing that there were     24 you know, kind of understanding gender identity and,
 25 young people who needed mental health support or         25 you know, what they -- what course of action they
                                                   Page 39                                                     Page 41
  1 needed to better understand themselves in terms of        1 want to take.
  2 their gender identity.                                    2        But then there are many 22-year-olds who
  3        So there -- there are reasons both for why         3 are -- who don't have that ambiguity, and so that's
  4 care is separated at 18, why people go from               4 why an individual clinician, working with an
  5 pediatricians and child and adolescent psychiatrists      5 individual patient, might, you know, spend more time
  6 to adult psychiatrists at 18. That is just kind of        6 with that patient; and even some people who were
  7 practice. But there's certainly, as you know,             7 middle-aged or sometimes some people who need the
  8 individual variability as well.                           8 most years of, you know, work in terms of what they
  9        And so, you know, I think it was useful            9 want to do are people in their 50s and 60s.
 10 that the clinic provided, you know, care for people      10        And so there are individual circumstances
 11 through young adulthood.                                 11 in terms of -- particularly in the mental health
 12 BY MR. RAMER:                                            12 field in working with people, in terms of helping
 13     Q Doesn't the WPATH Standards of Care 8              13 them with the path that is best for them.
 14 provide different requirements depending on whether      14 BY MR. RAMER:
 15 you're treating an adolescent or an adult?               15     Q With respect to the clinician's individual
 16     A Yes.                                               16 judgment, could a clinician have a particularly
 17     Q And how do you determine which                     17 mature 17-year-old where the clinician would decide
 18 requirements apply to a particular patient?              18 they're not going to use all the recommendations
 19        MR. LANNIN: Object to the form.                   19 from the "Adolescents" chapter?
 20        THE WITNESS: So, remember, you know,              20        MR. LANNIN: Object to the form.
 21 these are clinical guidelines, and individual            21        THE WITNESS: So they're practice
 22 clinicians can use their own judgment with a             22 guidelines, and they're not laws.
 23 patient.                                                 23        So it -- it certainly is, you know,
 24        But it reflects that in younger people, it        24 possible that somebody might make that
 25 is particularly important to have a comprehensive        25 determination.

                                                                                                 11 (Pages 38 - 41)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 13 of 68

                                               CONFIDENTIAL
                                                   Page 42                                                      Page 44
  1        I do think that if you are making that             1 been involved during that period.
  2 determination in an adolescent, in a way, in terms        2        But it was a switch-over that, I think,
  3 of your process of making that recommendation,            3 probably would have happened anyway, but like many
  4 you're utilizing the WPATH guidelines because you're      4 things, I think really got pushed forward by the
  5 assessing the cognitive maturity of the adolescent        5 pandemic when people were switching how they take in
  6 in order to decide, you know, what course of              6 information to Zoom and watching videos.
  7 treatment is best.                                        7     Q And when you referenced "mentoring with a
  8 BY MR. RAMER:                                             8 senior clinician," can you just kind of describe how
  9     Q And switching gears just a little bit, I            9 that works?
 10 thought I read that you helped run WPATH's global        10     A Yeah.
 11 education initiative; is that right?                     11        MR. LANNIN: Object to the form.
 12     A So I wasn't the -- one of the two leaders.         12        THE WITNESS: So I had left the WPATH
 13 There were two chairs. But I was very active in it       13 board, and with it, my involvement in GEI, in 2018,
 14 from its inception until 2018.                           14 just as the mentoring system was being set up.
 15     Q And can you just kind of describe what             15        The mentoring system was, I think, most
 16 that is?                                                 16 important for psychotherapists, but there also was a
 17     A Sure.                                              17 mentoring program for people providing medical care.
 18        So there was a recognition from, really,          18        So someone who had gone through all of the
 19 the -- around the start of my board service -- I         19 trainings and taken the exam would be matched with a
 20 guess others had probably had that recognition           20 mentor with whom they could discuss their cases.
 21 earlier -- that it was important for WPATH to use        21        And so it was a further step of trying to
 22 the knowledge of its experts to train a larger           22 improve the kind of competency of people coming into
 23 population of health professionals to provide            23 the field to -- you know, in terms of their
 24 transgender health and to -- to come up with some        24 abilities to provide good care.
 25 guidelines of how that education should work,            25 ///
                                                   Page 43                                                      Page 45
  1 looking at other health organizations that provided       1 BY MR. RAMER:
  2 education of how -- how they organized that and how       2     Q How were the mentors for that program
  3 they did it.                                              3 selected?
  4        And so providing a broader education               4     A So, much of this happened just as I was
  5 program, and then also a certification where one          5 leaving the board; so I am not familiar with all of
  6 could -- if one went through a fairly long process        6 it.
  7 of trainings and took an exam and got mentoring with      7        But there was an application process, is
  8 a senior clinician, one could call themselves             8 my recollection, where people would apply to be
  9 "certified."                                              9 mentors. And they had to, I think, be certified
 10        So that it was similar to what other              10 themselves and have a certain amount of experience,
 11 organizations have done, especially in the mental        11 and then they could apply to be mentors.
 12 health field; so that clients or patients could see      12        And then there were meetings of the
 13 that this was somebody who had received training,        13 mentors before they would be matched with -- with
 14 received formal training in the provision of             14 somebody needing mentoring.
 15 transgender care.                                        15     Q Is it fair to say the mentors are experts
 16     Q And how do providers access the GEI                16 on the topics that they're mentoring about?
 17 programming?                                             17        MR. LANNIN: Object to the form.
 18     A So they sign up for sessions on the WPATH          18        THE WITNESS: I think it's fair to say
 19 website.                                                 19 that they're very knowledgeable in that they did
 20     Q Are they, like, videos saved somewhere             20 need to be certified themselves.
 21 that people then --                                      21        But I have not been involved with the
 22     A So when I was on GEI, it was all live              22 mentoring process since its early -- you know, since
 23 trainings. And then with the start of the pandemic,      23 early on. So I can't say -- I can't vouch for the
 24 they started doing both videotaped presentations         24 mentors or who were mentors now because I just
 25 and, I think, live Zoom sessions. But I haven't          25 haven't -- it's been six years since I've been

                                                                                                 12 (Pages 42 - 45)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 14 of 68

                                               CONFIDENTIAL
                                                   Page 46                                                     Page 48
  1 involved with GEI.                                  1     A I would say the last time I spoke with
  2        MR. RAMER: We've been going about an         2 him was in Florida. We were both experts in Doe
  3 hour. Is this a good time to take a break?          3 vs. LaDapo, and we went to dinner.
  4        THE WITNESS: Sure.                           4     Q Are you aware that Dr. Marci Bowers and
  5        MR. RAMER: We'll go off the record.          5 Dr. Eli Coleman were deposed last week?
  6        THE VIDEO OPERATOR: Going off the record, 6        A Yes.
  7 the time is 9:56 a.m.                               7     Q Have you spoken with anyone other than
  8        (Recess, 9:56 a.m. - 10:12 a.m.)             8 counsel about their depositions?
  9        THE VIDEO OPERATOR: Back on the record. 9          A No.
 10 The time is 10:12 a.m.                             10        (Exhibit 1 was marked for identification
 11 BY MR. RAMER:                                      11     and is attached hereto.)
 12     Q Dr. Karasic, you are testifying both as an   12 BY MR. RAMER:
 13 expert witness and as a fact witness in this case, 13     Q Dr. Karasic, you've been handed what has
 14 correct?                                           14 been marked as Karasic Exhibit 1.
 15     A Yes.                                         15        Does this appear to be Chapter 18 of the
 16     Q And you've been deposed as an expert         16 WPATH Standards of Care 8?
 17 witness before, correct?                           17     A Yes.
 18     A Yes.                                         18     Q And if I refer to the Standards of Care 8
 19     Q Did you give truthful testimony during       19 as the SOC-8, will you know what I'm talking about?
 20 those depositions?                                 20     A Yes.
 21     A Yes.                                         21     Q And you were the chapter lead for this
 22     Q And you have testified at court hearings     22 chapter, correct?
 23 as an expert witness before, correct?              23     A Yes.
 24     A Yes.                                         24     Q And am I correct that the SOC-8 revision
 25     Q And did you give truthful testimony at       25 committee essentially had a three-tier structure,
                                                   Page 47                                                     Page 49
  1 those hearings?                                           1 with co-chairs at the top, then chapter leads, and
  2      A Yes.                                               2 then chapter authors?
  3      Q What did you do to prepare for this                3        MR. LANNIN: Object to the form.
  4 deposition?                                               4        THE WITNESS: Yes. There was the chair
  5      A I reviewed my declaration, and I reviewed          5 and co-chair as -- right, and then chapter authors,
  6 a little bit of literature, and I spoke with both         6 and then -- I mean chapter leads, and then chapter
  7 the plaintiffs' lawyers and with the Covington            7 authors. Yes.
  8 lawyers about the deposition.                             8 BY MR. RAMER:
  9      Q Did you speak with anyone else about the           9     Q Would you agree that all those people were
 10 deposition?                                              10 experts in the field of transgender medicine?
 11      A No.                                               11        MR. LANNIN: Object to the form.
 12      Q And what literature did you review?               12        THE WITNESS: I can't speak to the people
 13      A So I looked over just my declaration. I           13 outside of my chapter. I wasn't involved in the
 14 reread the Cass report which was, you know, recently     14 selection of all the people in all the chapters.
 15 released in its final form, and some of the              15 BY MR. RAMER:
 16 systematic reviews that were done: Joe Taylor, I         16     Q So you are unable to say that the other
 17 believe, in association with the Cass report.            17 authors outside of Chapter 18 were experts in the
 18      Q And do you know Dr. Aron Janssen?                 18 field of transgender medicine?
 19      A Yes.                                              19        MR. LANNIN: Object to the form.
 20      Q When was the last time you spoke?                 20        THE WITNESS: I would assume -- I mean, I
 21         MR. LANNIN: Object to the form.                  21 know that there were many experts involved. I can't
 22         To Dr. Janssen, you mean?                        22 speak to every one of the 120 or however many there
 23 BY MR. RAMER:                                            23 were.
 24      Q I'm sorry. Yes. When was the last time            24        My experience with Standards of Care 8 was
 25 you spoke with Dr. Janssen?                              25 limited to the tasks which, you know, I was expected

                                                                                                 13 (Pages 46 - 49)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 15 of 68

                                                CONFIDENTIAL
                                                   Page 50                                                    Page 52
  1 to do.                                                    1 know who all of them are.
  2 BY MR. RAMER:                                             2     Q And you mentioned the WPATH conference in
  3      Q And what were those tasks?                         3 Buenos Aires; is that right?
  4      A So it was being -- as chapter lead -- so           4     A Yes.
  5 in terms of all my tasks with standards of care, I        5     Q Can you just tell me what that was?
  6 had a little bit broader involvement when I was           6     A So WPATH has a conference every two years.
  7 still on the board early on in terms of the               7 And so 2018 was the international -- you know, every
  8 selection of Eli Coleman, who had been chair of           8 two-year WPATH conference.
  9 Standards of Care 7, for him to carry on to               9        And so during that conference, they had
 10 Standards of Care 8.                                     10 each -- the members of each chapter meet with the
 11        And then I applied for and I was made lead        11 editors.
 12 for the "Mental Health" chapter and worked on --         12     Q Did you -- were there any -- let me start
 13 read the resumes and applications of the people          13 again.
 14 applying to be on that chapter, reviewed those with      14        At that conference, were there any
 15 the editors, and we selected a committee.                15 presentations about the drafting of the SOC-8?
 16      Q And just to go back to what we were               16        MR. LANNIN: Object to the form.
 17 previously discussing about the authors outside of       17        THE WITNESS: Yes. There was some sort of
 18 Chapter 18, are you saying there's a chance that         18 update about SOC-8 at that conference, I assume by
 19 some authors of the SOC-8 were not experts in the        19 the editors. I don't remember -- I don't remember
 20 field of transgender medicine?                           20 what sessions there were, but I -- I'm sure that
 21        MR. LANNIN: Object to the form.                   21 there were discussions about -- you know, sessions
 22        THE WITNESS: No. I'm just saying I can't          22 about Standards of Care 8 at the 2018 conference.
 23 say under oath that they all were. I never met many      23 BY MR. RAMER:
 24 of them.                                                 24     Q Would you agree that the vast majority of
 25        So we were originally going to have -- our        25 the SOC-8 revision committee were people who were
                                                   Page 51                                                    Page 53
  1 chapter met with the editors in Buenos Aires at the   1 either publishing in the field of transgender health
  2 WPATH conference in 2018. And then we were all        2 or had reputations for the clinical programs they
  3 going to meet in 2020 at WPATH Hong Kong, but there 3 led in transgender health?
  4 was a little thing that happened in China in 2020,    4        MR. LANNIN: Object to the form.
  5 and that meeting didn't take place.                   5        THE WITNESS: So that was certainly the
  6        So we never had the opportunity to have a      6 experience with the people whose names I recognized,
  7 meeting of everyone. The next meeting we had of a     7 and it was definitely true of the people on my
  8 WPATH meeting was 2022, which was just after the      8 chapter.
  9 publication of Standards of Care 8.                   9 BY MR. RAMER:
 10 BY MR. RAMER:                                        10     Q And was a particular co-chair assigned to
 11     Q Would you be surprised if somebody was an      11 oversee your chapter?
 12 author of SOC-8 and was not an expert in transgender 12     A Yes.
 13 medicine?                                            13     Q And who was that?
 14     A I mean, my assumption is that the other        14     A That was Jon Arcelus.
 15 authors, you know, had considerable expertise, and   15     Q And who were the other co-chairs?
 16 that's why they were selected for the chapter.       16     A Asa Radix was the other co-chair, and then
 17        There was -- also, each chapter had a         17 there was the chair, Eli Coleman.
 18 stakeholder who was appointed to the chapter,        18     Q Can you just give me a general overview of
 19 including ours, and our stakeholder was a            19 Jon Arcelus as either a clinician or an author?
 20 psychotherapist who was trans but was not selected   20     A Yeah.
 21 as part of the original group, who were mostly       21        MR. LANNIN: Object to the form.
 22 academics.                                           22        THE WITNESS: So John Arcelus is a
 23        And so there may well be stakeholders who     23 psychiatrist. He -- I was aware of him with his --
 24 don't have the same kind of expertise, but I just    24 he had published with Cecilia Dhejne and others
 25 don't want to vouch for everyone on as I don't even  25 about psychiatric illness in people who are trans,

                                                                                                14 (Pages 50 - 53)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 16 of 68

                                                 CONFIDENTIAL
                                                     Page 54                                                     Page 56
  1 which was really the topic of our chapter. So he            1     Q Why is it important to conduct systematic
  2 certainly was somebody who had -- who was well-known        2 reviews?
  3 and had expertise in that area.                             3        MR. LANNIN: Object to the form.
  4 BY MR. RAMER:                                               4        THE WITNESS: So systematic reviews are a
  5     Q And was he a practicing clinician in the              5 widely accepted way of trying to look at evidence
  6 field of gender-affirming care?                             6 kind of broadly in a field. It's -- I think looking
  7     A Yeah. My understanding is that he was                 7 at systematic reviews is, you know, a common part of
  8 both practicing and did academic work in -- in the          8 discussing the literature in any field.
  9 United Kingdom.                                             9 BY MR. RAMER:
 10     Q And similar to how you just described                10     Q Would you say Dr. Robinson is an expert in
 11 Dr. Arcelus's background, can you provide a                11 transgender medicine?
 12 background of Dr. Radix?                                   12        MR. LANNIN: Object to the form.
 13        MR. LANNIN: Object to the form.                     13        THE WITNESS: No, but I really can't -- I
 14        THE WITNESS: So Dr. Radix I knew well               14 really can't make a judgment. I don't -- I don't
 15 from conferences over the years. He was a -- a             15 know her other than very kind of limited contact,
 16 clinician for health programs for trans people in          16 and I don't recall the extent of her background as
 17 New York and also had a faculty appointment, and           17 it might relate to transgender health, other than
 18 taught and did research.                                   18 doing the systematic review.
 19 BY MR. RAMER:                                              19 BY MR. RAMER:
 20     Q Who is Dr. Karen Robinson?                           20     Q Do you know if Dr. Robinson is a clinician
 21        MR. LANNIN: Object to the form.                     21 who treats children and adolescents for gender
 22        You can answer.                                     22 dysphoria?
 23        THE WITNESS: Dr. Karen Robinson is an               23     A That's not my understanding of what she
 24 academic from Johns Hopkins who has been involved          24 does, but I really don't know her background.
 25 with systematic reviews and -- and clinical                25        You know, we -- I was part of a board that
                                                     Page 55                                                     Page 57
  1 guidelines. And she was, I think, the lead of the     1 made a recommendation to hire Johns Hopkins, and
  2 team that WPATH hired from Johns Hopkins for          2 then she was the representative from Johns Hopkins
  3 reviewing the literature and providing guidance in    3 who -- so my contact with her was really limited to
  4 terms of practice guidelines.                         4 her reaching out to me as -- as chapter lead and
  5 BY MR. RAMER:                                         5 having a discussion about the literature for the
  6     Q Were you involved in the process of             6 "Mental Health" chapter.
  7 helping select Dr. Robinson and her team to help      7     Q Do you have any personal knowledge
  8 with SOC-8?                                           8 regarding WPATH restricting Dr. Robinson's ability
  9     A Yes. I recall there was a -- I think            9 to publish research?
 10 there was a request for proposals. I think the       10        MR. LANNIN: Object to the form.
 11 executive committee had -- after discussion with the 11        THE WITNESS: No.
 12 board -- had recommended Johns Hopkins, and we, as a 12 BY MR. RAMER:
 13 board, voted to hire the Johns Hopkins team for that 13     Q And I think you touched on it briefly, but
 14 purpose.                                             14 how did you come to be a chapter lead?
 15     Q I think you described it generally, but        15     A Okay. So I'd been involved in WPATH for
 16 could you kind of explain what the role was for      16 quite a while, involved particularly with WPATH's
 17 Dr. Robinson and her team with respect to the SOC-8? 17 recommendations on diagnosis.
 18     A Yes. So they had a responsibility for          18        I had chaired, in 2003, the APA symposium
 19 doing systematic reviews, and so contacting chapter  19 about the gender identity disorder and the other
 20 leads about whether or not that was something kind   20 disorders in that chapter in DSM-IV, and looking
 21 of possible for that chapter.                        21 ahead to DSM-V, and edited a book on that. And then
 22       And then they provided -- from their own       22 I had -- was involved in WPATH recommendations
 23 kind of systematic review of the literature, they    23 related to psychiatry.
 24 provided a very large document of publications that  24        And so then I was appointed to the
 25 might be related to that chapter.                    25 Standards of Care 7 committee and was actively

                                                                                                   15 (Pages 54 - 57)
                                             Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 17 of 68

                                                CONFIDENTIAL
                                                    Page 58                                                   Page 60
  1 involved in Standards of Care 7, and so -- all        1     Q Do you recall reporting any conflicts?
  2 before being on the board, but then, you know, I was  2     A No.
  3 also known, you know, being on the board.             3     Q Did the authors of the "Mental Health"
  4       And specifically, I was appointed -- I          4 chapter complete a conflict-of-interest form?
  5 applied and was appointed for this chapter because    5        MR. LANNIN: Object to the form.
  6 that was a particular area that -- that I had done a  6        THE WITNESS: I assume they did. I think
  7 number of presentations and some publishing about     7 that was part of their -- there was an application
  8 working with transgender people who had co-occurring 8 packet for each member.
  9 mental illness.                                       9 BY MR. RAMER:
 10     Q So is it fair to say that the chapters of      10     Q Did you review them?
 11 the SOC-8 were divided up among the revision         11     A My recollection is that I reviewed, you
 12 committee by expertise?                              12 know, the whole packet that included the conflict
 13       MR. LANNIN: Object to the form.                13 form. But it was, you know, many years ago that
 14       THE WITNESS: Yeah. So the editors came         14 that happened. But my recollection is that that was
 15 up with the chapters, and then people applied to be  15 part of each application.
 16 on the chapters and they were accepted onto the      16     Q Do you recall any of the applicants for
 17 chapters, presumably related to their expertise.     17 the "Mental Health" chapter having conflicts that
 18       (Proceedings interrupted.)                     18 you determined should preclude them from working on
 19       THE WITNESS: May I have the question           19 the chapter?
 20 again, please?                                       20     A No.
 21 BY MR. RAMER:                                        21     Q Were there any conflicts that you elevated
 22     Q Yeah.                                          22 to the co-chairs?
 23       I was just asking, is it fair to say that      23        MR. LANNIN: Object to the form.
 24 the chapters of the SOC-8 were divided up among the 24         THE WITNESS: No.
 25 committee based on the authors' expertise?           25 ///
                                                    Page 59                                                   Page 61
  1        MR. LANNIN: Object to the form.                     1 BY MR. RAMER:
  2        THE WITNESS: So the process was that the            2     Q Are you aware whether any of the authors
  3 editors established the chapters, and then there was       3 of the "Mental Health" chapter had conflicts?
  4 an application process where one could apply to be a       4        MR. LANNIN: Object to the form.
  5 member of any of the chapters. And some people             5        THE WITNESS: No.
  6 applied to multiple chapters.                              6 BY MR. RAMER:
  7        If you were chapter lead, you were only             7     Q Do you recall whether anyone reviewed your
  8 involved with one chapter because that was felt to         8 conflict-of-interest form?
  9 be enough work. If you were one of the chapter             9     A I assume that that was reviewed by the
 10 authors, you could be on multiple chapters.               10 editors because that was part of the process in
 11        But you had to apply to the chapter lead           11 which the editors selected me as chapter lead.
 12 to be on the chapter, and then, you know, a decision      12     Q Did anyone ever ask you any questions
 13 was made really based on somebody's expertise of          13 about your conflict-of-interest form?
 14 whether or not they were the best people for the          14        MR. LANNIN: Object to the form.
 15 chapter.                                                  15        THE WITNESS: Not that I can recall.
 16 BY MR. RAMER:                                             16 BY MR. RAMER:
 17     Q Is it fair to say that the authors of one           17     Q Did you update your conflict-of-interest
 18 chapter may not have expertise in the subject matter      18 form when you first began serving as an expert
 19 of a different chapter in SOC-8?                          19 witness?
 20        MR. LANNIN: Object to the form.                    20        MR. LANNIN: Object to the form.
 21        THE WITNESS: Yes.                                  21        THE WITNESS: Update my
 22 BY MR. RAMER:                                             22 conflict-of-interest form on Standards of Care 8?
 23     Q Did you complete a conflict-of-interest             23 BY MR. RAMER:
 24 disclosure form for the SOC-8?                            24     Q Yes.
 25     A My recollection is yes.                             25     A So that conflict-of-interest form was

                                                                                                16 (Pages 58 - 61)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 18 of 68

                                              CONFIDENTIAL
                                                  Page 62                                                       Page 64
  1 before I had served as an expert witness on any of       1 were in 2018. We had our ten statements already
  2 these cases.                                             2 completed before Buenos Aires, which was in the fall
  3     Q Right.                                             3 of 2018. And so we discussed each of those, and our
  4        And my question is, once you began serving        4 committee discussed each of those.
  5 as an expert witness after you submitted the form,       5         And then we submitted those statements to
  6 did you ever update the form?                            6 go to the Delphi process, and our chapter was in the
  7     A No.                                                7 first set of Delphi statements, which I think was
  8     Q After you submitted your                           8 2019 that went to all of the authors of
  9 conflict-of-interest form, do you recall ever            9 Standards of Care 8.
 10 discussing potential conflicts of interest again        10 BY MR. RAMER:
 11 while drafting the SOC-8?                               11      Q And how did you communicate with your
 12        MR. LANNIN: Object to the form.                  12 co-authors during the drafting process?
 13        THE WITNESS: Can you repeat the question?        13      A So we talked by phone, by -- eventually, I
 14 BY MR. RAMER:                                           14 think, by Zoom. We had a common document on Google
 15     Q After you submitted your                          15 Docs that people could edit. And we spoke by
 16 conflict-of-interest form, do you recall ever           16 emails, which were all emails to SOC-8 mental
 17 discussing potential conflicts of interest again        17 health.
 18 while drafting the SOC-8?                               18      Q And can you explain a little more about
 19        MR. LANNIN: Same objection.                      19 your particular role as chapter lead with respect to
 20        THE WITNESS: No.                                 20 the chapter authors and with respect to the
 21 BY MR. RAMER:                                           21 co-chairs?
 22     Q Switching gears a little bit, or maybe            22         MR. LANNIN: Object to the form.
 23 zooming out, rather, can you just describe the          23         THE WITNESS: Yes.
 24 drafting process for Chapter 18?                        24         I would be in communication with the
 25     A Yes.                                              25 co-chairs about tasks, and then would communicate
                                                  Page 63                                                       Page 65
  1        So we had phone meetings. I don't                 1 those to chapter authors after we got the -- after
  2 remember when Zoom came into wide use, but it may        2 we had our statements. Those went to Delphi, and
  3 have been -- I think it was originally phone, and        3 all ten were approved.
  4 then Zoom meetings. And we discussed what our            4        And then there was -- we were supposed to
  5 recommendations might be.                                5 take into account comments during Delphi. But if
  6        And we had discussion with the editors,           6 there were any major changes, it needed to go back
  7 and they gave recommendations that our                   7 to Delphi, and we didn't have any major changes.
  8 recommendations for the Delphi process should be         8        And then at that point, we had a task of
  9 ones that people can be -- that people using the         9 writing the explanatory text, and that task was
 10 document could act on as opposed to just only kind      10 divvied up among chapter authors, and that was sent
 11 of good care documents. So they provided some           11 to me, and I edited that.
 12 guidance in terms of winnowing things down to fewer     12        And then it went to the editors, and they
 13 statements. And so we ended with ten statements.        13 provided feedback. That's my recollection.
 14        And -- were you asking about -- what were        14 BY MR. RAMER:
 15 you asking the process? I don't want to drag on         15      Q And when you were communicating with
 16 further than --                                         16 co-chairs, were you primarily communicating with
 17     Q No, I was just asking -- that was very            17 Dr. Arcelus?
 18 helpful -- a general overview of the process.           18        MR. LANNIN: Object to the form.
 19     A Yeah.                                             19        THE WITNESS: Yes, but the email chain,
 20     Q And can you explain the timeline of what          20 from my recollection, always included SOC mental
 21 you were kind of describing, the course of that         21 health because we wanted the administrative staff
 22 drafting process?                                       22 from WPATH to get the emails. And Eli Coleman and
 23     A Sure.                                             23 Asa Radix were also, I think, getting those -- those
 24        MR. LANNIN: Object to the form.                  24 emails, in addition to John Arcelus.
 25        THE WITNESS: So I think that the calls           25 ///

                                                                                                 17 (Pages 62 - 65)
                                           Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 19 of 68

                                                 CONFIDENTIAL
                                                     Page 66                                                     Page 68
  1 BY MR. RAMER:                                               1 measured.
  2      Q And looking at this chapter, how did you             2         I was saying, in terms of this chapter,
  3 select the studies that are cited in here?                  3 there was really a very wide range of kinds of
  4      A So there was an initial selection by -- by           4 papers that were -- that were cited because it's a
  5 members of the chapter committee, and then there            5 field where, for certain questions, there are
  6 were citations that I added and there were citations        6 certain kinds of evidence, and for other questions,
  7 that -- that John Arcelus added.                            7 there are kind of recommendations of clinical
  8      Q Do you know how the other chapters in                8 practice that have been made, but maybe not as much
  9 SOC-8 selected the studies that they cite?                  9 in terms of -- of a study determining it.
 10         MR. LANNIN: Object to the form.                    10         So there were times where the consensus of
 11         THE WITNESS: No.                                   11 the clinicians, backed up by what we knew from the
 12 BY MR. RAMER:                                              12 literature, you know, was more of a basis.
 13      Q Do you have any reason to think they did            13         There were other things that were maybe a
 14 it differently?                                            14 little more clear-cut, like about addressing
 15         MR. LANNIN: Object to the form.                    15 nicotine in our patients, you know, where the health
 16         THE WITNESS: I don't know the process in           16 effects of nicotine are well-known.
 17 the other -- for the other chapters.                       17 BY MR. RAMER:
 18 BY MR. RAMER:                                              18      Q Do you know if the authors of the other
 19      Q Did you ever assess the risk of bias that           19 chapters in the SOC-8 ever assessed the risk of bias
 20 you cite in this chapter?                                  20 of the studies they cite?
 21      A So typically with risk of bias, I think             21         MR. LANNIN: Object to the form.
 22 of, like, of a study where certain people might have       22         THE WITNESS: So my experience was really
 23 dropped out and others might not have.                     23 contained to my -- the chapter that I was chapter
 24         But generally, in this particular area,            24 lead on, voting for Delphi's statements, and not the
 25 which is about treating people with co-occurring           25 process that was going on in the other chapters.
                                                     Page 67                                                     Page 69
  1 conditions, the research is maybe more limited. And         1 BY MR. RAMER:
  2 so we used authors in these various areas who we            2     Q Did you ever assess the risk of bias of
  3 were familiar with or the chapter author who had            3 the studies you cite in your expert report in this
  4 taken primary responsibility for that recommendation        4 case?
  5 was familiar with.                                          5        MR. LANNIN: Object to the form.
  6        But, you know, so there certainly was some           6        THE WITNESS: So, again, that -- "bias" is
  7 overall assessment of a particular -- a particular          7 used in different ways.
  8 reference, but I'm not quite sure how that might            8        And so there is bias in a clinical trial
  9 relate to bias.                                             9 which might involve who was reported on with, for
 10     Q What do you mean -- at the end there, what           10 example, drop-outs, as well as the population
 11 do you mean by that?                                       11 that -- from where the data was recruited.
 12        MR. LANNIN: Object to the form.                     12        And so those are potential sources of bias
 13        THE WITNESS: Well, different people use             13 that -- you know, that I would look at with a
 14 that term differently. So I don't know if you              14 particular -- with a particular study.
 15 have -- if you're more specific about what you mean.       15 BY MR. RAMER:
 16 BY MR. RAMER:                                              16     Q And did you do that for the studies you
 17     Q What's your understanding of "bias" in the           17 cite in your expert report in this case?
 18 context of assessing the method used in a particular       18        MR. LANNIN: Object to the form.
 19 study?                                                     19        THE WITNESS: Well, for -- I think that's
 20        MR. LANNIN: Object to the form.                     20 always an assessment in terms of looking at a
 21        You can answer.                                     21 particular article.
 22        THE WITNESS: Sure.                                  22        Like, I cited Cavve from Western Australia
 23        Well, as I said, that term is used in               23 where they took everyone who had completed treatment
 24 different ways. Sometimes it can be used in terms          24 in their clinic, and they -- because of the
 25 of the particular populations that is -- that's            25 geographic isolation of Perth and Western Australia,

                                                                                                   18 (Pages 66 - 69)
                                             Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 20 of 68

                                              CONFIDENTIAL
                                                  Page 70                                                  Page 72
  1 they were able to track down almost everyone who had 1 from that meeting.
  2 been seen in the clinic and terminated care.          2 BY MR. RAMER:
  3        And so a study like that, you know, has        3     Q I'll represent to you this is an excerpt
  4 less bias because there aren't people that are loss   4 of this document.
  5 to follow-up.                                         5        And I'd like to turn to page 4 -- I
  6 BY MR. RAMER:                                         6 apologize for the stapling of this -- page 4 which
  7     Q And so "loss to follow-up" is one example       7 has the Bates stamp JHU3259 in the bottom right, and
  8 of a form of bias, right?                             8 the slide at the top says, "Hierarchy of Evidence."
  9     A Right.                                          9        Do you see that?
 10     Q And when you are assessing the degree of       10     A Yes.
 11 bias in a study, how do you do that?                 11     Q Can you explain what this slide is
 12        MR. LANNIN: Object to the form.               12 communicating?
 13        THE WITNESS: So I would -- I'd look at        13        MR. LANNIN: Object to the form.
 14 the -- at the methods, at the clinical population    14        THE WITNESS: Yeah.
 15 that they were studying; and if there is that        15        So it is from another publication, and
 16 information, how they were recruited, how someone    16 that there are these kind of different levels of
 17 came into a study.                                   17 evidence, each which can have value, but are ranked
 18        And so there are various kind of points       18 in a way in systematic reviews because they are
 19 along the way where one can try to get some          19 looking at -- a kind of broader body of literature
 20 assessment of what particular biases could be.       20 are at the top, and randomized controlled trials are
 21 BY MR. RAMER:                                        21 also up there because that is a -- you know, an
 22     Q And so basically you're reading the study      22 important source of evidence.
 23 and using your judgment to determine where there may 23 BY MR. RAMER:
 24 be methodological weaknesses in the study as you     24     Q And I think we touched on it at a general
 25 read it; is that right?                              25 level, but can you explain more about what a
                                                  Page 71                                                  Page 73
  1        MR. LANNIN: Object to the form.                1 systematic review is?
  2        THE WITNESS: Yes.                              2     A Yes.
  3 BY MR. RAMER:                                         3        So a systematic review is when one tries
  4     Q Have you ever used a tool to help you           4 to take the entirety of the literature in a
  5 assess the risk of bias in a study?                   5 particular area, and then to have a filtering
  6        MR. LANNIN: Object to the form.                6 protocol, essentially, that one decides upon in
  7        THE WITNESS: No.                               7 advance, and use that to filter this very -- what
  8        (Exhibit 2 was marked for identification       8 can be a very large literature into the papers, the
  9     and is attached hereto.)                          9 studies, that meet one's criteria, and then to try
 10        THE WITNESS: I would say, like,               10 to just analyze those studies.
 11 systematic reviews are -- you know, do use --        11        So you're trying to take the broader
 12 include the risk of bias in their assessments. And 12 literature that might be quite difficult to analyze,
 13 so that is part of the use of systematic reviews and 13 and then filter them to a smaller group that meet
 14 that they've made an assessment or tried to make a 14 those criteria that might be easier to kind of
 15 formal assessment on risk of bias.                   15 assess and synthesize.
 16 BY MR. RAMER:                                        16     Q Is it your understanding that as part of a
 17     Q And, Dr. Karasic, you've been handed           17 systematic review, researchers would assess the
 18 what's been marked as Karasic Exhibit 2.             18 degree of bias in the individual studies?
 19     A Um-hum.                                        19        MR. LANNIN: Object to the form.
 20     Q And looking at just the cover, does this       20        THE WITNESS: Yes. Typically they assess
 21 appear to be a presentation from the meeting in      21 bias in a systematic review.
 22 Buenos Aires we were talking about earlier?          22 BY MR. RAMER:
 23        MR. LANNIN: Object to the form.               23     Q And are you able to explain why randomized
 24        THE WITNESS: Well, yeah. I don't              24 controlled trials are above cohort studies in this
 25 remember the slide, but it does look like it was     25 pyramid?

                                                                                             19 (Pages 70 - 73)
                                           Veritext Legal Solutions
877-373-3660                                                                                      800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 21 of 68

                                                 CONFIDENTIAL
                                                    Page 74                                                    Page 76
  1     A Yes. So randomization is a way of                    1 more evidence of its efficacy than another
  2 reducing bias in terms of who gets a particular            2 intervention, then it could be unethical to
  3 intervention.                                              3 randomize people to -- you know, if we know that
  4        So in a -- in some other sorts of studies,          4 that randomization might cause harm to one of the
  5 everyone might get -- who signs up for the study --        5 groups of people when there is a treatment that is
  6 might get a particular intervention, and in a              6 well established.
  7 randomized controlled trial, people are randomized         7 BY MR. RAMER:
  8 typically to either get the intervention or not get        8     Q What if you don't know that a particular
  9 it.                                                        9 treatment is well established?
 10     Q And so what is a cohort study?                      10        MR. LANNIN: Object to the form.
 11        MR. LANNIN: Object to the form.                    11        You can answer.
 12        THE WITNESS: So a cohort study is when             12        THE WITNESS: There are -- there are
 13 you are looking at a group of people who have             13 certainly a number of -- of settings in which
 14 received a particular intervention and trying to see      14 randomized controlled trials are done, but there are
 15 whether that intervention has an impact.                  15 also challenges to doing them based on the -- on the
 16 BY MR. RAMER:                                             16 intervention.
 17     Q And so how is it -- how is it different             17        For example, when I was involved in a
 18 from the randomized controlled trial?                     18 study where we did randomize people, both groups got
 19        MR. LANNIN: Object to the form.                    19 an intervention that would be considered
 20        THE WITNESS: In a cohort study, you don't          20 efficacious.
 21 have to have randomized people to the intervention        21        We didn't do a placebo group because we
 22 or not. It could be -- you could have had -- you          22 wouldn't consider that ethical when we knew that
 23 could be looking at a group of people who have            23 there were interventions that might be efficacious.
 24 received a particular intervention.                       24 BY MR. RAMER:
 25 ///                                                       25     Q In the context of treating adolescents for
                                                    Page 75                                                    Page 77
  1 BY MR. RAMER:                                       1 gender dysphoria, would it be unethical to create a
  2      Q And so cohort studies represent              2 study where participants are randomized into two
  3 lower-quality evidence than randomized controlled 3 groups, where one group receives only psychotherapy
  4 trials; is that right?                              4 and the other group receives psychotherapy and
  5         MR. LANNIN: Object to the form.             5 hormone therapy?
  6         THE WITNESS: So in the -- in the            6        MR. LANNIN: Object to the form.
  7 methodology of ranking the quality or certainty, a 7         THE WITNESS: So if you had availability
  8 randomized trial is valued higher.                  8 of hormone treatment and you had healthcare
  9 BY MR. RAMER:                                       9 providers who had determined that those people would
 10      Q Do you think that's right?                  10 benefit from medical treatment, it would be
 11         MR. LANNIN: Object to the form.            11 unethical to randomize them to not getting that
 12         THE WITNESS: Yes. I've conducted a         12 medical treatment.
 13 randomized controlled trial myself, and I see the 13         So there are many people who can benefit
 14 value there.                                       14 from psychotherapy, but there's no evidence that in
 15         But there also are interventions, and that 15 the subset of people who have a gender dysphoria
 16 certainly is the case with patients that we treat  16 diagnosis with the clinically significant distress
 17 where it's more difficult or impossible to do a    17 and impairment of that, that psychotherapy
 18 randomized controlled trial.                       18 alleviates that gender dysphoria.
 19 BY MR. RAMER:                                      19        So under that circumstance, I don't think
 20      Q Do you think it's unethical to do a         20 it would be ethical to randomize that population of
 21 randomized controlled trial in this context?       21 people for whom gender-affirming medical care has
 22         MR. LANNIN: Object to the form.            22 been indicated and recommended.
 23         THE WITNESS: I think in certain            23 BY MR. RAMER:
 24 circumstances, yes.                                24     Q But doesn't that sort of assume the
 25         If we know that one intervention has a lot 25 conclusion if the question is, can the psychotherapy
                                                                                                 20 (Pages 74 - 77)
                                             Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 22 of 68

                                               CONFIDENTIAL
                                                   Page 78                                                      Page 80
  1 achieve similar results, and the answer is, well,         1 ineffective?
  2 we're not going to do the study because there's no        2        MR. LANNIN: Object to the form.
  3 evidence that the psychotherapy achieves similar          3        THE WITNESS: So I think we can -- when it
  4 results?                                                  4 comes to adolescents and adults, I think that we
  5        MR. LANNIN: Object to the form.                    5 have -- we don't have evidence of efficacy, and we
  6        THE WITNESS: So I think you can look back          6 have substantial clinical experience of inefficacy.
  7 to even a publication by Brown in 1960, who was with      7 And that's something that's been known really for
  8 the Air Force, but he had done some research with         8 decades.
  9 the UCLA group that was providing care to both --         9        As I said, there's been controversy on
 10 across age groups in the 50s, 60s, 70s.                  10 prepubertal children, but not adolescents and
 11        And for -- so they, at that time, you             11 adults.
 12 know, recognized that prepubertal youth might desist     12 BY MR. RAMER:
 13 from their gender diversity. They didn't have a          13     Q Do you see a distinction between
 14 diagnosis at that time. But they recognized that         14 psychotherapy that is provided with the purpose of
 15 after puberty, that wasn't likely.                       15 changing an individual's gender identity and
 16        Anyway, in that 1960 publication, the             16 psychotherapy that is provided for the purpose of
 17 person was specifically referring to adults, but         17 reducing the distress associated with gender
 18 saying that they had never seen someone whose gender     18 incongruence?
 19 identity had changed as a result of -- of                19        MR. LANNIN: Object to the form.
 20 psychotherapy.                                           20        THE WITNESS: So I do work, and the
 21        So in another talk that Brown had given,          21 therapists I work with do work, in terms of reducing
 22 he had said that he hadn't seen it in adolescents,       22 distress or improving someone's ability to cope with
 23 but in younger -- basically younger people could         23 the distress of gender dysphoria. But we don't see
 24 desist, and that was what they eventually published      24 that as a replacement for treating gender dysphoria
 25 out of UCLA. Again, not people with a diagnosis,         25 medically when -- in the cases where it makes sense
                                                   Page 79                                                      Page 81
  1 but people who were brought in, in that case the          1 to do so.
  2 young people, by their parents.                           2 BY MR. RAMER:
  3        So my point is that we're not coming in            3      Q And do you think it would be unethical to
  4 without decades of experience. And there have been        4 study whether that psychotherapy alone would be
  5 multiple case reports, attempts at literature in          5 effective?
  6 terms of psychotherapy back from the psychoanalysis       6         MR. LANNIN: Object to the form.
  7 days to cognitive behavioral therapy.                     7         THE WITNESS: So I think that there has
  8        And so through all of that, there just             8 been -- there have been decades in which people have
  9 hasn't been any evidence of efficacy that -- for          9 had that opportunity. And, you know, there have
 10 psychotherapy only for those people who need             10 been transgender people and people with gender
 11 medication.                                              11 dysphoria, you know, for -- certainly for many
 12        And so taking those people who have been          12 decades that have been documented.
 13 determined to have a gender dysphoria diagnosis and      13         And you look at someone like Robert
 14 have -- within that diagnosis, need -- have great        14 Stoller, who started the Gender Identity Research
 15 distress about aspects of their physical body,           15 Center at UCLA in 1963 and was a mentor, he was a
 16 typically, to randomize people to either get an          16 psychoanalyst. So psychoanalysts really believe
 17 intervention that we have a long experience of being     17 that almost everyone, you know, should get therapy,
 18 successful versus an intervention where we have a        18 basically. They're strong proponents.
 19 long experience of lack of success, that that would      19         But with this population, he supported
 20 not be ethical to randomize between those two            20 medical intervention because his experience was
 21 choices.                                                 21 there was a subset of the people he saw where
 22 BY MR. RAMER:                                            22 medical intervention was the only thing that helped
 23     Q Are you saying we don't have evidence to           23 them.
 24 show that psychotherapy alone is effective, or are       24         And so -- so the reason I bring that up is
 25 you saying that we know that psychotherapy alone is      25 it's like -- it's not a new thing like, you know,

                                                                                                  21 (Pages 78 - 81)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 23 of 68

                                                CONFIDENTIAL
                                                   Page 82                                                    Page 84
  1 COVID appearing and stopping our WPATH conference in      1     A So they were randomized to two different
  2 2020. It's not something that just arose de novo,         2 kinds of intervention.
  3 you know.                                                 3        One was usual care where they would get
  4        Clinicians have been working with these            4 their prescription and be responsible for it
  5 folks for decades and decades and decades. And if         5 themselves, the way which is how most everyone gets
  6 there was -- it seems like you would need to have         6 an antidepressant, how they were getting
  7 some glimmer that there was an intervention that was      7 antidepressants before, versus getting a weekly form
  8 effective given that there has been a long                8 of an antidepressant that -- with directly observed
  9 opportunity to do interventions, and interventions        9 therapy, where they would come in, and it was
 10 have been tried for decades without success.             10 observed that they would swallow the medication.
 11        And so that's why I'm saying it's not             11 And it was a medication that only needed to be given
 12 ethical just like when -- the clinical trial that I      12 once a week.
 13 did, we didn't have a placebo group because we knew      13        So we knew that there was a problem with
 14 that interventions helped, it wouldn't have been         14 adherence in this population. And because they were
 15 ethical to give placebo to some of our patients.         15 people with HIV, the problem with adherence was also
 16 BY MR. RAMER:                                            16 with their HIV medications. And we knew that the
 17     Q Are you aware of a study designed along            17 mortality was much higher in that particular
 18 the lines of the study I previously described?           18 population than other populations of HIV-positive
 19        MR. LANNIN: Object to the form.                   19 people with better adherence -- we were looking at
 20        THE WITNESS: So in terms of randomizing           20 homeless people who had particular difficulties
 21 people to psychotherapy versus a medical                 21 taking their medications -- and trying to see if
 22 intervention, no.                                        22 there was a better intervention for those who were
 23 BY MR. RAMER:                                            23 depressed to treat their depression.
 24     Q And you think that we should not do that           24     Q So am I wrong in thinking that that study
 25 study because it would be unethical, correct?            25 divided up the individuals into the treatment arm
                                                   Page 83                                                    Page 85
  1        MR. LANNIN: Object to the form.                    1 which received -- I'm going to butcher the
  2        THE WITNESS: I think if you were actually          2 pronunciation -- fluoxetine --
  3 doing a randomized group as opposed to selecting          3     A Yes.
  4 people who -- who were -- like, a select population       4     Q -- and the referral arm which received
  5 of people who really were seeking exploration of          5 group therapy?
  6 their gender identity and not seeking -- not having       6        MR. LANNIN: Object to the form.
  7 clinicians saying that a medication was indicated,        7        THE WITNESS: No. So that was a different
  8 you know, that there could be a clinical trial of         8 study. So that study was way earlier. That was
  9 people who were gender questioning, you know, of          9 while I was still at UCLA in my residency, and --
 10 different interventions on them.                         10 when that was done. And that was a group therapy
 11        But for people for whom a medical                 11 focused on therapeutic interventions for depression
 12 intervention is indicated, to randomize those people     12 versus fluoxetine.
 13 to not getting that intervention and getting a           13        And that was a different -- a different
 14 psychotherapeutic intervention, I don't think it's       14 study because those were specific group therapies
 15 ethical.                                                 15 that were known to be effective treatments for
 16        It's also not practical because I don't           16 depression, and those were people who were motivated
 17 think that they would -- you would be able to get        17 to get that kind of treatment as well, with or
 18 people to join that study.                               18 without fluoxetine. So that was a different study.
 19 BY MR. RAMER:                                            19        I was referring to a study with homeless
 20     Q In the randomized controlled trial that            20 HIV-positive people for whom -- and this was many
 21 you did that you were referencing, which I assume is     21 years later -- for whom -- the first group was
 22 the one with the individuals who are HIV positive,       22 before there were any HIV medications; and having
 23 and you gave them a particular psychiatric --            23 interventions -- group interventions to treat
 24     A Right.                                             24 depression and to teach them to better cope with the
 25     Q -- were they randomized?                           25 stress of having AIDS or HIV, that was the intent of

                                                                                                22 (Pages 82 - 85)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 24 of 68

                                                CONFIDENTIAL
                                                    Page 86                                                       Page 88
  1 the intervention.                                          1         THE WITNESS: So -- yeah. So I think
  2        The study with the second population,               2 "expert opinion" can include based on one's clinical
  3 everyone got fluoxetine. Some people got it weekly,        3 observations. I think that, you know, might be a
  4 directly observed therapy. Some people got it as a         4 reasonable --
  5 usual care prescription like they would if they            5 BY MR. RAMER:
  6 weren't in the study.                                      6     Q Yeah, and I wasn't trying -- I was just --
  7 BY MR. RAMER:                                              7 you know, you can understand there could be expert
  8     Q In the earlier study with fluoxetine and             8 opinion that is informed by all the studies.
  9 group therapy, was that study ethical?                     9     A Right.
 10        MR. LANNIN: Object to the form.                    10     Q That's one example.
 11        THE WITNESS: Yes, because we were -- in            11     A Right.
 12 that study and in that population, we were looking,       12     Q But I don't think that's what that's
 13 within this limited time period, of intervening for       13 referring to.
 14 depression with psychotherapy.                            14     A Right.
 15        So unlike gender dysphoria, cognitive              15     Q And that's referring to clinical
 16 behavioral therapy and interpersonal therapy have         16 observations, I assume.
 17 been determined to be effective treatments for            17         MR. LANNIN: Object to the form.
 18 depression.                                               18         THE WITNESS: Yeah, I would assume that
 19        I would say since that study, there have           19 that's like in isolation, but all of these other
 20 been some systematic reviews that have shown              20 things should be taken into account as well.
 21 cognitive behavioral therapy to be effective, and         21         MR. RAMER: Maybe good time for a break?
 22 fluoxetine to be effective, but fluoxetine may be         22         MR. LANNIN: Sure.
 23 more effective; so maybe that changes the balance of      23         THE VIDEO OPERATOR: This marks the end of
 24 the ethics.                                               24 Media Unit 1 of the deposition of Dan Karasic, M.D.
 25        But that -- but from the information we            25 The time is 11:21 a.m. We're off the record.
                                                    Page 87                                                       Page 89
  1 had then, a cognitive behavioral therapy for               1        (Recess, 11:21 a.m. - 11:31 a.m.)
  2 depression and fluoxetine were both efficacious            2        THE VIDEO OPERATOR: We are back on the
  3 treatments for depression in that population.              3 record at 11:31 a.m. This marks the beginning of
  4 BY MR. RAMER:                                              4 Media Unit 2 of the deposition of Dan Karasic, M.D.
  5      Q Just one more question, and maybe we'll             5        Please continue.
  6 take a break.                                              6 BY MR. RAMER:
  7        But back on Exhibit 2 and that page with            7     Q Dr. Karasic, one question I meant to ask
  8 the pyramid, do you agree that out of the types of         8 earlier is, did you review any -- I'll start again.
  9 medical evidence listed on this pyramid, that              9        In preparation for this deposition, did
 10 "expert opinion" represents the lowest form of            10 you review any deposition transcripts from this
 11 medical evidence?                                         11 case?
 12        MR. LANNIN: Object to the form.                    12     A No.
 13        THE WITNESS: So expert opinion on its              13     Q In the context of reviewing medical
 14 own, but I do think that clinical guidelines refer        14 research, are you familiar with the term "narrative
 15 heavily and with good reason to expert opinions that      15 review"?
 16 try to synthesize -- both synthesize the data and         16     A I'm not sure. Can you say anything more?
 17 the end clinical practice as it is.                       17     Q I'm just curious if you've heard that term
 18        And so -- so all these other levels are            18 and what your understanding of that term is.
 19 important, but consensus of experts is important as       19     A I'm not sure.
 20 well.                                                     20        (Exhibit 3 was marked for identification
 21 BY MR. RAMER:                                             21     and is attached hereto.)
 22      Q Sorry. Just clarifying, do you agree that          22 BY MR. RAMER:
 23 "expert opinion" on this pyramid is referring to          23     Q Dr. Karasic, the court reporter has handed
 24 what might be referred to as clinical observations?       24 you what's been marked as Karasic Exhibit 3, and it
 25        MR. LANNIN: Object to the form.                    25 says, "Appendix A Methodology" at the top.

                                                                                                   23 (Pages 86 - 89)
                                             Veritext Legal Solutions
877-373-3660                                                                                             800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 25 of 68

                                               CONFIDENTIAL
                                                  Page 90                                                    Page 92
  1     A Um-hum.                                            1 other chapters in which they wouldn't add much. And
  2     Q And does this appear to be Appendix A to           2 I asked her about that, and that's my recollection.
  3 the SOC-8?                                               3 BY MR. RAMER:
  4     A Yes.                                               4      Q And you agreed with her conclusion that a
  5     Q And does this appendix discuss the                 5 systematic review would not add much to the "Mental
  6 methodology used to create the SOC-8?                    6 Health" chapter; is that right?
  7        MR. LANNIN: Object to the form.                   7        MR. LANNIN: Object to the form.
  8        THE WITNESS: Yes.                                 8        THE WITNESS: Yeah. I didn't -- I
  9 BY MR. RAMER:                                            9 certainly didn't contest her -- her point.
 10     Q And on this page, which has "S247" in the         10 BY MR. RAMER:
 11 upper right corner, I'd like to go to the left          11      Q And do you think that's true, that a
 12 column, the first paragraph, and the third sentence.    12 systematic review would not have added much to the
 13 And I'll just read it and first ask if I read it        13 chapter?
 14 correctly.                                              14      A Well, I think that -- I mean, I think it's
 15        It says, "Evidence-based guidelines              15 a good question.
 16 include recommendations intended to optimize patient    16        I think that there -- we were treading on
 17 care and are informed by a systematic review of         17 an area where the literature, as it relates
 18 evidence and an assessment of the benefits and harms    18 specifically to transgender people, is limited, and
 19 of alternative care options."                           19 I think we were drawing on the broader literature,
 20        Did I read that correctly?                       20 for example, on the provision of or capacity for
 21     A Yes.                                              21 informed consent.
 22     Q For the "Mental Health" chapter, did you          22        And so I -- you know, I think it was
 23 or your co-authors seek a systematic review of          23 reasonable for us to just look at the specific
 24 evidence?                                               24 literature in -- in those specific areas, given the
 25     A So we discussed that with Karen Robinson,         25 kind of disparate nature of the recommendations
                                                  Page 91                                                    Page 93
  1 and she didn't feel, based on the ten statements     1 where we were kind of basing them on kind of
  2 that we had, that a systematic review would add      2 different fields of medicine and mental health.
  3 anything versus just trying to reference the         3     Q And so is it fair to say that, in your
  4 research. Many of the things had not had a specific  4 opinion, a systematic review would have confirmed
  5 systematic review.                                   5 what you already knew, which is that the evidence in
  6     Q And when you say she explained that a          6 this area is limited?
  7 systematic review would not add anything, what do    7        MR. LANNIN: Object to the form.
  8 you mean by that?                                    8        THE WITNESS: Yes, and that we often had
  9     A Well, it was a long time ago, but we had a     9 to look at the broader -- the broader research.
 10 conversation where I said, "These were our          10 Like, whether it might be for nicotine affecting
 11 statements of recommendation. Do you recommend or 11 surgical outcomes, we know that from the broader
 12 do you think we could do systematic reviews on      12 plastic surgery literature; or whether it's about --
 13 this?"                                              13 capacity to give informed consent is from the
 14        And my recollection was that -- that she     14 broader literature, not specifically from the
 15 said no.                                            15 transgender health literature.
 16     Q So it was Dr. Robinson's decision as to       16 BY MR. RAMER:
 17 whether a systematic review was conducted for the   17     Q And outside of just Chapter 18, can you
 18 "Mental Health" chapter; is that correct?           18 name a systematic review that supports the
 19        MR. LANNIN: Object to the form.              19 conclusion that people receive benefit from
 20        THE WITNESS: Well, if I felt -- if I         20 gender-affirming medical care?
 21 disagreed, I might have pressed the point.          21        MR. LANNIN: Object to the form.
 22        But I asked her opinion as a -- you know,    22        THE WITNESS: So I think that the
 23 our systematic review group, asked her about -- my  23 systematic review for hormones that was done, that
 24 understanding is that there were -- would be        24 that one, which was done by the Hopkins group and
 25 chapters where systematic reviews might help and    25 published by them, provides support for people

                                                                                               24 (Pages 90 - 93)
                                           Veritext Legal Solutions
877-373-3660                                                                                        800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 26 of 68

                                                CONFIDENTIAL
                                                    Page 94                                                   Page 96
  1 getting benefit from -- psychological benefit, for         1      A Yes.
  2 example, from -- from gender-affirming hormones.           2      Q And then following that sentence, it cites
  3 BY MR. RAMER:                                              3 two documents.
  4     Q And you're referring to the systematic               4         Do you see that?
  5 review that was published, correct?                        5      A Yes.
  6     A Yes.                                                 6      Q Have you ever read -- sorry. Go ahead.
  7     Q And are there any other systematic reviews           7      A Yeah. Okay. Yeah, I see the two
  8 you're aware of that support the conclusion that           8 documents. Okay.
  9 gender-affirming medical care will benefit people?         9      Q Have you ever read either of those
 10        MR. LANNIN: Object to the form.                    10 documents?
 11        THE WITNESS: So I think that there have            11      A I don't recall reading either of them, but
 12 been a range of systematic reviews showing benefit.       12 I can't say no, either.
 13 Even most recently from the Cass report, the              13      Q Are you able to say that the SOC-8
 14 systematic review for hormones showed a moderate          14 followed the recommendations of those documents with
 15 level of support for mental health benefit.               15 respect to the SOC-8's conflict-of-interest policy
 16        I think the Cornell systematic review of           16 and committee composition?
 17 what we know, which reviewed the literature from          17         MR. LANNIN: Object to the form.
 18 early on, I think early 1990s to 2017, found benefit      18         THE WITNESS: I think that they -- they
 19 within that systematic review. I think the Bustos         19 had a conflict-of-interest policy, and they had a
 20 systematic review of regret showed that that was          20 transparent process for appointing the committees.
 21 very uncommon.                                            21         I can't say whether they met, you know,
 22        So I think there have been systematic              22 all of the recommendations from the two papers.
 23 reviews that -- you know, that have been supportive       23 BY MR. RAMER:
 24 of providing gender-affirming care.                       24      Q In your answer just now, who is the
 25 ///                                                       25 "they"?
                                                    Page 95                                                   Page 97
  1 BY MR. RAMER:                                              1     A Oh. So I would say the editors of
  2     Q Am I right in thinking that the Cornell              2 Standards of Care 8.
  3 review applied only to adults?                             3     Q And so sticking with the same Exhibit 3,
  4        MR. LANNIN: Object to the form.                     4 same column, and then skipping down two paragraphs,
  5        THE WITNESS: My recollection is that it             5 about halfway -- a little over halfway through that
  6 was the literature as a whole and not -- not               6 paragraph, there's a sentence referring to the
  7 specific to adolescents.                                   7 Delphi process.
  8        I don't know whether there were any youth           8       Do you see that?
  9 included in any of the papers that they reviewed.          9     A Yes.
 10 They reviewed a lot of papers.                            10     Q And you've mentioned that a little bit
 11 BY MR. RAMER:                                             11 today already.
 12     Q Sticking with Exhibit 3, which is                   12     A Yes.
 13 Appendix A to the SOC-8, I'd like to go to -- stick       13     Q Can you just -- can you just explain
 14 with the same page, same column, actually same            14 broadly what that is?
 15 paragraph. And there's, just over halfway, a              15     A Sure.
 16 sentence that begins with, "The process." And I'll        16       MR. LANNIN: Object to the form.
 17 read it and first ask if I read it correctly.             17       THE WITNESS: So Delphi process is a means
 18        It says, "The process for development of           18 of producing a consensus recommendation in practice
 19 the SOC-8 incorporated recommendations on clinical        19 guidelines, and particularly where consensus of
 20 practice guideline development from the National          20 experts is part of the process for developing the
 21 Academies of Medicine and the World Health                21 guidelines.
 22 Organization that addressed transparency, the             22       And so for Delphi, we submitted our
 23 conflict-of-interest policy, committee composition        23 recommendations, and they needed 75 percent
 24 and group process."                                       24 approval; but also, each of the larger group of
 25        Did I read that correctly?                         25 authors of Standards of Care 8 had the opportunity

                                                                                                25 (Pages 94 - 97)
                                             Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 27 of 68

                                                CONFIDENTIAL
                                                   Page 98                                                     Page 100
  1 to provide any feedback for each -- for each              1 not all of the authors voted on the statement,
  2 statement.                                                2 correct?
  3        And they wouldn't be included in                   3         MR. LANNIN: Object to the form.
  4 Standards of Care 8 unless they or the revised            4         THE WITNESS: So -- right. So all of the
  5 version had received 75 percent support.                  5 broader authors -- a statement didn't go to Delphi
  6 BY MR. RAMER:                                             6 until there was consensus of the chapter authors.
  7     Q And the "they" in that answer is referring          7         So all of our statements had kind of full
  8 to the statements?                                        8 consensus of the people in our chapter, but only
  9        MR. LANNIN: Object to the form.                    9 75 percent had to approve of all of the authors who
 10        THE WITNESS: Yes. The statements                  10 voted.
 11 wouldn't be included unless the statements had           11 BY MR. RAMER:
 12 received 75 percent support.                             12      Q I guess my question was a little bit
 13 BY MR. RAMER:                                            13 different, which is that -- and maybe I'm
 14     Q And can you describe, just as a practical          14 misunderstanding.
 15 matter, how the authors voted on a statement?            15         I thought you said that you had to hit a
 16     A Yeah.                                              16 threshold of 65 percent for the vote to count,
 17        It was a survey program that provided a --        17 meaning that you could have up to 35 percent who did
 18 as I recall, like a Likert or modified Likert scale      18 not vote, yet the vote would still count; is that
 19 of level of approval to disapproval. It may have         19 right?
 20 been 1 to 10. And so people could vote level of          20      A That is my recollection, but I'm not sure
 21 approval to level of disapproval.                        21 if that was the -- there was a number threshold that
 22        And a high level of approval was required,        22 you wouldn't complete the poll if -- you know, if
 23 but there was still variability that people could --     23 enough people hadn't voted. Knowing that you have
 24 could report, even if they're approving.                 24 this very large group of authors and there are going
 25        And then whether approving or                     25 to be people that don't respond, that they set a
                                                   Page 99                                                     Page 101
  1 disapproving, there was space on the form for their       1 threshold.
  2 comments or any recommendations for changes that          2        And then -- I also don't recall if it was
  3 were especially important if they were not approved       3 the 75 percent -- my assumption is it was 75 percent
  4 for Delphi. But we were also encouraged to take           4 of the people voting and not 75 percent of all the
  5 that into account if we needed to make modifications      5 authors, but I would have to look that up to see
  6 even if a statement was approved.                         6 what that was.
  7     Q And did you say "Likert scale"?                     7     Q Sorry. I think my question was less about
  8     A Oh, that's just like a 1 to 5 or 1 to 10            8 the precise number, but just understanding that a
  9 from "strongly disagree" to "strongly agree" that         9 statement could be -- let me restart.
 10 you see in polling, basically.                           10        A statement could pass the Delphi process
 11     Q And so can you explain who all voted in            11 even though some authors did not participate in the
 12 the Delphi process?                                      12 vote for that statement; is that right?
 13        MR. LANNIN: Object to the form.                   13        MR. LANNIN: Object to the form.
 14        THE WITNESS: So that was all of the               14        THE WITNESS: Yes. And so, like this
 15 authors of Standards of Care 8; you know, over 100       15 statement says, "was approved by 75 percent of the
 16 people.                                                  16 members."
 17        And I think they had to have -- I think           17        But I'm not sure whether that was
 18 65 percent of them had to have voted in order for        18 75 percent of all the people on the chapter versus
 19 the poll to be complete. So there was a deadline to      19 75 percent of the people who voted.
 20 complete the poll. And if they didn't reach a            20 BY MR. RAMER:
 21 minimum, then presumably there could be more time        21     Q And do you recall, did you vote on every
 22 given or more urging for people to vote.                 22 statement in the SOC-8?
 23 BY MR. RAMER:                                            23     A Yes. To my recollection, yes.
 24     Q And so a statement, under the process as           24     Q Okay. So sticking with Exhibit 3, I'd
 25 you just described it, could be approved even though     25 like to go to the fourth page, which is S250 at the

                                                                                                26 (Pages 98 - 101)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 28 of 68

                                               CONFIDENTIAL
                                                  Page 102                                                 Page 104
  1 top. And right column, there's a bold "3.9 Grading   1 goal in our chapter.
  2 criteria for statements."                            2 BY MR. RAMER:
  3        Do you see that?                              3      Q Are there chapters in SOC-8 that you do
  4     A Yes.                                           4 view as controversial?
  5     Q And the first sentence says that "Chapter      5      A Well, only in the sense that there's --
  6 members graded each statement using a process        6 there are chapters that one, you know, sees being
  7 adapted from the Grading of Recommendations,         7 brought up in media or in, you know, social media,
  8 Assessment Development and Evaluations (GRADE)       8 and really just, you know, a couple chapters that --
  9 framework."                                          9 where I have seen things, certainly.
 10        Do you see that?                             10        Certainly the "Adolescents" chapter, which
 11     A Yes.                                          11 is the subject of -- you know, it's controversial in
 12     Q And did you do that?                          12 the context of the legal actions that have been
 13        MR. LANNIN: Object to the form.              13 taken.
 14        THE WITNESS: So we -- we did that, but       14      Q And are there any other chapters that
 15 just in regards to classifying statements as a      15 you're referring to when you say you've seen them
 16 strong recommendation if we recommend versus a weak 16 brought up in media and social media?
 17 recommendation if we suggest. And we had the        17      A I've seen the "Eunuch" chapter brought up
 18 criteria here that was a way of -- with the         18 in media and social media.
 19 editors -- of making that recommendation.           19      Q Is it fair to say the grading process for
 20 BY MR. RAMER:                                       20 your chapter was a collaborative process between the
 21     Q So basically you're saying that the           21 authors?
 22 criteria listed here in Section 3.9 is the modified 22        MR. LANNIN: Object to the form.
 23 version of GRADE that was used for the SOC-8; is    23        THE WITNESS: Yes. It was a collaborative
 24 that right?                                         24 process between the authors and the -- and also the
 25        MR. LANNIN: Object to the form.              25 editors.
                                                  Page 103                                                 Page 105
  1        THE WITNESS: That's my understanding.              1 BY MR. RAMER:
  2 BY MR. RAMER:                                             2      Q And that was my next question. Did they
  3     Q And can you just describe how you, in the           3 then -- did the editors review the grading of the
  4 "Mental Health" chapter, did that process?                4 chapter?
  5        MR. LANNIN: Object to the form.                    5      A Yes.
  6        THE WITNESS: Sure.                                 6         MR. LANNIN: Object to the form.
  7        So as I said, we didn't have really                7 BY MR. RAMER:
  8 systematic reviews to inform us, but we made              8      Q Did they ever -- I guess -- let me back
  9 recommendations for which there -- for which we felt      9 up.
 10 there was substantial evidence and few downsides,        10         Were there ever disputes about the
 11 essentially, and in which there was a high degree of     11 grading?
 12 acceptance. All of our recommendations passed on         12         MR. LANNIN: Object to the form.
 13 the first time with a very high percentage.              13         THE WITNESS: I wouldn't make -- have it
 14        And so, you know, the recommendation that         14 rise to the level of "dispute."
 15 somebody has to have capacity to consent in order to     15         There were discussions over what's the
 16 consent for transgender care was something that I        16 level of evidence, the strength of consensus, the
 17 think everyone could agree on and substantially          17 downsides of a given recommendation.
 18 supported by the literature.                             18         And so it was discussed, but I don't think
 19        And I didn't view our chapter as                  19 it was ever really disputed.
 20 particularly controversial, and, in fact, I haven't      20 BY MR. RAMER:
 21 heard any -- none of the controversy that's gone on      21      Q And then returning to Exhibit 1, which is
 22 about SOC-8 has been about our chapter.                  22 the "Mental Health" chapter, and the first page of
 23        I don't think many people object to the           23 that chapter, which is S171, in looking at the
 24 idea that transgender people should receive good         24 statements in the box at the bottom of that page,
 25 mental health care, which was basically kind of our      25 all of those statements are listed as "We
                                                                                            27 (Pages 102 - 105)
                                            Veritext Legal Solutions
877-373-3660                                                                                       800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 29 of 68

                                               CONFIDENTIAL
                                                  Page 106                                                   Page 108
  1 recommend," correct?                                      1 know, provide a label to the quality based on a
  2      A Yes.                                               2 GRADE score of a systematic review.
  3      Q And so then returning to Exhibit 3,                3         This was more so, I think, than -- than,
  4 Appendix A to SOC-8, same page we were on before,         4 say, a "Medical" chapter, for example, related to
  5 which is S250, under the bold section, 3.9, about         5 consensus of clinical practice in some cases.
  6 halfway through that section, it says, "The               6         There were some that, you know, are
  7 statements were classified as: Strong                     7 certainly very strongly supported by the literature,
  8 recommendations ('we recommend') are for those            8 and there's some that -- where there's not a lot of
  9 interventions/therapy/strategies where," and the          9 literature, but there is a clinical consensus to
 10 first bullet says, "the evidence is of high              10 make a recommendation.
 11 quality"; is that right?                                 11 BY MR. RAMER:
 12      A Yes.                                              12      Q So just so I understand, so some of the
 13      Q And so did you and the chapter authors all        13 statements -- backing up, in the "Mental Health"
 14 conclude that the evidence supporting the statements     14 chapter, for some of the "We recommend" statements,
 15 in the "Mental Health" chapter is of high quality?       15 is it fair to say that for some of those, the
 16         MR. LANNIN: Object to the form.                  16 evidence underlying the statement would not be
 17         THE WITNESS: So, you know, not in the            17 deemed high-quality evidence under the traditional
 18 sense of, you know, where that might be applied          18 GRADE framework? Is that what you're saying?
 19 elsewhere in terms of a -- these statements              19         MR. LANNIN: Object to the form.
 20 weren't -- not all of them were supported certainly      20         THE WITNESS: Well, in that it may be
 21 by randomized clinical trials, for example.              21 difficult to even do a systematic review.
 22         But these were all statements that we felt       22         I'm just thinking of -- you know, of just
 23 were strongly supported, at a minimum, by the            23 some of the recommendations. There's really a wide
 24 consensus of experts where there was a lack of,          24 range of how much literature there was for the
 25 let's say, a clinical trial.                             25 various recommendations that we -- you know, that we
                                                  Page 107                                                   Page 109
  1 BY MR. RAMER:                                         1 made, like -- well, there's some that, you know,
  2     Q And when you were talking about where that      2 only providing care to people with capacity to
  3 term might be applied elsewhere, are you alluding to  3 consent has a vast literature. Maintaining existing
  4 the standard GRADE framework for high-quality and     4 hormones when somebody goes on an inpatient unit,
  5 low-quality evidence?                                 5 there's a fairly small literature on that, but there
  6        MR. LANNIN: Object to the form.                6 was strong clinical consensus that that was the
  7        THE WITNESS: Yes. So this, in a way, was       7 recommendation, and it is a question that's often
  8 maybe more -- there were statements in which there    8 asked.
  9 weren't that type of study, but there was strong      9 BY MR. RAMER:
 10 clinical consensus and a lack of controversy that    10      Q So when you were applying this methodology
 11 these recommendations should be followed, you know, 11 for the "Mental Health" chapter, how did you decide
 12 among clinicians.                                    12 whether the evidence is of high quality?
 13 BY MR. RAMER:                                        13        MR. LANNIN: Object to the form.
 14     Q And so the reference to the evidence being     14        THE WITNESS: So I think I was looking at
 15 of high quality in that bullet is different from     15 these statements as a group. And so there is a
 16 what high-quality evidence means in the traditional  16 variation by statement in how much literature, how
 17 GRADE framework; is that right?                      17 much research has been done, how much is just
 18        MR. LANNIN: Object to the form.               18 clinical reporting and clinical policies.
 19        THE WITNESS: Well, I think that it was        19        But there were some where there was --
 20 using the evidence that we had, and, you know, I     20 more had to do with consensus of experts, and there
 21 mean, I think that terminology might be used         21 were others in which there was a much larger
 22 differently in different contexts.                   22 literature that one could draw on.
 23        So, you know, I do think it was different     23 BY MR. RAMER:
 24 than, let's say, had we done a systematic review of  24      Q And then basically it was the judgment of
 25 each of these statements and, you know, could, you   25 the authors, with all of your expertise, to

                                                                                             28 (Pages 106 - 109)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 30 of 68

                                               CONFIDENTIAL
                                                  Page 110                                                   Page 112
  1 determine whether the evidence was of high quality?       1 chapter, which is one in which -- in which clinical
  2        MR. LANNIN: Object to the form.                    2 practice, though guided by evidence, a lot of it
  3        THE WITNESS: It was ultimately our                 3 really is related to consensus of experts because,
  4 determination of whether to use -- the authors and        4 you know, no one has done a clinical trial on
  5 editors -- of whether to use "recommend" versus           5 whether -- if someone is on hormones, whether to
  6 "suggest."                                                6 stop them or continue them when someone is admitted
  7        So, again, we weren't looking at only              7 to the hospital.
  8 statements for which a systematic review had              8         But the experts in transgender health
  9 provided high-quality research. There was kind of a       9 would feel that that's very important, and that is
 10 range in research by recommendation.                     10 based on the clinical experience that -- of the harm
 11 BY MR. RAMER:                                            11 that can happen to people if they're stopping and
 12      Q Do you think that there's a distinction           12 starting and stopping and starting hormones when,
 13 between "high-quality evidence" and the "best            13 let's say, going into a psychiatric institution.
 14 available evidence"?                                     14         So there are areas in which there's not a
 15        MR. LANNIN: Object to the form.                   15 lot of research, but there is a strong
 16        THE WITNESS: So "high-quality evidence"           16 recommendation by consensus of experts. And we just
 17 has its definitions in context, you know, like in a      17 happen to be a chapter where -- where there is a
 18 GRADE context. That's different from "best               18 variation in terms of amount of research that's been
 19 available evidence."                                     19 done.
 20        And it certainly is important to look             20      Q So if there is only low-quality evidence
 21 at -- you know, at both. But there certainly are         21 to support an intervention under the traditional
 22 times when we are just looking at best available         22 GRADE framework, is it unreasonable for a medical
 23 evidence where there haven't been clinical trials        23 provider to say, "I'm not going to provide this
 24 done, and we still need to make a recommendation.        24 intervention until there's better evidence
 25 ///                                                      25 supporting it"?
                                                  Page 111                                                   Page 113
  1 BY MR. RAMER:                                         1         MR. LANNIN: Object to the form.
  2      Q In talking about the more formal GRADE         2         THE WITNESS: So I think that would be
  3 methodology, in the context of that methodology, do   3 really problematic when you look at -- that the
  4 you know what a "discordant recommendation" is?       4 majority of medical interventions are supported by
  5         MR. LANNIN: Object to the form.               5 only low or very low GRADE scores, that only a
  6         THE WITNESS: Not that I can recall.           6 minority of national practice guidelines are
  7 BY MR. RAMER:                                         7 supported by high-grade evidence.
  8      Q As a general matter, do you agree that the     8         And so, you know, there was -- one of the
  9 strength of a guideline recommendation should be      9 studies I cited, only 10 percent of clinical
 10 linked to the strength of the evidence supporting    10 practice and emergency medicine, critical care
 11 that recommendation?                                 11 medicine and anesthesiology was supported by
 12         MR. LANNIN: Object to the form.              12 high-grade evidence, but people still need to go to
 13         THE WITNESS: I think that it's strength      13 the ER and they still need to go to the ICU and they
 14 of the available evidence, but there are also        14 still need anesthesia before surgery.
 15 guidelines that -- where there is strong clinical    15         And so, you know, it's great to have more
 16 consensus based on clinical practice, and I think    16 information, and typically what systematic reviews
 17 that can be important, too.                          17 and GRADE scores have been used for are to point to
 18 BY MR. RAMER:                                        18 areas where more research might be beneficial.
 19      Q What do you mean by that?                     19         And what is very different about what has
 20      A Well, one can make -- one can make a          20 been happening in the United States is people have
 21 recommendation, you know, in the absence of a graded 21 been pointing to GRADE scores in terms of what
 22 systematic review, basically. So it's great to have  22 should be legal and what should be illegal.
 23 that. It's great to have randomized clinical         23         And our standards of care aren't telling
 24 trials.                                              24 people what care is to be legal or illegal. We are
 25         I was looking at it in the context of our    25 trying to provide recommendations based on our

                                                                                             29 (Pages 110 - 113)
                                           Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 31 of 68

                                               CONFIDENTIAL
                                                  Page 114                                                      Page 116
  1 understanding of the literature and our consensus of      1         THE WITNESS: That's a good question.
  2 expert advice so somebody can go to the standards of      2         There's certainly -- one can make a
  3 care if they have a question, a practice question,        3 stronger recommendation based on kind of a
  4 and maybe get some advice that might be helpful.          4 collection of evidence, but I think it's difficult
  5        This standards of care was not done in the         5 to make a strong -- well, I guess I would -- maybe
  6 context of, you know, should a doctor go to prison        6 I'll back up a little bit.
  7 for doing this care or not. It was to provide our         7         So there are strong recommendations that
  8 best advice to be helpful to people as best we could      8 are made based on low quality -- what's called low
  9 in providing the care.                                    9 quality on GRADE, and those recommendations form the
 10 BY MR. RAMER:                                            10 majority of, like, national practices guidelines.
 11      Q Do you think the SOC-8 should be used by          11         Much of the practice -- you know, like,
 12 medical licensing boards in terms of assessing a         12 I'm thinking of antidepressants and where there was
 13 provider's medical practice?                             13 a well-known systematic review for antidepressants
 14        MR. LANNIN: Object to the form.                   14 in adolescents, children and adolescents, where only
 15        THE WITNESS: Well, there might be                 15 fluoxetine separated from placebo for the treatment
 16 circumstances. Medical boards will sometimes assess      16 of depression in minors, and yet fluoxetine is not
 17 a -- the practice of a physician who has been            17 the only drug that is used to treat depression in
 18 accused of harming patients.                             18 minors.
 19        And in that context, if somebody is acting        19         And so you don't have -- you don't have --
 20 outside of kind of community standards in their          20 you have low-quality evidence kind of throughout our
 21 practice of care, that could be evidence for them to     21 practice that still is the best evidence that we
 22 act.                                                     22 have and is used in practice guidelines to make
 23        It's not our, I think, intention with             23 recommendations.
 24 standards of care to -- you know, to make that kind      24         So I think that's where I distinguish
 25 of determination, which seems to be much broader         25 between low- -- you know, low-quality evidence and
                                                  Page 115                                                      Page 117
  1 than did they follow WPATH standards of care.             1 making a strong recommendation, viewing, you know,
  2        You know, if they followed WPATH standards         2 what we know as a whole.
  3 of care but they, you know, didn't prescribe a            3 BY MR. RAMER:
  4 medication within a particular guideline, or if they      4     Q I guess my question is more about the
  5 assaulted a patient, you know, one would make a           5 actual GRADE methodology rather than what happens.
  6 recommendation to the medical board.                      6        In the grade methodology, are there
  7        I don't think, you know, that anyone has           7 situations where strong recommendations can be made
  8 ever made a complaint because, you know, 18.8 of the      8 based on low-quality evidence in accordance with the
  9 "Mental Health" chapter wasn't, you know, followed        9 methodology?
 10 or because, you know, any other particular thing,        10        MR. LANNIN: Object to the form.
 11 aside from gross malfeasance, wasn't -- wasn't           11        THE WITNESS: So within -- GRADE is
 12 covered.                                                 12 referring to a level of -- a level of evidence, you
 13        So anyway, so that's where I just kind of         13 know, from strong, moderate, low, very low. And I
 14 draw a distinction between -- between the purpose        14 think that's distinct from a recommendation for care
 15 of -- what I perceived as the purpose of WPATH           15 that might be made by a practice guideline.
 16 standards of care and I think what's purported as        16        So a systematic review might provide a
 17 the purpose, which is to provide practice guidelines     17 GRADE for a particular intervention, but not -- a
 18 that might be helpful for a practicing clinician.        18 GRADE score, but not a recommendation of whether or
 19 BY MR. RAMER:                                            19 not you should do it. That seems like a realm of
 20     Q And returning back to the formal GRADE             20 someone else.
 21 methodology, in the context of the GRADE                 21 BY MR. RAMER:
 22 methodology, are there ever situations where strong      22     Q What do you mean?
 23 recommendations can be made based on low-quality         23     A So, meaning the Endocrine Society or
 24 evidence?                                                24 Hilary Cass or other people using systematic reviews
 25        MR. LANNIN: Object to the form.                   25 and GRADE scores and making -- making

                                                                                               30 (Pages 114 - 117)
                                           Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 32 of 68

                                                 CONFIDENTIAL
                                                   Page 118                                                   Page 120
  1 recommendations for care.                                  1 the time is 12:21 p.m.
  2      Q And so the point is that ultimately                 2        (Recess, 12:21 p.m. - 12:23 p.m.)
  3 somebody has to make the judgment of whether to            3        THE VIDEO OPERATOR: Back on the record.
  4 provide the intervention. And you're saying that           4 The time is 12:23 p.m.
  5 it's not just, you plug things into the GRADE              5 BY MR. RAMER:
  6 computer and GRADE tells you whether or not to do          6     Q And, Dr. Karasic, picking up on your
  7 it; is that what you're saying, basically?                 7 report at page 30, I'd like to look at paragraph 80.
  8      A Yes.                                                8 And I think this is sort of what we were discussing
  9         MR. LANNIN: Object to the form.                    9 where you cite the Chong study.
 10 BY MR. RAMER:                                             10     A Yes.
 11      Q And if I said that there were five                 11     Q And then on the next page, paragraph 82,
 12 paradigmatic contexts in the GRADE methodology where      12 you cite the Conway study.
 13 a strong recommendation can be made based on              13        Do you see that?
 14 low-quality evidence, would you be familiar with          14     A Yes.
 15 what I'm referencing?                                     15     Q I think you've already described it
 16         MR. LANNIN: Object to the form.                   16 somewhat, but can you just explain the purpose for
 17         You can answer.                                   17 why you're citing those articles here?
 18         THE WITNESS: Yeah, I don't recall the             18        MR. LANNIN: Object to the form.
 19 specifics of that, of kind of how theoretically one       19        THE WITNESS: Sure.
 20 might make a recommendation using -- using GRADE          20        So the purpose is that systematic reviews
 21 scores.                                                   21 and GRADE scores can provide guidance for areas for
 22 BY MR. RAMER:                                             22 further research. They can provide some guidance to
 23      Q And do you know if, in your view,                  23 clinical decision-making. But it's actually
 24 gender-affirming care falls within any of those           24 uncommon for -- or there are many interventions that
 25 contexts, to the extent they exist?                       25 are done without high GRADE scores. The state of
                                                   Page 119                                                   Page 121
  1        MR. LANNIN: Object to the form.            1 the research for many of the interventions we make
  2        THE WITNESS: GRADE context for providing 2 everyday are not supported by high GRADE scores. So
  3 care?                                             3 that was the purpose that I was listing that.
  4 BY MR. RAMER:                                     4        So just because a guideline for care is
  5     Q Right. The contexts in the GRADE            5 not supported by high GRADE scores doesn't mean that
  6 methodology where a strong recommendation can be  6 that care should be made illegal. It means that
  7 made on the basis of low-quality evidence, does   7 there may be areas in which we should be trying to
  8 gender-affirming care fall into any of those      8 get more evidence.
  9 contexts, to your knowledge?                      9        And I think that is the real shift, even
 10        MR. LANNIN: Same objection.               10 between the Europeans in making -- those that made
 11        THE WITNESS: I don't know.                11 decisions based on GRADE scores, and the U.S. where
 12        (Exhibit 4 was marked for identification  12 care is being -- is being banned, as opposed to
 13     and is attached hereto.)                     13 government is supporting more research so that, you
 14 BY MR. RAMER:                                    14 know, perhaps there will be higher GRADE scores in
 15     Q And, Dr. Karasic, you've been handed       15 the future.
 16 what's been marked as Karasic Exhibit 4, and it  16 BY MR. RAMER:
 17 says, "Expert Rebuttal Report of Dan H. Karasic, 17     Q In your view, is the quality of the
 18 M.D."                                            18 evidence under GRADE irrelevant to making treatment
 19        Does this appear to be the report you     19 decisions?
 20 submitted in this case?                          20        MR. LANNIN: Object to the form.
 21     A Yes.                                       21        THE WITNESS: No, and that's why I used
 22     Q And I'd like to go to page 30.             22 the example of a systematic review for
 23        (Proceedings interrupted.)                23 antidepressants in adolescents, finding, of all the
 24        MR. RAMER: Let's go off the record.       24 antidepressants, only fluoxetine separated out from
 25        THE VIDEO OPERATOR: Going off the record, 25 placebo for treating depression, I tend to use

                                                                                              31 (Pages 118 - 121)
                                             Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 33 of 68

                                               CONFIDENTIAL
                                                  Page 122                                                    Page 124
  1 fluoxetine in minors as a first line. But -- and          1 pediatricians do prescribe antidepressants.
  2 that's only based on a moderate GRADE score on that       2         And they could never -- that part of the
  3 systematic review.                                        3 Cass report, rather than saying 85 -- as an example,
  4         All the other antidepressants had low or          4 85 percent response, 5 percent side effect, should
  5 very low GRADE support if there was any separation        5 have said, you know, there's a systematic review
  6 from placebo; however, I and my colleagues very           6 where there's only a 10 percent difference between
  7 often use other medications; people -- if someone         7 drugs and placebo, that antidepressants have a --
  8 doesn't tolerate fluoxetine or they don't respond to      8 you know, at least in the U.S. -- an FDA warning
  9 it or they need a combination of medicines.               9 that in minors, they increase the chances of
 10         So it's just not part of our practice that       10 suicidality, not decrease. And yet we use them all
 11 everything has to be supported by a high GRADE           11 the time.
 12 score. We look at the alternatives, and we look at       12         So it -- it just speaks to kind of a level
 13 clinical experience, you know, when we don't have        13 of evidence and what we have, you know, how we work
 14 the best evidence.                                       14 with what we have.
 15         I was -- like with the example -- I was          15         And so I think using that example was
 16 kind of struck -- in the Cass report, they give an       16 just -- it was just something that struck me as a
 17 example of providing risks and benefits to a             17 clinician, because, you know, you would never -- if
 18 patient, and they say, let's say you're starting         18 you're doing risks and benefits -- I know they were
 19 them on an antidepressant, presumably in an              19 just using that as an example -- you would never use
 20 adolescent, a child or adolescent, and it has an         20 that example. Maybe you would use an antibiotic for
 21 85 percent response rate and a 5 percent side effect     21 strep throat as something that had, you know, a high
 22 rate. That was just their example.                       22 response rate and a low side effect rate.
 23         And so my reading of that is, that's the         23         But it was just very peculiar to me. And
 24 most unrealistic thing in the whole Cass report.         24 it just goes to show how people don't recognize --
 25 Show me an antidepressant with an 85 percent             25 and this is where it speaks to this, you know, how
                                                  Page 123                                                    Page 125
  1 response rate and a 5 percent side effect rate.           1 at zero percent of all the endocrine interventions
  2        So we work in a field where the response           2 under systematic review had a high grade score, that
  3 rate for interventions often aren't that great,           3 we practice all the time under limited evidence, and
  4 where the evidence for some interventions don't           4 we do the best we can.
  5 separate greatly from placebo in terms of                 5 BY MR. RAMER:
  6 medications.                                              6     Q And earlier, we were discussing how, at
  7        The number needed to treat can be high.            7 some point, some person is making a decision based
  8 How many do you have to treat for there to be a           8 on the evidence of whether an intervention should be
  9 distinguishing between someone on meds and not on         9 provided or not.
 10 meds?                                                    10        And I take it Dr. Cass, in her report, has
 11        And yet we don't abandon all of those             11 reached a conclusion that differs from your
 12 fields of medicine. We keep on practicing, and           12 conclusion; is that fair?
 13 hopefully, you know, more research happens that can      13        MR. LANNIN: Object to the form.
 14 better guide us, or new medicines come out that          14        THE WITNESS: So there definitely are
 15 separate, you know, in a greater way.                    15 things that I disagree with Dr. Cass. So -- but I'm
 16 BY MR. RAMER:                                            16 free to respond kind of more specifically to
 17     Q So how did the Cass review get it so               17 recommendations.
 18 wrong, in your view?                                     18        I think that there's a lot in there, and
 19        MR. LANNIN: Object to the form.                   19 not everything -- there are things that are
 20        THE WITNESS: I don't think the Cass               20 contradictory between even kind of the report and
 21 report got everything so wrong, but that was a place     21 things she said, you know, in interviews. And so --
 22 where, obviously whoever wrote that part was not a       22 but, you know, it's a large government report that
 23 practicing -- I don't think -- I would be surprised      23 has, you know, aspects that are more interesting and
 24 if Hilary Cass wrote that part because by reports,       24 less interesting to me.
 25 she was a practicing pediatrician. And                   25 ///

                                                                                              32 (Pages 122 - 125)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 34 of 68

                                                CONFIDENTIAL
                                                   Page 126                                                    Page 128
  1 BY MR. RAMER:                                         1 that data is gathered and studied in terms of that
  2      Q And I guess my question is just kind of        2 response, I don't think that's necessarily a bad
  3 general, of, like, if Dr. Cass is looking at the      3 thing.
  4 same body of evidence that you're looking at, and 4             I think it could be an improvement over
  5 Dr. Cass concludes the evidence is insufficient to 5 the current situation where, if you need puberty
  6 justify the use of puberty blockers to treat gender 6 blockers, you have to wait until you no longer need
  7 dysphoria in adolescents, how did she get that        7 puberty blockers. If you're having -- if you need
  8 conclusion wrong?                                     8 puberty blockers and you wait three to five years,
  9      A Okay.                                          9 at that point, you don't need puberty blockers, you
 10         MR. LANNIN: Object to the form.              10 might need hormones. You've aged out of where they
 11         You can answer.                              11 provide the greatest benefit.
 12         THE WITNESS: So I disagree with the          12 BY MR. RAMER:
 13 premise of your question in terms of my              13      Q Well, then, I guess, why wouldn't the
 14 interpretation of what she wrote.                    14 recommendation in the U.K. from Dr. Cass, for
 15         She wrote that she found that puberty        15 example, be not that we're going to prohibit
 16 blockers, as they were being used in the U.K., had 16 providing puberty blockers, except for research
 17 insufficient evidence, and she wanted it to be       17 trials, but we're going to say that you have to
 18 prescribed in an investigational way where they're 18 provide them earlier when the patient is closer to
 19 collecting data.                                     19 Tanner Stage 2?
 20         And she's pointed out in interviews, and     20         MR. LANNIN: Object to the form.
 21 it's alluded to in the Cass report, that the average 21         THE WITNESS: So she has said that they're
 22 age of people in the U.K. getting puberty blockers 22 planning to expand and have more access to care, and
 23 is 15, which is at Tanner Stage 5, which is beyond 23 perhaps when there is more access to care, that
 24 when they're particularly useful unless in           24 people will be able to get care sooner.
 25 combination with hormones as a bridge.               25         So I'm not -- I don't want to put words
                                                   Page 127                                                    Page 129
  1        At 15, usually people are prescribed                1 into Dr. Cass's mouth, but, you know, even if we
  2 hormones, but it's a flaw of the system where you          2 have some disagreement, I do agree with -- that what
  3 have to wait three to five years to get an initial         3 they appear to have been doing in the U.K. wasn't
  4 appointment.                                               4 appropriate care. And if there is a path through --
  5        And so I can see her saying, "Okay. Our             5 not prohibiting care, but as Dr. Cass claims,
  6 current practice, plus generally hormones are widely       6 expanding care, but in an investigational setting --
  7 available and will continue to be widely available         7 if that actually happens, that could be better than
  8 if you're 16 or over in the U.K."                          8 what happens now.
  9        So it seems like what happens in the U.K.           9         I wouldn't agree with someone who is
 10 right now is people turn -- people get their              10 saying, you know, we shouldn't use puberty blockers.
 11 appointment at age 15 and get referred to pediatric       11 And Dr. Cass, when interviewed, said -- she was
 12 endocrinology. It's just a few people in the entire       12 asked, "Do you believe puberty blockers are
 13 country that even get that referral out of thousands      13 dangerous?" And she said no.
 14 who are waiting.                                          14         So she just wants -- she wants more data
 15        By the time they get on puberty blockers,          15 and perhaps a different use -- I mean, she was the
 16 they're too old for them. And it's maybe not the          16 one who brought up this -- in that interview, the --
 17 appropriate treatment, but they can't be on hormones      17 you know, the average age, and it's also brought up
 18 until they're 16, so they're on puberty blockers          18 in the Cass report.
 19 through 15, and then at 16 they get on hormones.          19         And so -- so I -- you know, I can
 20        To look at that practice, because it's not         20 understand her wanting a more rational use of them,
 21 in accordance with the U.S. or with the German            21 but she hasn't said, "We're banning the use of
 22 language countries or with -- the Netherlands or          22 puberty blockers," or "We're stopping the use of
 23 Belgium don't use that practice.                          23 puberty blockers." She is saying using them in an
 24        And so if the Cass report results in young         24 investigational setting.
 25 people getting puberty blockers appropriately, and        25         She had previously alluded to there being

                                                                                               33 (Pages 126 - 129)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 35 of 68

                                                CONFIDENTIAL
                                                   Page 130                                                    Page 132
  1 some other pathway -- before the final report, she         1 difference if one is making a -- you know, a
  2 had alluded to there being some other pathway              2 treatment decision.
  3 perhaps where people could -- could get them.              3 BY MR. RAMER:
  4        And my belief is that people shouldn't be           4     Q And returning to your report, Exhibit 4,
  5 forced into a research study. And so even if they          5 and sticking on the same page, well, page 31, the
  6 predominantly want to do research, that there should       6 carryover paragraph, in the last sentence you refer
  7 be a pathway if clinicians have said, "This person         7 to "complex intervention." And you say,
  8 really needs puberty blockers," that they could get        8 "Gender-affirming care certainly qualifies as a
  9 them, and that's a place of objection with -- you          9 complex intervention."
 10 know, if that other pathway, if people are being          10        Do you see that?
 11 forced to be in a study in order to get treatment.        11     A Yes.
 12 BY MR. RAMER:                                             12     Q What makes an intervention complex as
 13     Q And so your point there is, it still                13 opposed to simple?
 14 wouldn't be reasonable even if you said, "We're           14     A So a complex intervention is one where you
 15 going to allow it only in a controlled study"; is         15 have -- you can have multiple steps in the
 16 that what you're saying?                                  16 implementation of the intervention, and you can also
 17        MR. LANNIN: Object to the form.                    17 have an indirect means of assessing whether that
 18        THE WITNESS: I'm saying it's good that             18 intervention was effective.
 19 they're allowing it and collecting data, and              19        So an example would be, when you look at
 20 hopefully they are trying to use it appropriately.        20 puberty blockers, and your question is just, do they
 21        But I -- my belief is that shouldn't be            21 stop puberty, that's a very direct intervention.
 22 the only pathway. That is a disagreement I have           22 You are taking somebody, you're giving them puberty
 23 with Dr. Cass. I don't think that should be the           23 blockers, and you're seeing if -- physically, if
 24 only way that you should be able to get care.             24 puberty is stopped.
 25 ///                                                       25        If you are saying you give someone -- you
                                                   Page 131                                                    Page 133
  1 BY MR. RAMER:                                              1 have someone transition, and that involves puberty
  2     Q And so earlier, you said that you                    2 blockers, and then your outcome is, are they happy,
  3 didn't -- you didn't think that the quality of the         3 there are -- there may be a number of steps, you
  4 evidence under GRADE is relevant to making a               4 know, that happen that could be -- that could
  5 treatment decision.                                        5 complicate things: the intervention of other aspects
  6        I guess my question is, how do you                  6 of transition as well as the puberty blocker.
  7 determine when it is relevant for making a treatment       7        And then in determining the effect, you're
  8 decision?                                                  8 not just looking at did the puberty blocker stop
  9        MR. LANNIN: Object to the form.                     9 puberty, but did stopping puberty presumably affect
 10        THE WITNESS: So I think it is in a                 10 the person's self-perception, or perception of their
 11 broader context, which includes trying to determine       11 body in a way that reduced distress or improved
 12 the best treatment for someone who needs treatment.       12 quality of life.
 13 And so one looks at the alternatives.                     13        And so you have this kind of -- you have a
 14        So if, let's say -- using the                      14 level of complexity that, when you add that into an
 15 antidepressant example -- if fluoxetine has a             15 intervention, it is -- rarely, if ever, do you get
 16 moderate GRADE score, but the alternatives -- you         16 high GRADE scores.
 17 know, in that systematic review, it was more              17        And, in fact, NICE, N-I-C-E, the British
 18 effective than anything else except the combination       18 agency that did the original systematic review and
 19 of fluoxetine and cognitive behavioral therapy was,       19 grading of puberty blockers, before doing that, they
 20 you know, similar, but that you were still getting        20 had actually long resisted adopting GRADE because of
 21 fluoxetine. So my takeaway from that is, if someone       21 its weakness with complex interventions, and -- but
 22 is depressed, that it does seem like the best             22 they did adopt it in time, certainly, to do the
 23 alternative supported by that study.                      23 grading of the systematic review of puberty
 24        Now, it's not only that study that                 24 blockers. So they ultimately did do it.
 25 determines how I treat somebody, but it may make a        25        But there apparently, in the systematic

                                                                                               34 (Pages 130 - 133)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 36 of 68

                                               CONFIDENTIAL
                                                 Page 134                                                    Page 136
  1 review world, has been some disagreement about its       1 of ketamine in unipolar depression, that there
  2 utility in particular circumstances, in                  2 certainly is more caution in treating bipolar
  3 circumstances where all the studies have low GRADE       3 people. But I don't think it's something that
  4 scores.                                                  4 should be banned.
  5      Q Is the use of psychotropic medication a           5 BY MR. RAMER:
  6 complex intervention?                                    6      Q And apart from medical interventions that
  7        MR. LANNIN: Object to the form.                   7 kill everybody, how would you determine whether it
  8        THE WITNESS: So it's certainly a less             8 is or is not reasonable to ban a particular medical
  9 complex intervention than gender-affirming care.         9 intervention?
 10 But from my experience actually trying to do a -- a     10      A So I think that if there is a ban, it
 11 clinical trial, you know, there are levels of           11 should come from the great consensus of care
 12 complexity there as well. It's certainly more           12 providers and experts in the field. It shouldn't --
 13 complex than the person with strep throat. You give     13 it certainly shouldn't be a ban that is done
 14 them medication, and you -- you get the result.         14 top-down when the actual people providing the care
 15        Just because, you know, in this case, you        15 believe there's benefit.
 16 can have a very defined intervention, but there can     16         So obviously it's a theoretical case and,
 17 be variation on your outcome measures that relate to    17 you know, maybe not everyone has to die. But, you
 18 a lot of other kind of aspects that make it more        18 know, there would have to be, I think, great
 19 difficult than a simple, maybe perhaps, medical         19 consensus that this is something that is -- that
 20 intervention.                                           20 this is something harmful.
 21        I think mental health interventions              21         There are -- there's all kinds of care
 22 generally are harder to get higher grades of            22 that's not given very often because of harm. You
 23 evidence because of the -- of that kind of              23 know, there are -- there has been the ban of, you
 24 variability when you're trying to measure how           24 know, conversion therapy that I know you're aware
 25 someone feels.                                          25 of, and I think that's a -- you know, certainly a
                                                 Page 135                                                    Page 137
  1 BY MR. RAMER:                                            1 subject for debate that I probably don't need to
  2     Q Is there any medical intervention that you         2 wade into right now.
  3 think is reasonable to ban?                              3        But, I mean, there are times where there
  4        MR. LANNIN: Object to the form.                   4 is, you know, kind of a great consensus that there's
  5        THE WITNESS: Not on the basis of a                5 harm being done. But I think that by and large,
  6 systematic review.                                       6 politicians should stay out of it because most care
  7        I think that it might be -- it's possible,        7 that is -- that doesn't show benefit and is harmful
  8 but it would just be speculative. I can't think of       8 gets weeded out in and of itself; that interventions
  9 anything off the top of my head.                         9 have been tried and found, you know, not to be --
 10        I mean, it might be possible that there          10 not to be helpful, and, you know, the field of
 11 could be an intervention that -- where everyone         11 medicine moves on.
 12 dies, you know. And so, you know, there's               12      Q But take the example of ketamine that we
 13 something -- something out there, you know, that        13 were discussing. Who would you ask to determine the
 14 happens, you know.                                      14 consensus of whether it's appropriate? Only the
 15        But I don't -- not things that have been,        15 providers who are actually providing the ketamine to
 16 like, approved treatments in recent years, at least,    16 adolescents?
 17 that -- you know, that should be banned.                17        MR. LANNIN: Object to the form.
 18 BY MR. RAMER:                                           18        THE WITNESS: No, you would look at the
 19     Q Would it be reasonable, in your view, to          19 research as well.
 20 ban the use of ketamine as a treatment for bipolar      20        Generally, it's difficult for adolescents
 21 disorder in adolescents?                                21 to access ketamine as treatment, but, you know, I
 22        MR. LANNIN: Object to the form.                  22 know from my patients that there are some who
 23        THE WITNESS: No.                                 23 have -- I have patients who have benefited from, you
 24        So I would say, you know, there's                24 know, ketamine for treatment-resistant depression.
 25 growing -- there's growing evidence of the utility      25 That said, it's been difficult for them to get it

                                                                                             35 (Pages 134 - 137)
                                           Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 37 of 68

                                                 CONFIDENTIAL
                                                   Page 138                                                   Page 140
  1 until they're 18.                                          1       THE VIDEO OPERATOR: We are back on the
  2        I wouldn't want to see the government step          2 record at 1:31 p.m. This marks the beginning of
  3 in and say, "You can't have that."                         3 Media Unit 3 of the deposition of Dan Karasic, M.D.
  4        I would -- I'd want to have there be more           4       Please continue.
  5 research and, you know, continue a greater                 5       (Exhibit 5 was marked for identification
  6 understanding as we need to have in terms of that,         6     and is attached hereto.)
  7 you know, treatment.                                       7 BY MR. RAMER:
  8        And if anything, the government has been            8     Q Dr. Karasic, you've been handed what's
  9 going back on banning substances that might have           9 been marked as Karasic Exhibit 5, and that is
 10 clinical utility like, you know, they're proposing        10 "Chapter 6 Adolescents" at the top.
 11 changing the schedule level for cannabis and funding      11       Do you see that?
 12 more research into psilocybin.                            12     A Yes.
 13        And so I think, you know, it should be a           13     Q Does this appear to be the "Adolescents"
 14 very rare case that politicians ban a particular          14 chapter of the SOC-8?
 15 care. I think it is something that should be left         15     A Yes.
 16 up to the practice community.                             16     Q And I'd like to go to page S61. And in
 17        And if somebody is, you know, practicing           17 particular, I'd like to look at Statement 6.12.c.
 18 in a way that's harmful, there are, you know, state       18       Do you see that?
 19 medical associations -- or medical boards that --         19     A Yes.
 20 you know, that people can go to and file complaints.      20     Q And do you use this statement and
 21 BY MR. RAMER:                                             21 supporting text to guide you in obtaining informed
 22      Q And I just want to return to one thing in          22 consent?
 23 Exhibit 3, which is Appendix A to the SOC-8. And          23       MR. LANNIN: Object to the form.
 24 I'd like to go to the very last page, which has           24       THE WITNESS: Yes.
 25 "S251" in the upper right. And right column,              25 ///
                                                   Page 139                                                   Page 141
  1 there's a bold "3.17. Approval by the WPATH Board          1 BY MR. RAMER:
  2 of Directors." I just wanted to read the sentence          2     Q And on the same page, the left column, the
  3 below that, and I'll just first ask if I read it           3 second full paragraph underneath "Statement 6.12.c"
  4 correctly.                                                 4 states that, "A necessary step in the informed
  5        It says, "The final document was presented          5 consent/assent process for considering
  6 to the WPATH Board of Directors for approval and it        6 gender-affirming medical care is a careful
  7 was approved on the 20th of June 2022."                    7 discussion with qualified HCPs trained to assess the
  8        Did I read that correctly?                          8 emotional and cognitive maturity of adolescents."
  9     A Yeah. Where is that again?                           9        Do you see that?
 10     Q Sorry. So right column, 3.17, about                 10     A Yes.
 11 halfway down.                                             11     Q And do you agree that you must assess the
 12     A Okay. Yeah.                                         12 emotional and cognitive maturity of adolescents for
 13     Q I did read it correctly?                            13 purposes of informed consent?
 14     A Yes.                                                14        MR. LANNIN: Object to the form.
 15     Q And is that true?                                   15        THE WITNESS: Yes, informed consent or
 16        MR. LANNIN: Object to the form.                    16 assent legally for adolescents.
 17        THE WITNESS: I assume so. I wasn't on              17 BY MR. RAMER:
 18 the board at the time, but I have no reason to            18     Q Is the only difference there the age and
 19 believe that that's not true.                             19 the terminology, or is there a substantive
 20        MR. RAMER: Is this a good time for lunch?          20 difference between "informed consent" and "informed
 21        MR. LANNIN: Sure.                                  21 assent"?
 22        THE VIDEO OPERATOR: This marks the end of          22     A There's -- the difference is mainly that
 23 Media Unit 2 of the deposition of Dan Karasic, M.D.       23 in practicality, that you have to get the assent of
 24 The time is 12:55 p.m. We're off the record.              24 the minor and the informed consent of the parents.
 25        (Recess, 12:55 p.m. - 1:31 p.m.)                   25     Q And how do you assess the emotional and

                                                                                               36 (Pages 138 - 141)
                                             Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 38 of 68

                                               CONFIDENTIAL
                                                  Page 142                                                    Page 144
  1 cognitive maturity of an adolescent?                      1 to the patient being able to provide informed
  2        MR. LANNIN: Object to the form.                    2 assent?
  3        You can answer.                                    3        MR. LANNIN: Object to the form.
  4        THE WITNESS: So I have -- first of all, I          4        THE WITNESS: So I think it can be
  5 typically do it with patients that I've known for a       5 relevant in terms of having to make sure that they
  6 while because as a psychiatrist, I'm often involved       6 understand risks, benefits, and alternatives; that
  7 in a patient's life for long periods of time,             7 the communication both ways is -- you know, is
  8 prescribing medications, sometimes doing therapy,         8 adequate.
  9 but often they're seeing a therapist but continuing       9        So I think potentially there could be an
 10 to see me over time.                                     10 impact.
 11        And I can assess their ability to make            11 BY MR. RAMER:
 12 decisions, understanding the risks, benefits, and        12     Q Is there a point at which you would
 13 alternatives of the decision; to have some cognitive     13 conclude an individual's IQ is so low that he or she
 14 flexibility about thinking about the future.             14 cannot provide informed assent for puberty blockers?
 15        Would they make a different decision in           15     A So I'm not usually working with people
 16 the future? Should that inform the decision that's       16 with that severe of a developmental disorder; so
 17 being made now? Is their decision-making really, on      17 that circumstance hasn't come up in my practice.
 18 this subject, very consistent over time? Do they         18 They probably would be working with folks who are
 19 have a good understanding, you know, of what would       19 more specializing in people with severe
 20 be the benefits for them? What could be the              20 developmental disorders.
 21 potential risks as well?                                 21     Q Is that -- is the answer to that question
 22 BY MR. RAMER:                                            22 outside the scope of your expertise?
 23     Q Have you ever had an adolescent patient            23        MR. LANNIN: Object to the form.
 24 whom you've deemed lacks the cognitive maturity to       24        THE WITNESS: I would say it's not -- it's
 25 provide informed assent?                                 25 not a decision I've had to make.
                                                  Page 143                                                    Page 145
  1     A Yes.                                            1 BY MR. RAMER:
  2        MR. LANNIN: Object to the form.                2     Q And so do you have an opinion about
  3        THE WITNESS: Yes.                              3 whether an individual could have an IQ so low that
  4 BY MR. RAMER:                                         4 would preclude them receiving gender-affirming
  5     Q Why?                                            5 medical interventions?
  6     A So I was thinking of a circumstance where 6              MR. LANNIN: Object to the form.
  7 I went -- where a patient was scheduled to see me, 7           THE WITNESS: Yes. I think that if
  8 who was seeing other providers regularly, but they 8 cognitively they couldn't understand sufficiently
  9 wanted me to see this person because of my            9 the intervention to be able to -- to understand the
 10 experience and expertise.                            10 risks and benefits, I think theoretically, yes.
 11        And in that particular case, I didn't         11 BY MR. RAMER:
 12 think that this person -- even though I only had     12     Q But you've never come across it in your
 13 that kind of cross-sectional experience with them, I 13 practice; is that right?
 14 didn't think that they had really thought through    14     A Right. I haven't -- I haven't worked with
 15 this substantially; that there -- it wasn't clear to 15 anyone like that.
 16 me that there was kind of consistency in terms of 16        Q If a patient tells you, "I'm going to kill
 17 their identity over time.                            17 myself if I don't get puberty blockers," is that
 18        Again, I was hindered by just seeing this     18 patient capable of providing informed assent?
 19 person once. There didn't seem to be a maturity in 19          MR. LANNIN: Object to the form.
 20 terms of the way they made their decisions.          20        THE WITNESS: So it's actually -- it's
 21        And so I -- I'd been asked to consult, and    21 interesting because my patients don't express it
 22 I reported that back to the people who were          22 that way.
 23 providing ongoing care for that patient.             23        So I do have patients with either
 24        So that's a case that comes to mind.          24 intermittent or chronic suicidality. That's
 25     Q Do you think the patient's IQ is relevant      25 extremely common in my patients; and, of course, as

                                                                                              37 (Pages 142 - 145)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 39 of 68

                                               CONFIDENTIAL
                                                  Page 146                                                     Page 148
  1 part of the assessment of anything they do and part       1         And so I think even within that paragraph,
  2 of the discussion about, you know, stressors of           2 there is some description of a range of
  3 transition, for example.                                  3 considerations that should be taken into account.
  4         Just having suicidality doesn't -- because        4         So -- so this is saying, "Prior to
  5 it is so ubiquitous -- doesn't prevent somebody from      5 initiating less reversible treatments," and that's a
  6 getting gender-affirming care, but it's certainly         6 sentence, and that might speak to if you're -- if
  7 something that we take seriously.                         7 you have somebody who perhaps presented -- who
  8         I just haven't -- I've never had a                8 hadn't already been in care, receiving puberty
  9 patient, like, threaten me with suicide if I didn't       9 blockers before their moving on to hormones -- if
 10 write a letter. It just hasn't -- it's never come        10 somebody presented in your practice in that
 11 up.                                                      11 particular circumstance where they might be going
 12 BY MR. RAMER:                                            12 directly to hormones, or if somebody was presenting
 13      Q Before you recommend hormone therapy for          13 to your practice who was having a lot of chest
 14 an adolescent patient, do you confirm that the           14 dysphoria and wanting chest surgery, I do think that
 15 patient has experienced several years of persistent      15 more caution about the persistence, you know, is --
 16 gender diversity or incongruence?                        16 of their symptoms is advised.
 17      A So I take a history, and I think the              17         I don't know about "several years."
 18 wording of that is maybe not the best in the sense       18 Certainly, like, for puberty blockers, "several
 19 that it's including two different things: gender --      19 years" doesn't make any sense. And then also, the
 20 kind of gender diversity and having gender               20 idea of gender diversity versus gender dysphoria,
 21 dysphoria.                                               21 because not all the people with -- presenting with
 22         And when I take a -- when I've worked with       22 gender dysphoria have the same childhood history.
 23 people, young people, sometimes they -- usually they     23 There's variability in terms of how people have
 24 do express having aspects of gender diversity even       24 presented in terms of gender diversity.
 25 though they haven't even come out to themselves as       25         So, anyway, that's -- that was my question
                                                  Page 147                                                     Page 149
  1 trans.                                               1 about saying, "gender diversity/gender
  2        But I'm not quite sure that -- of the         2 incongruence."
  3 wording of that particular sentence, kind of         3         I would say if somebody is presenting
  4 conflating one sentence, gender diversity, several 4 during adolescence and they hadn't -- you didn't
  5 years of gender diversity or -- or gender            5 know them already from puberty blockers, you would
  6 incongruence.                                        6 want to spend more time with them and make sure
  7        I certainly would want them to have had       7 they've had a careful evaluation and that they --
  8 gender dysphoria that has gone on for -- for quite a 8 their gender identity has been using the bold
  9 while, you know -- DSM says six months -- but for 9 "marked and sustained" description, has been marked
 10 there to be evidence that goes back further than    10 and sustained, has been going on for -- you know,
 11 that. And I just -- I'm not that big of a fan of    11 over time.
 12 the wording of that sentence.                       12         But I do think that "several years" might
 13      Q How would you fix it?                        13 not be the best descriptor. And even then, they
 14      A So I would -- where is the --                14 were using "several years" in combination with
 15      Q It's not on S61. It's actually on S60,       15 saying "gender diversity" as opposed to "gender
 16 the previous page, and it's left column below       16 dysphoria."
 17 6.12.b, second full paragraph, and then it's about 17          So that's just my -- my commentary on
 18 the second long sentence in that paragraph.         18 that -- on that part.
 19      A Well, even if you look in that paragraph, 19         Q And just to sum that up --
 20 it says (as read), "However, in this age group of   20      A Sorry about my verbosity.
 21 younger adolescents, several years is not always 21         Q Not a problem at all.
 22 practical nor necessary given" -- this is for       22         But do you disagree with the requirement
 23 puberty blockers -- "the premise of the treatment 23 that's articulated in that sentence?
 24 to buy time while avoiding distress from            24      A I don't disagree with the sentiment that
 25 irreversible pubertal changes."                     25 if -- if they're saying someone is seeking a less

                                                                                              38 (Pages 146 - 149)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 40 of 68

                                                CONFIDENTIAL
                                                   Page 150                                                     Page 152
  1 reversible treatment, one would want to know that          1 people might not be engaged in care for being
  2 their gender incongruence has been going on for a          2 gender-diverse, certainly much less so now than
  3 while. That is one of the reasons that puberty             3 perhaps in the past.
  4 blockers are sometimes given, which doesn't really         4        And so I don't see that as that individual
  5 fall under this part and is described kind of later        5 provider needing to have taken care of that person
  6 in that paragraph.                                         6 for several years, but I think you would look in
  7        But certainly the general sentiment of              7 their history, that there have been aspects of
  8 exhibiting caution when working with adolescents is        8 gender diversity that have been going on certainly
  9 one that I would agree with.                               9 for a while. Certainly longer than the six months
 10      Q What do you think the phrase "several              10 that they've had a gender incongruence diagnosis,
 11 years" means?                                             11 which is the minimum to give them a diagnosis that
 12        MR. LANNIN: Object to the form.                    12 they would be eligible for care.
 13        THE WITNESS: Well, I think that's a                13 BY MR. RAMER:
 14 problem because it's kind of -- it's kind of vague.       14     Q And when you say "going on for a
 15        So, you know, the gender incongruence              15 while," you mean going on for several years?
 16 diagnosis is six months. But I can understand why,        16        MR. LANNIN: Object to the form.
 17 depending on the intervention, that one might, you        17        THE WITNESS: Well, you know, certainly
 18 know, need more time than that with -- working with       18 that's not practical for puberty blockers.
 19 an adolescent, just depending on circumstances.           19        Sometimes there are people who get pretty
 20        And so, you know, adolescents can -- their         20 strong gender incongruence at puberty where you
 21 presentation can be so different when you're              21 didn't know them before and, you know, you would
 22 actually making that assessment, that there are --        22 certainly look for that in the history.
 23 there are adolescents who need very careful               23        But, again, I'm not sure that that would
 24 consideration, and there are adolescents who might        24 be -- I don't like that wording of "several years"
 25 come in needing an intervention where they've been        25 because there are some people who -- some
                                                   Page 151                                                     Page 153
  1 clearly very stable and living in their transgender        1 adolescents who present who clearly have a gender
  2 identity for a long time where it may not be as --         2 dysphoria diagnosis who are very symptomatic and,
  3 one might not have as much concern. I think that           3 you know, who come into care at that time, and you
  4 really depends on the individual.                          4 wouldn't tell them to wait several years, for
  5 BY MR. RAMER:                                              5 example, before getting care. So I think that
  6      Q Do you agree that one year is not several           6 there's an individual assessment involved in those
  7 years?                                                     7 cases.
  8        MR. LANNIN: Object to the form.                     8        I do agree with the sentiment that one
  9        THE WITNESS: I agree that one year is not           9 should be cautious in those circumstances.
 10 several years.                                            10 BY MR. RAMER:
 11 BY MR. RAMER:                                             11     Q So is it fair to say that you do not
 12      Q And so a provider who is trying to                 12 require several years of persistent gender diversity
 13 faithfully follow the supporting text in this             13 as a rule before initiating hormone therapy for an
 14 statement, what are they supposed to do with that         14 adolescent?
 15 sentence that we've been discussing?                      15        MR. LANNIN: Object to the form.
 16        MR. LANNIN: Object to the form.                    16        THE WITNESS: So gender diversity is not a
 17        THE WITNESS: Well, I think that -- I               17 diagnosis, and people aren't necessarily in clinical
 18 would hope they would kind of generally get that          18 care. I think it would be -- so I think it's
 19 it's communicating to be cautious when you're using       19 something that is -- it might be kind of challenging
 20 less reversible treatments; that in younger               20 as a requirement, anyway.
 21 adolescents needing puberty blockers, that that           21        I would say, you know, exhibiting caution,
 22 might not be necessary, but generally having a sense      22 and, you know, if -- if you don't -- if it's not
 23 of caution.                                               23 somebody with onset of -- like, childhood onset
 24        When they say "several years of gender             24 gender dysphoria, if it's somebody in adolescent
 25 diversity," gender diversity is not a diagnosis, and      25 onset, I would just have caution in working with

                                                                                                39 (Pages 150 - 153)
                                            Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 41 of 68

                                                 CONFIDENTIAL
                                                    Page 154                                                    Page 156
  1 them, and having a sense that their -- of the               1 like, how long somebody should be on puberty
  2 stability of their gender dysphoria. But I wouldn't         2 blockers before switching to gender-affirming
  3 put a marker of "several" years for that -- that            3 hormones if -- you know, if an overly prolonged
  4 process.                                                    4 puberty is -- is of concern.
  5 BY MR. RAMER:                                               5         But certainly with whatever treatment
  6     Q Sticking with Exhibit 5, which is the                 6 someone gets, one is trying to weigh risks and
  7 "Adolescents" chapter, I'd like to go to the next           7 benefits. And trying to present that to -- to a
  8 page, S61. And right column, the first long                 8 family is more difficult, you know, if -- depending
  9 paragraph, a third of the way down or so, there's a         9 on kind of a level of -- you know, of knowledge.
 10 sentence that begins with "Gender diverse youth."          10         There's a difference between animal
 11 and I'm just going to read that and first ask if I         11 models, a very strong -- I mean a very small amount
 12 read it correctly.                                         12 of kind of human research on people, and then also
 13        It says, "Gender-diverse youth should               13 weighing that with a young person who has a lot of
 14 fully understand the reversible, partially                 14 gender dysphoria where it might be impacting their
 15 reversible, and irreversible aspects" --                   15 ability to go to school and study and be successful
 16     A Oh, okay. I'm sorry. I was looking at                16 academically.
 17 the sentence after.                                        17         So, I think, you know, it's something that
 18     Q I'll just restart. "Gender-diverse youth             18 one can mention, but it's -- you know, there are a
 19 should fully understand the reversible, partially          19 lot of other considerations that affect people
 20 reversible, and irreversible aspects of a treatment,       20 cognitively for which there's more evidence which
 21 as well as the limits of what is known about certain       21 is, for example, that if somebody does have
 22 treatments (e.g., the impact of pubertal suppression       22 prolonged depression or gender dysphoria that's
 23 on brain development...)," and then there's a              23 impairing their functioning, that they might not be
 24 citation.                                                  24 able to learn in the same way.
 25        Did I read that correctly?                          25      Q And when you were referring to papers that
                                                    Page 155                                                    Page 157
  1     A Yes.                                                  1 discuss the lack of evidence we have regarding the
  2     Q And do you ensure that your patients fully            2 impact of pubertal suppression on brain development,
  3 understand all these enumerated items?                      3 are there any papers you were specifically thinking
  4        MR. LANNIN: Object to the form.                      4 of?
  5        THE WITNESS: So certainly in counseling              5     A I have read them, but I can't cite them.
  6 both the youth and their family, we try to go               6        But I have read reviews of, you know, how
  7 through each aspect. The impact of pubertal                 7 much of a concern this might be, and even I think a
  8 suppression on brain development is not well known,         8 systematic review of papers where most of the papers
  9 but I think it's fair to, you know, say that that is        9 in the systematic review were on animal models. And
 10 an unknown that, you know, could be of concern.            10 it described a few cases, including one that was
 11        But the -- certainly understanding the              11 just a case report of one person, and came to the
 12 risks and benefits and alternatives for each aspect        12 conclusion that the evidence is still very limited.
 13 of treatment is important.                                 13     Q And what are the animal studies you're
 14 BY MR. RAMER:                                              14 referring to?
 15     Q When you say that the impact of pubertal             15     A So there was one that I've seen that I saw
 16 suppression on brain development is unknown and            16 presented at a WPATH conference that was about
 17 could be a concern, what do you mean by that?              17 cognitive development in sheep who were given
 18     A So it's an area certainly that requires              18 puberty blockers; where that was raised as, you
 19 more research.                                             19 know, could there be some -- so, like, in a sheep,
 20        There have been papers trying to summarize          20 you can kill the sheep afterwards, basically, and
 21 the research which -- of about which a lot is not          21 look histologically at the brain, and so you get a
 22 known, including -- many of the studies have been on       22 certain level -- a different kind of evidence. So
 23 animal models.                                             23 that's why they tried to look at that in a sheep
 24        There's not a lot of data on people, and            24 model.
 25 there's not a lot of data on -- you know, to guide,        25     Q And what was the -- just generally

                                                                                                40 (Pages 154 - 157)
                                              Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 42 of 68

                                               CONFIDENTIAL
                                                  Page 158                                                     Page 160
  1 speaking, that sheep study? Was it a negative             1 expertise?
  2 impact on brain development?                              2         MR. LANNIN: Object to the form.
  3        MR. LANNIN: Object to the form.                    3         THE WITNESS: I think that it's -- that
  4        THE WITNESS: I can't tell you the                  4 it's an area in which -- in which the science is
  5 results, but I think that there were -- it was            5 still young. So I'm not sure what -- it's not --
  6 raising questions of, you know, should this be            6 it's certainly not the focus -- a research focus of
  7 something that is studied further?                        7 mine, but it's something that -- it's, you know,
  8        And that study was several -- it must have         8 not, I think, something that we have definitive
  9 been several years ago because I remember seeing the      9 answers on.
 10 data presented at the WPATH conference in either         10         I do think that because the question has
 11 2009 or 2011.                                            11 been raised, that it does provide support for not
 12        (Exhibit 6 was marked for identification          12 having a really prolonged period of time on pubertal
 13     and is attached hereto.)                             13 suppression before going to cross-sex hormones if
 14 BY MR. RAMER:                                            14 they're indicated, as in some European countries who
 15     Q And you've been handed, Dr. Karasic,               15 don't -- who don't start hormones until 16, for
 16 what's been marked as Karasic Exhibit 6. And this        16 example, kind of arbitrarily, whereas they might
 17 is an article entitled "Consensus Parameter:             17 start puberty blockers at Tanner Stage 2.
 18 Research Methodologies to Evaluate                       18         So I think there are reasons to have
 19 Neurodevelopmental Effects of Pubertal Suppression       19 people go through puberty, including cross-sex
 20 in Transgender Youth."                                   20 hormones, in a way that doesn't linger in puberty
 21        Do you see that?                                  21 too long.
 22     A Um-hum.                                            22         But we do have, you know, substantial use
 23     Q And the lead author on this is Diane Chen,         23 of puberty blockers in people with precocious
 24 correct?                                                 24 puberty in these relatively shorter periods of time
 25     A Yes.                                               25 where it seemed to have been done safely.
                                                  Page 159                                                     Page 161
  1      Q And have you heard of Diane Chen before?           1        And I do have patients who have -- were on
  2      A Yes.                                               2 puberty blockers who are now attending Ivy League
  3      Q And she's an expert in the field of                3 colleges. So I don't think that that experience on
  4 transgender medicine, correct?                            4 puberty blockers profoundly affected them.
  5         MR. LANNIN: Object to the form.                   5        I think that -- just as a clinician, that
  6         THE WITNESS: Yes.                                 6 in those cases, receiving gender-affirming care
  7 BY MR. RAMER:                                             7 really allowed them to focus on school in a way to
  8      Q Have you seen this paper before?                   8 excel and to -- you know, to get into a college that
  9      A I don't remember. I may have, but I don't          9 was consistent with -- with their goals.
 10 remember.                                                10        So that's how -- you know, I think it's,
 11      Q I'd like to just go to page 248, which I          11 you know, something that, you know, deserves more
 12 think is like the third page. And right column,          12 research, but also is taken into the context of
 13 first full sentence up toward the top, it says, "In      13 people needing -- needing care.
 14 human studies, pubertal progression has been linked      14 BY MR. RAMER:
 15 to developmental changes in reward, social, and          15     Q And sticking with Exhibit 6, which is the
 16 emotional processing as well as cognitive/emotional      16 Chen article, I'd like to go to page 253. And right
 17 control."                                                17 column, about three quarters of the way down,
 18         Do you see that?                                 18 there's a sentence that starts with "In addition."
 19      A Yes.                                              19        And in that sentence, it says, "studies in
 20      Q And do you agree with that statement?             20 rodents show ovarian hormones, acting during
 21      A I have no reason to believe that those            21 puberty, program cognitive flexibility by exerting
 22 references don't support that statement. I don't         22 long-lasting effects on excitatory-inhibitory
 23 see a disagreement with it.                              23 balance in the prefrontal cortex."
 24      Q Is the impact of pubertal suppression on          24        Do you see that?
 25 brain development beyond the scope of your               25     A Yes.

                                                                                              41 (Pages 158 - 161)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 43 of 68

                                                 CONFIDENTIAL
                                                   Page 162                                                     Page 164
  1     Q And did you know that before reading it in           1 are, therefore, relevant to understanding human
  2 this article?                                              2 brain development, correct?
  3        MR. LANNIN: Object to the form.                     3        MR. LANNIN: Object to the form.
  4        THE WITNESS: You know, I knew that there            4        THE WITNESS: So they -- so animal studies
  5 had been studies in animals, and I didn't know             5 can be. Certainly there are many studies on animals
  6 the -- I still don't know the applicability of that        6 for the safety of drugs and people, and sometimes
  7 to human beings.                                           7 there's reason for concern. Sometimes the result of
  8 BY MR. RAMER:                                              8 using that drug on people, you know, show that it's
  9     Q Well, I guess if animal studies find                 9 safe despite concerns from an animal model.
 10 long-lasting effects of pubertal -- excuse me.            10        So I think that it certainly -- you know,
 11 Start again.                                              11 animal research can lead to an interest in having,
 12        If animal studies find long-lasting                12 you know, more research with people.
 13 effects of pubertal hormones on animal brain              13 BY MR. RAMER:
 14 development, would a reasonable scientist think           14     Q And sticking with this exhibit, and just a
 15 there could be a risk that pubertal hormones also         15 sentence later, two sentences later, it says, "The
 16 have a long-lasting effect on brain development in        16 sensitivity of brain tissues to organizational
 17 humans?                                                   17 effects of sex hormones appears to be particularly
 18        MR. LANNIN: Object to the form.                    18 high at prenatal/perinatal stages of development and
 19        THE WITNESS: So I think that animal                19 gradually declines toward young adulthood."
 20 models and findings in animal models are reason to        20        Do you see that?
 21 do more research, you know, with people. It raises        21     A Yes.
 22 an avenue for -- for supporting doing more studies.       22     Q And the next sentence says, "The timing of
 23        (Exhibit 7 was marked for identification           23 hormonal secretions in the course of development,
 24     and is attached hereto.)                              24 however, gives the impression of three discrete
 25 ///                                                       25 sensitive periods: (1) pre/perinatal; (2) pubertal;
                                                   Page 163                                                     Page 165
  1 BY MR. RAMER:                                              1 and (3), for females, the first pregnancy"; is that
  2     Q Dr. Karasic, you've just been handed                 2 right?
  3 what's been marked as Karasic Exhibit 7.                   3     A Yes.
  4     A Yes.                                                 4     Q And in the first sentence where you refer
  5     Q And it's an article entitled "Gender                 5 to the "organizational effects of sex hormones,"
  6 Dysphoria in Adults: An Overview and Primer for            6 what are you referring to?
  7 Psychiatrists."                                            7     A So this was a section of the paper written
  8     A Yes.                                                 8 by Heino Meyer-Bahlburg, who is an expert on
  9     Q And you helped author this article,                  9 intersex development.
 10 correct?                                                  10        And so he was referring here to how sex
 11     A Yes.                                                11 hormones might affect development, both in intersex
 12     Q I'd like to go to page 60. And right                12 people and potentially in -- in trans people when
 13 column, down at the very bottom, the section says,        13 you're talking about perinatal hormone exposure
 14 "Gender Development," and then below that it says,        14 which there is some belief that there can be a link
 15 "Biological considerations."                              15 to gender identity with that.
 16       Do you see that?                                    16        And so I think that he was writing
 17     A Yes.                                                17 about -- that in this section, he was writing from
 18     Q And the first sentence says, "Animal                18 his position of expertise on the development
 19 research has established that sex differences in the      19 particularly of intersex people, and also kind of
 20 phenotype of both body and brain as well as               20 applying that more broadly to development of gender
 21 behaviors are the result of multiple, sex-biasing         21 identity in people generally.
 22 factors."                                                 22     Q And so is what's written here within the
 23       Do you see that?                                    23 scope of your expertise?
 24     A Yes.                                                24     A So I would say that this part is not an
 25     Q And so animal studies of brain development          25 area where I've done research or -- you know,

                                                                                                42 (Pages 162 - 165)
                                             Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 44 of 68

                                              CONFIDENTIAL
                                                 Page 166                                                     Page 168
  1 obviously we had, you know, read it and discussed     1     A Um-hum.
  2 it, you know, as -- we did it as a group, but it was  2     Q And you're referring to a distinction
  3 also not -- it was written from the perspective of    3 between male and female brains here, correct?
  4 an expert in this particular area of the impact in    4        MR. LANNIN: Object to the form.
  5 hormones and genetics of intersex people and how      5        THE WITNESS: Yes.
  6 that might contribute to our understanding of gender  6        It is important, too, in that literature
  7 identity and other folks.                             7 in that they are kind of overlapping dot graphs when
  8      Q Why is puberty a sensitive period, as it       8 you look at characteristics. But they do
  9 says here?                                            9 distinguish themselves statistically, like in the
 10        MR. LANNIN: Object to the form.               10 size of particular structures.
 11        THE WITNESS: So I -- again, like, our         11 BY MR. RAMER:
 12 discussions on this were from several years ago. I,  12     Q And do you agree that we do not have
 13 you know, can't comment on why each particular       13 studies  analyzing the lasting effect, if any, on
 14 descriptive word was used.                           14 brain development caused by pubertal suppression?
 15        Yeah, I think I'd leave it at that.           15        MR. LANNIN: Object to the form.
 16        Clearly pre/perinatal hormone secretion,      16        THE WITNESS: So I think I would just
 17 you know, can have an impact, and we have some sense 17 endorse that it's an area that could use study, but
 18 of that. Otherwise, I'm not quite sure what          18 other than that, I don't think I can comment.
 19 Dr. Heino Bahlburg -- what he was referring to.      19 BY MR. RAMER:
 20 BY MR. RAMER:                                        20     Q Do you agree that we do not have studies
 21      Q Can we refer to Exhibit 6, which is the       21 analyzing the long-term effect, if any, on brain
 22 Chen "Consensus Parameter" article? And I'd like to  22 development caused by exposing a male brain to high
 23 go to page 248. The first full paragraph -- sorry.   23 levels of estrogen that the brain would not
 24 Right column, first full paragraph.                  24 naturally be exposed to?
 25        The first sentence also -- well, I'll just    25        MR. LANNIN: Object to the form.
                                                 Page 167                                                     Page 169
  1 read it. It says, "The combination of animal             1        THE WITNESS: So I do think that we
  2 neurobehavioral research and human behavior studies      2 have -- first of all, that -- the goal in cross-sex
  3 supports the notion that puberty may be a sensitive      3 hormone treatment is to try to approximate the
  4 period for brain organization."                          4 hormone levels of the person assigned to the other
  5         So Chen is also referring to puberty as a        5 sex at birth.
  6 sensitive period, correct?                               6        And so -- and I know we have -- so I don't
  7      A Yes.                                              7 think that necessarily the premise of the question
  8      Q And can you explain why puberty is a              8 that -- I don't know exactly what that means in
  9 sensitive period?                                        9 terms of harm.
 10         MR. LANNIN: Object to the form.                 10        Somebody is, at least as a goal of
 11         THE WITNESS: Well, the rest of her              11 treatment, trying to have a hormonal milieu similar
 12 sentence describes to what she's referring from         12 to the gender to which they identify, and certainly
 13 that, in which -- that it can be a time in which        13 people assigned female at birth who are not trans,
 14 neural connections are shaped by both hormones and      14 you know, have those levels of hormones in their
 15 experiential factors.                                   15 brain. I don't think that there's evidence that,
 16         So that's -- that's what she's referring        16 you know, that -- I don't think that there's any
 17 to in calling it a "sensitive period."                  17 further evidence of harm there.
 18 BY MR. RAMER:                                           18        Certainly any cognitive effects that
 19      Q And then returning to your article, which        19 patients of mine experience are not getting in the
 20 is Exhibit 7, and where we were before, page 61,        20 way of -- certainly of their academic achievement or
 21 left column, in the first full paragraph, so after      21 occupational achievement, and they're generally
 22 we were just reading, it says, "In humans,              22 living with hormones that are within physiological
 23 statistical sex differences in brain structure are      23 ranges.
 24 well-documented."                                       24 BY MR. RAMER:
 25         Do you see that?                                25     Q Physiological ranges of what?

                                                                                              43 (Pages 166 - 169)
                                           Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 45 of 68

                                                CONFIDENTIAL
                                                   Page 170                                                    Page 172
  1     A Of the sex -- of the -- cisgender people             1 to determine --
  2 aside, in this case, female, if we're talking about        2        MR. LANNIN: Object to the form.
  3 female hormones.                                           3        THE WITNESS: So there's an overlap in the
  4     Q What were you talking about in your paper            4 size of those structures so that there are cisgender
  5 about statistical sex differences in brain                 5 men and cisgender women who are within that overlap,
  6 structure? Are you referring to differences in             6 too. So I don't think that looking at brain
  7 brain structure of -- how are you using the word           7 structures is a particularly efficient way to
  8 "sex" in that sentence? Let's start there.                 8 determine someone's gender identity.
  9        MR. LANNIN: Object to the form. But you             9 BY MR. RAMER:
 10 can answer if you know what counsel is referring to.      10     Q Do you think that clinicians should warn
 11        THE WITNESS: So in this case, when it              11 patients about the animal studies we've been
 12 says, "In humans, statistical sex differences in          12 discussing regarding pubertal suppression?
 13 brain structures are well-documented," and they're        13        MR. LANNIN: Object to the form.
 14 referring to people assigned -- it's referring to         14        THE WITNESS: So I think it's a good
 15 assigned sex at birth in this case, there is also         15 question. I think it's a reasonable thing to warn
 16 some evidence of sex differences in trans people          16 just that, you know, we need to do more research in
 17 that are different from cisgender people of the same      17 terms of cognitive effects.
 18 sex assigned at birth.                                    18        I think animal studies alone are
 19        But this sentence is specifically, I               19 interesting, but, you know, don't always -- are not
 20 think, referring to cisgender people and cisgender        20 always reflective of the phenomenon in people. So I
 21 males and females and their differences in brain          21 think there's kind of a judgment call.
 22 structure; not referring to trans people                  22        But I think it's reasonable to include in
 23 specifically.                                             23 a discussion that more research may need to be done
 24 BY MR. RAMER:                                             24 in terms of any cognitive effects, and that it's
 25     Q So it's not just referring to all humans?           25 reasonable to limit the amount of time on a puberty
                                                   Page 171                                                    Page 173
  1     A So it's referring to all humans, but it's            1 blocker if somebody then is ready to go on to
  2 not -- it's not separating out statistically               2 cross-sex hormones, just because there is this
  3 transgender people.                                        3 question.
  4        There have been some papers that have               4        But our information is still limited.
  5 separately looked at brain structures in transgender       5 BY MR. RAMER:
  6 people and have found some differences. Some trans         6      Q Do you think we have sufficient
  7 women who have brain structures that are more              7 information to say that the use of puberty blockers
  8 intermediate in size between male and female               8 to treat gender dysphoria is fully reversible?
  9 structures, for example.                                   9        MR. LANNIN: Object to the form.
 10     Q So do you think that we can look at                 10        THE WITNESS: So we have substantial
 11 individuals' brains to determine whether they are         11 information from people with precocious puberty that
 12 transgender?                                              12 they -- once they're getting their -- they're on
 13     A No.                                                 13 hormones again, that they don't seem to have been
 14        MR. LANNIN: Object to the form.                    14 harmed by that experience of having a period of time
 15        THE WITNESS: No. I think you need to               15 in which puberty is delayed.
 16 speak with them.                                          16        So that's the biggest circumstance where
 17 BY MR. RAMER:                                             17 people fully reverse on puberty blockers. There are
 18     Q Then what was the study you were referring          18 some people who go on puberty blockers and then
 19 to?                                                       19 discontinue. But certainly the larger number are
 20     A There have been some studies that have              20 people who are doing that, who are on those
 21 looked at brains of trans people and have found that      21 medicines just to delay puberty so that they go
 22 their sizes of brain structures are different from        22 through puberty with their peers.
 23 people of the same sex assigned at birth.                 23 BY MR. RAMER:
 24     Q And do you think those studies have                 24      Q When you're referring to individuals with
 25 established that you can look at individuals' brains      25 precocious puberty being on hormones again --

                                                                                               44 (Pages 170 - 173)
                                             Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 46 of 68

                                                CONFIDENTIAL
                                                   Page 174                                                  Page 176
  1     A I'm sorry. On puberty blockers.                      1 development as compared to what?
  2       Oh, going back on their own -- their own             2        MR. LANNIN: Object to the form.
  3 natural hormones. When they go off puberty                 3        THE WITNESS: As compared to if they had
  4 blockers, their production of their own -- you know,       4 been forced to go through a puberty that was
  5 of hormones, pubertal hormones, their own pubertal         5 exacerbating their gender dysphoria and causing them
  6 hormones, starts up again.                                 6 to suffer because of gender dysphoria.
  7     Q Are you confident that the experience of             7        So presumably the only people that we're
  8 an individual going through puberty with their natal       8 treating first with puberty blockers and then
  9 hormones will be the same as an individual going           9 cross-sex hormones are people who have quite a bit
 10 through puberty based on cross-sex hormones?              10 of suffering from gender dysphoria, and that
 11       MR. LANNIN: Object to the form.                     11 suffering can often impair, or almost by definition,
 12       THE WITNESS: So I think for someone who             12 impairs their functioning, and that can have impacts
 13 has extreme distress because of gender dysphoria,         13 in terms of development and in terms of functioning
 14 going through puberty with the hormones of the sex,       14 at school.
 15 the gender to which they identify, that they can go       15        MR. RAMER: We've been going for a little
 16 through puberty with much less distress and often         16 over an hour. Maybe take a break, if that's all
 17 with much higher functioning, because they're not         17 right.
 18 impaired by the distress of gender dysphoria.             18        MR. LANNIN: Sure.
 19 BY MR. RAMER:                                             19        THE VIDEO OPERATOR: Going off the record,
 20     Q Right; but I thought we were discussing             20 the time is 2:34 p.m.
 21 the impact of pubertal suppression on brain               21        (Recess, 2:34 p.m. - 2:51 p.m.)
 22 development.                                              22        THE VIDEO OPERATOR: Back on the record.
 23       And my understanding of what you were               23 The time is 2:51 p.m.
 24 saying is, you know, we have individuals who use          24 BY MR. RAMER:
 25 puberty blockers when they have precocious puberty.       25     Q Dr. Karasic, I'd like to discuss the 2017
                                                   Page 175                                                  Page 177
  1 And then once they go through puberty with their           1 USPATH conference.
  2 natal hormones, it seems there are not major               2        You were the conference chair for that
  3 problems; therefore, we can conclude that when you         3 event, correct?
  4 have an individual whose puberty is suppressed to          4      A Yes.
  5 treat gender dysphoria, and then goes through              5      Q And you were also the chair of the
  6 puberty on cross-sex hormones, that the result will        6 scientific committee for that event, correct?
  7 likely be the same.                                        7      A Yes.
  8        Is that what you're saying?                         8      Q And can you explain what the scientific
  9        MR. LANNIN: Object to the form.                     9 committee's role was at that conference?
 10        THE WITNESS: What I'm saying is that               10      A Yes.
 11 brain development is affected by a number of              11        So the scientific committee reviewed the
 12 factors, including trauma and depression. And so          12 abstracts for the conference and scored them, and
 13 you also have to -- you can take into account, you        13 then each -- so that each abstract had an average
 14 know, if there could be some theoretical effect from      14 score. And then there was a cutoff score, and
 15 puberty blockers.                                         15 everything above that score was accepted.
 16        But you also have to take into account the         16      Q So just backing up a little bit for my own
 17 very real effect of a -- an adolescent who is --          17 sake, what is an abstract?
 18 who's really suffering; and that if there is relief       18      A So an abstract is a summary of a paper or
 19 from that suffering, whether they -- whether they         19 presentation. It's what you see at the top of a
 20 might have better brain development because they're       20 scientific article.
 21 not depressed and anxious all the time.                   21        And when you apply to present at a
 22        And we know that chronic depression, for           22 conference, you write an abstract that summarizes
 23 example, can affect cognitive functioning.                23 what you're going to talk about.
 24 BY MR. RAMER:                                             24        And then the scientific committee reviews
 25     Q You're saying they might have better brain          25 all the abstracts, gives a rating score to make a
                                                                                             45 (Pages 174 - 177)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 47 of 68

                                                CONFIDENTIAL
                                                  Page 178                                                  Page 180
  1 decision about who gets to present.                       1 presentations.
  2     Q And how many people were on the scientific          2        He was on the -- there was an
  3 committee for the 2017 conference?                        3 organizational committee, and he may have been some
  4     A It was quite a large committee, as I                4 sort of, like, organizational co-chair. I don't
  5 recall, but I can't -- it was several years ago; so       5 remember. But he was -- he was definitely involved,
  6 I can't say the exact number.                             6 and I think he may have been involved in terms of
  7     Q I'm completely ignorant with respect to             7 presentations that were related to law or public
  8 this, so what's, like, approximate for something          8 policy.
  9 like this?                                                9     Q When you say there was an organizational
 10     A 20, 25.                                            10 committee, do you mean within the scientific
 11     Q And when you are grading the abstracts,            11 committee?
 12 how do you do that?                                      12     A No. Within -- so this was the first
 13     A So we had -- we have criteria that --              13 USPATH conference, and future USPATH conferences
 14 where we're scoring presentations in regard to their     14 were organized by the USPATH board, but there wasn't
 15 addition to scientific knowledge or clinical             15 a board yet.
 16 practice, and also their interest to the audience.       16        They were just in the process of -- we
 17     Q And is the grading process blind?                  17 were in the process, as WPATH, of creating the
 18        MR. LANNIN: Object to the form.                   18 USPATH chapter. There already was EPATH for
 19        THE WITNESS: So sometimes it is and               19 Europeans that was associated with WPATH, and then
 20 sometimes it isn't. And I don't remember the 2017        20 other chapters that were not associated with WPATH,
 21 process, if -- I think we knew the names of the          21 like the Canadian CPATH.
 22 people who were -- my recollection is that we knew       22        So there was a committee within WPATH of
 23 the names of the people that submitted the abstract      23 people who were involved in the -- in organizing the
 24 or who would be presenting for each one, and so that     24 conference, and then there was the scientific
 25 it was not -- not blinded in that way.                   25 committee which was people to review the abstracts.
                                                  Page 179                                                  Page 181
  1 BY MR. RAMER:                                         1        And I don't remember if Jamison Green was
  2      Q And when you say you knew the names, or        2 on both, but I believe he was on the committee
  3 that your recollection is that you knew the names,    3 involved in organizing the -- the conference.
  4 do you mean that when members of the committee were 4        Q And so when we were discussing you serving
  5 grading the abstracts, they knew the name associated  5 as the conference chair, is that in reference to
  6 with that abstract?                                   6 that organizational committee?
  7      A Yes, I believe they did. They knew the         7      A Yes.
  8 authors.                                              8      Q And so CPATH is not affiliated with WPATH;
  9         So it would be a spreadsheet with the         9 is that correct?
 10 title, the authors, and the abstract. And the        10      A Right.
 11 members of the scientific committee who had been     11      Q How did that come about?
 12 assigned to score that abstract would have all that  12        MR. LANNIN: Object to the form.
 13 information.                                         13        THE WITNESS: They -- they formed before
 14      Q Do you remember anybody else who was on       14 there was chaptering.
 15 the scientific committee with you?                   15        And so WPATH, under Gail Knudson, who was
 16      A I -- you know, it was so long ago, I          16 president at the time, felt -- was particularly
 17 just -- I don't think I could say.                   17 committed to the idea of further chaptering.
 18         But undoubtedly, it was, you know, quite a   18        EPATH had already formed as a chapter of
 19 number of people involved in trans health who -- who 19 WPATH, and then it made sense for USPATH to also be
 20 were -- typically who were involved in WPATH or in 20 a chapter.
 21 conferences on transgender health.                   21        And on the off years when WPATH wasn't
 22      Q Was Dr. Jamison Green on the committee        22 doing their conference, USPATH and EPATH would do
 23 with you?                                            23 their conferences.
 24      A Yes. I don't remember if he was on -- he      24 BY MR. RAMER:
 25 may have been on the scientific committee for legal  25      Q And in addition to your role as the

                                                                                             46 (Pages 178 - 181)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 48 of 68

                                                 CONFIDENTIAL
                                                    Page 182                                                     Page 184
  1 conference chair and your role as -- I guess --             1     A Yes.
  2 sorry.                                                      2     Q And Dr. Bahlburg drafted the summary
  3        Were you the chair of the scientific                 3 abstract for the panel, correct?
  4 committee?                                                  4     A Yes.
  5     A So I was chair of the scientific                      5     Q And then who -- I guess, would you have
  6 committee. And my conference chair part was just            6 been, for lack of a better term, "recused" from the
  7 kind of leading the organization because there was          7 scientific committee of reviewing an abstract that
  8 no USPATH board.                                            8 you're on, or how does that work?
  9        I found the facility, like the conference            9        MR. LANNIN: Object to the form.
 10 center at UCLA, and dealt with some of the                 10        THE WITNESS: Yes. So I don't think I
 11 practicalities along with the WPATH staff.                 11 reviewed most of the abstracts because I was busy
 12     Q And so in addition to those roles, you               12 with other things. That was left to other people.
 13 also presented on a panel, correct?                        13 But I would not have reviewed my own abstract if I
 14     A Yes.                                                 14 were reviewing a batch of abstracts.
 15     Q And do some people refer to a panel like             15 BY MR. RAMER:
 16 that as a "mini symposium"?                                16     Q And do you remember what you were
 17        MR. LANNIN: Object to the form.                     17 presenting on for this panel?
 18        THE WITNESS: So WPATH and USPATH refers             18     A Yes. So Dr. Meyer-Bahlburg asked me to
 19 to them, for some historical reason, as "mini              19 present about trans people with dissociative
 20 symposia." I don't know why, but I think that's            20 identity disorder.
 21 just a historical thing, that they called them that.       21     Q And do you recall what Dr. Bahlburg was
 22 BY MR. RAMER:                                              22 presenting about?
 23     Q And the mini symposium at which you                  23     A I don't remember his presentation.
 24 presented was organized and chaired by Dr. Bahlburg        24        I believe that Dr. Zucker was talking
 25 who we were previously discussing, right?                  25 about his desistance data from when he had been at
                                                    Page 183                                                     Page 185
  1      A Right, that we were just discussing.                 1 MH at University of Toronto.
  2        I had been working with him on this paper            2     Q For Dr. Bahlburg, would "gender variations
  3 in transgender health, and -- yeah, 2018 -- and he          3 in somatic intersexuality" sound right?
  4 emailed me and asked if -- so Dr. Meyer-Bahlburg            4     A Yes. He was probably presenting on what
  5 worked with Ken Zucker on the DSM-V committee, I            5 he was talking about in that paragraph. That was --
  6 believe, because of his expertise working with              6 his speaking and writing is -- has tenses, one might
  7 intersex people.                                            7 expect, from a German scientist.
  8        And so he asked if he could put together a           8     Q And so Dr. Zucker was presenting on gender
  9 panel with -- where both Dr. Zucker and I were              9 variations during childhood; is that right?
 10 presenting.                                                10        MR. LANNIN: Object to the form.
 11      Q And could you just give me a little bit of          11        THE WITNESS: Yeah. My recollection of
 12 background about Dr. Bahlburg?                             12 his presentation was he was talking about desistance
 13      A Yeah.                                               13 data, talking about prepubertal youth in his clinic
 14        MR. LANNIN: Object to the form.                     14 and their various presentations of gender, including
 15        THE WITNESS: He's probably emeritus now,            15 desistance.
 16 but a professor at Columbia University. He's a             16 BY MR. RAMER:
 17 neuroscientist and is an expert in intersex                17     Q And before this panel, were you aware of
 18 development.                                               18 Dr. Zucker?
 19 BY MR. RAMER:                                              19     A Yes.
 20      Q Is he a respected scientist?                        20     Q Had you ever interacted with him?
 21        MR. LANNIN: Object to the form.                     21     A Yes.
 22        THE WITNESS: Yes, I would say so.                   22     Q And what did you think of him as a
 23 BY MR. RAMER:                                              23 professional?
 24      Q So you're saying Dr. Bahlburg invited both          24        MR. LANNIN: Object to the form.
 25 you and Dr. Zucker to be on this panel, correct?           25        THE WITNESS: So I had interacted with him

                                                                                                47 (Pages 182 - 185)
                                             Veritext Legal Solutions
877-373-3660                                                                                             800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 49 of 68

                                                CONFIDENTIAL
                                                  Page 186                                                      Page 188
  1 starting in 2003 when I chaired an APA panel on the       1        THE WITNESS: Yes. Specifically, there
  2 gender identity disorder and related chapters in          2 was a protester who was not a member of WPATH and
  3 DSM-IV and what might be proposals for DSM-V. And I       3 didn't even know who the panelists were, because she
  4 had asked him to -- to participate in that panel,         4 interrupted Dr. Heino Meyer-Bahlburg, and -- for a
  5 and he had declined.                                      5 few minutes, and then left.
  6        But we had other folks who were kind of            6 BY MR. RAMER:
  7 defending DSM-IV as it is. The purpose was to both        7     Q And when you say this individual
  8 present challenges to the current chapter and             8 interrupted Dr. Bahlburg, how did she do that?
  9 suggestions for revising it, as well as people who        9     A She stood in front of him and spoke.
 10 were kind of defending the current chapter.              10        I don't recall what she actually said, but
 11 BY MR. RAMER:                                            11 she did, like, kind of -- he was at a podium, and
 12     Q Did you respect Dr. Zucker as a                    12 she just kind of stood in front of him at the
 13 professional?                                            13 podium.
 14        MR. LANNIN: Object to the form.                   14     Q Was she alone or were others also
 15        THE WITNESS: Yes.                                 15 protesting at that time?
 16 BY MR. RAMER:                                            16        MR. LANNIN: Object to the form.
 17     Q Do you think he practices conversion               17        THE WITNESS: So I think in the room she
 18 therapy?                                                 18 was alone, but there were some people in the room
 19        MR. LANNIN: Object to the form.                   19 who were sympathetic, you know, to her, to the
 20        THE WITNESS: So that is really -- what he         20 objection to Dr. Zucker.
 21 does is kind of outside of my -- you know, what          21        However, I did my presentation and
 22 happened in his office.                                  22 Dr. Zucker did his whole presentation, and I think
 23        We worked together on Standards of Care 7,        23 didn't get any challenges until Q&A.
 24 which was the first standards of care to reject          24 BY MR. RAMER:
 25 conversion therapy, and we all had to come to            25     Q And what happened at Q&A?
                                                  Page 187                                                      Page 189
  1 consensus on it. And he said at that time that he         1     A I can't remember, but I think somebody
  2 was not practicing conversion therapy.                    2 might have objected to his being there. But I can't
  3        He was accused of it, and the whole                3 remember.
  4 Provincial Parliament of Ontario, I think,                4     Q Is it fair to say that Dr. Zucker was the
  5 unanimously voted to ban conversion therapy.              5 target of the interruptions?
  6        And he was the subject of a lot of                 6        MR. LANNIN: Object to the form.
  7 controversy among accusations that he had mistreated      7        THE WITNESS: So there was -- there may
  8 children, and his program was terminated. And he          8 have been more, but I just recall this one woman
  9 became -- he was already, I think, a controversial        9 who, even though she interrupted Heino
 10 figure, but he became more controversial, you know,      10 Meyer-Bahlburg, she intended to interrupt
 11 in the wake of that whole -- you know, of all those      11 Ken Zucker.
 12 things that happened.                                    12        But clearly she wasn't somebody working in
 13        And then shortly before the conference, he        13 WPATH or in transgender health or she would know
 14 appeared on a British documentary, during which he       14 who -- you know, she would know this German-speaking
 15 referred to transgender youth or gender-diverse          15 man was not -- that Ken Zucker wasn't German.
 16 children, he compared them to dogs. He said, "If         16 BY MR. RAMER:
 17 your child said he were a dog, would you feed him        17     Q And did the protesters limit the panel's
 18 dog food?"                                               18 ability to give the fully planned presentation?
 19        So -- this was just before the conference,        19        MR. LANNIN: Object to the form.
 20 and so there was also kind of added attention to his     20        THE WITNESS: So they -- I know they
 21 presence at the conference.                              21 interrupted Heino, Dr. Meyer-Bahlburg, but I think I
 22 BY MR. RAMER:                                            22 spoke over time, and Dr. Zucker I think went well
 23     Q And protestors interrupted your panel with         23 over time.
 24 Dr. Bahlburg and Dr. Zucker, correct?                    24        So I think we were able to give our
 25        MR. LANNIN: Object to the form.                   25 presentations.

                                                                                               48 (Pages 186 - 189)
                                            Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 50 of 68

                                               CONFIDENTIAL
                                                  Page 190                                                   Page 192
  1 BY MR. RAMER:                                             1 BY MR. RAMER:
  2     Q And you touched on it a little bit, but             2     Q And what do you know about that threat
  3 how did the members of the panel -- so you,               3 you're mentioning?
  4 Dr. Zucker, Dr. Bahlburg -- react to the                  4        MR. LANNIN: Object to the form.
  5 interruption?                                             5        THE WITNESS: I actually don't know very
  6        MR. LANNIN: Object to the form.                    6 much. I was busy -- I mean, my conference chair
  7        THE WITNESS: I think we initially just             7 thing was quite an unglamorous thing of making sure
  8 tried to let her say her piece, and I don't remember      8 that all the different sessions and different things
  9 whether we, at some point, were like, "Okay. You've       9 that were going on were happening properly.
 10 said your piece. It's time to go."                       10        And so I wasn't there for all of the
 11        I can't remember specifically.                    11 discussions, but Gail Knudson told me that there had
 12 BY MR. RAMER:                                            12 been a threat, and the threat was that the session
 13     Q Did someone call security in response to           13 wasn't going to happen, and that she thought that it
 14 the interruption of the panel?                           14 would be for the best for us not to do that session
 15     A So, yes, I learned that later that                 15 because we couldn't guarantee people's safety,
 16 somebody had called security.                            16 especially, you know, being on this campus where
 17        But that -- I think if there was any              17 people could -- could come and go.
 18 protest needing security, it would have probably         18        And so -- so a decision was made to cancel
 19 been outside of the -- of the conference room that       19 that session, and I think I was in agreement. And
 20 we were doing the presentation in, because I think       20 if anyone else was in agreement, that we just needed
 21 we gave our presentations uninterrupted.                 21 to make sure that we were putting on the conference
 22        They may have been protesting out in the          22 safely.
 23 hall. I don't recall.                                    23 BY MR. RAMER:
 24     Q What is the protest outside of the                 24     Q Do you think WPATH suppressed Dr. Zucker's
 25 conference room you're referring to?                     25 presentation?
                                                  Page 191                                                   Page 193
  1      A I mean, like, in the hallway of the                1        MR. LANNIN: Object to the form.
  2 conference center.                                        2        THE WITNESS: So I think that WPATH had
  3         We were in a room, but we were able to            3 always been very supportive of having Dr. Zucker
  4 speak. So I'm not sure what happened outside of the       4 speak, up to my agreeing to be on that presentation
  5 room that we were speaking in.                            5 kind of in the hopes that even with my presence, it
  6      Q And do you know who called security?               6 would make it more likely that everything would go
  7      A No.                                                7 smoothly, which was probably a misunderstanding of
  8      Q And Dr. Zucker was scheduled to appear on          8 my importance.
  9 another panel at the conference, correct?                 9        But we were really trying to have a
 10      A Yes.                                              10 diverse set of viewpoints at WPATH and at the
 11      Q And what happened to that panel?                  11 conference, including, for example, a session of
 12         MR. LANNIN: Object to the form.                  12 de-transitioners, who were quite anti-WPATH, having
 13         THE WITNESS: So that session ended up            13 the opportunity to speak at the conference as well.
 14 being canceled.                                          14        And I think we kind of prided ourselves on
 15         We realized we had held the conference on        15 at least trying to provide kind of a diversity of
 16 this university campus, and we didn't really have        16 viewpoints and to allow them to be discussed in an
 17 the capacity to keep people who weren't registered       17 open environment. But when we were faced with the
 18 for the conference from coming in.                       18 possibility that it might not be safe to do so, that
 19         And the president of WPATH at the time,          19 it made sense to -- to cancel the session.
 20 Gail Knudson, received some threat that the -- that      20        I would note that, you know, there was the
 21 that session wouldn't happen, and made the decision      21 USPATH and the EPATH conference that year, and the
 22 that it was for the best for us to cancel that           22 EPATH conference took place a couple months later in
 23 session and to try to keep the conference safe for       23 Belgrade, and Dr. Zucker was able to present without
 24 its participants.                                        24 incident, as far as I know, in Belgrade.
 25 ///                                                      25 ///

                                                                                             49 (Pages 190 - 193)
                                            Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 51 of 68

                                                CONFIDENTIAL
                                                  Page 194                                                    Page 196
  1 BY MR. RAMER:                                         1        MR. LANNIN: Object to the form.
  2     Q Did you post an apology for the panel on        2        THE WITNESS: So I included a response,
  3 Facebook?                                             3 and I don't know where that came from. But someone
  4     A Yes.                                            4 had communicated to me that trans people, especially
  5     Q And what were you apologizing for?              5 trans women of color, were feeling threatened by the
  6     A So I felt that kind of an approach of           6 current -- in the current political environment.
  7 humility was maybe what made the most sense in terms 7 And so while I was apologizing, I included that in.
  8 of kind of settling things down.                      8        It was not an apology related to
  9        And people had brought to my attention to      9 Dr. Zucker on behalf of that, but I was
 10 some degree -- I didn't realize the extent of it --  10 acknowledging that trans women of color were
 11 that having Ken Zucker there -- in the light of the  11 vulnerable. That was a group that had -- there was
 12 accusations of abusing children and the television   12 a group representing trans women of color who had
 13 evidence of his comparing gender-diverse children to 13 lodged a particular complaint about feeling
 14 dogs -- that by having him there, WPATH was making a 14 vulnerable in this environment, and WPATH not being
 15 statement itself in support of those ideas.          15 supportive of the trans community or trans women of
 16        And I think I'd been kind of dismissive       16 color.
 17 about them, in the laudable goal of, you know, free  17        So I think it was in response to that
 18 expression.                                          18 complaint against WPATH that I included that in
 19        I think that in retrospect, probably there    19 my -- in my -- in this apology. But it was -- that
 20 should have been an attempt at conversation with     20 wasn't, I don't think, particular to Ken Zucker, but
 21 people who objected before the conference, and --    21 rather to complaints in the wake of the protest that
 22 but it wasn't something that we realized was going   22 we got about WPATH.
 23 to kind of blow up in that fashion until it did.     23 BY MR. RAMER:
 24     Q And so to whom were you apologizing?           24     Q And after the panel, did you attend a
 25     A So I don't remember the Facebook -- I          25 meeting with the individuals who opposed
                                                  Page 195                                                    Page 197
  1 mean, I remember posting it. I don't remember what        1 Dr. Zucker's presence at the conference?
  2 was in it. That time was kind of a blur.                  2     A Right. It was after the panel. After the
  3        But I was apologizing to the people who            3 panel, I was busy with these other sessions that
  4 were upset with how things went down.                     4 were going on. I went back and I learned that Ken
  5     Q And do you think that trans women of color          5 Zucker wouldn't be -- that that session wouldn't be
  6 in particular were owed an apology?                       6 happening.
  7        MR. LANNIN: Object to the form.                    7        And then I was asked to -- to go to that
  8        THE WITNESS: I don't remember what I said          8 session as part of an attempt to kind of diffuse
  9 or what it was in response to.                            9 the -- the kind of protests that had led to that
 10        (Exhibit 8 was marked for identification          10 threat. We were wanting to try to calm people down.
 11     and is attached hereto.)                             11        (Exhibit 9 was marked for identification
 12 BY MR. RAMER:                                            12     and is attached hereto.)
 13     Q Dr. Zucker, you've been handed -- I'm              13 BY MR. RAMER:
 14 sorry.                                                   14     Q And, Dr. Karasic, you've been handed
 15        Dr. Karasic, you've been handed what's            15 what's been marked as Karasic Exhibit 9. And I'll
 16 been marked as Karasic Exhibit 8.                        16 note that this is stamped "Confidential - Subject to
 17        And does this appear to be the Facebook           17 Protective Order," and it has Bates stamp
 18 post we were discussing?                                 18 BOEAL_WPATH_064098.
 19     A Yes.                                               19        You can see from the subject at the top,
 20     Q And at the bottom, a few sentences up, you         20 the subject line says, "Re: Forward: NYTimes Mag
 21 refer specifically to "trans women of color."            21 fact-checking."
 22        And I'm just curious if that has to do            22        Do you see that?
 23 with the presence of Dr. Zucker or the fact that, as     23     A Yes.
 24 you're saying here, they're the most vulnerable of       24     Q And as we look at this email, the first
 25 people.                                                  25 one in the chain says, "My responses are integrated

                                                                                              50 (Pages 194 - 197)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 52 of 68

                                                CONFIDENTIAL
                                                   Page 198                                                   Page 200
  1 below."                                                    1 women of color read aloud a statement in which they
  2        Do you see that?                                    2 said the 'entire institution of WPATH' was
  3     A Yes.                                                 3 'violently exclusionary' because it 'remains
  4     Q Then as we move down the chain, we see the           4 grounded in 'cis-normativity and trans exclusion'"?
  5 previous message said, "New set of fact checks             5        Do you see that?
  6 below."                                                    6     A Yes.
  7        Do you see that?                                    7     Q And then after that, in brackets it says,
  8     A I was just trying to see what this is,               8 "Quotes are from video."
  9 okay?                                                      9        Do you see that?
 10     Q All I'm asking is, do you see that? It              10     A Yes.
 11 says, "New set of" --                                     11     Q And then there is a dash, and then there's
 12     A Yes.                                                12 a redaction, and then it says, "Yes."
 13     Q And then you move down to the prior email           13        Do you see that?
 14 in the chain. It is from an individual named              14     A Yes.
 15 Mark de Silva, with an email address at the New York      15     Q Are those quotes referenced there
 16 Times, correct?                                           16 consistent with your recollection of that meeting?
 17     A Yes.                                                17     A Yes.
 18     Q And in the first paragraph of this email            18     Q Did you speak at that meeting?
 19 from Mark de Silva, which is dated June 7th, 2022,        19     A Yes.
 20 the second sentence says, "In the meantime, I have        20     Q Do you recall who else spoke at that
 21 some further questions for WPATH."                        21 meeting?
 22        Do you see that?                                   22     A No.
 23     A Yes.                                                23     Q Did Dr. Jamison Green speak at that
 24     Q And then I'd like to go to the next page,           24 meeting?
 25 and about halfway down the paragraph above the            25        MR. LANNIN: Object to the form.
                                                   Page 199                                                   Page 201
  1 number 6 that starts with, "We also have questions."       1        THE WITNESS: I would assume that he
  2        Do you see that?                                    2 was -- he did. I think he would have been past
  3     A Yes.                                                 3 president of WPATH and kind of involved with the
  4     Q And that paragraph says, "We also have               4 conference.
  5 questions about a protest in February 2017," and           5 BY MR. RAMER:
  6 then there are brackets with a YouTube link,               6      Q And what did you say at the meeting?
  7 correct?                                                   7      A What did I say at the meeting?
  8     A Yes.                                                 8      Q Correct.
  9     Q And the following sentence says, "We have            9      A I don't think I could say. I -- I'm sure
 10 spoken with" -- redacted -- "and he believes it is        10 I apologized in some way.
 11 generally accurate, but we would also like see [sic]      11        Beyond that, I know that I was kind of
 12 if WPATH sees anything inaccurate here," correct?         12 asked to go and to try to, you know, kind of humbly
 13     A Yes.                                                13 calm people down, but I don't remember what I said
 14     Q And then No. 8 -- I'm sorry. I'll start             14 at the meeting.
 15 with No. 7. It says, No. 7, "At this conference,          15      Q And I'd like to play a clip for you on
 16 protestors interrupted and picketed a panel               16 this iPad.
 17 featuring" -- redacted.                                   17        (Addressing Counsel) And I can represent
 18        Do you see that?                                   18 that I have it on here (indicating) if you want it
 19     A Yes.                                                19 as well.
 20     Q And then after that, it says, "Yes,"                20        I'll also represent that this is a clip
 21 correct?                                                  21 from the YouTube video that's at the link that's
 22     A Yes.                                                22 listed in the document we were just looking at.
 23     Q And then No. 8, it says, "That evening of           23        THE REPORTER: Do you want me to take this
 24 the protest at a meeting with the conference              24 down, or just indicate that it is played?
 25 leaders, a group of activists led by transgender          25        MR. RAMER: Just indicate, please.

                                                                                               51 (Pages 198 - 201)
                                             Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 53 of 68

                                               CONFIDENTIAL
                                                  Page 202                                                  Page 204
  1        THE REPORTER: Thank you.                           1 getting a high enough score, you didn't think that
  2        MR. RAMER: I'll first just ask you just            2 you should have let Dr. Zucker present, correct?
  3 to watch it, and then I'll have some questions            3        MR. LANNIN: Object to the form.
  4 afterward.                                                4        THE WITNESS: Yes. We couldn't -- as it
  5        THE REPORTER: One more question. Do you            5 turns out, we couldn't do that and have the
  6 want this as an exhibit?                                  6 conference safely go on. And I didn't think that --
  7        MR. RAMER: Yes, please. And on the thumb           7 I mean, I think Dr. Zucker has many, many places to
  8 drive that I gave to counsel and to the court             8 present his views.
  9 reporter, this video is labeled                           9        I obviously did support his being able to
 10 "Karasic_Dep_Video1."                                    10 present that at USPATH until it led to potentially a
 11        (Exhibit 10 was marked for identification         11 threat to the safety of the participants of the
 12     and is attached hereto.)                             12 conference.
 13        (Video played.)                                   13        And so I didn't think -- so I was
 14 BY MR. RAMER:                                            14 supportive despite my disagreements with Dr. Zucker
 15     Q Dr. Karasic, is that a video from the              15 to present them side by side. And, you know, if
 16 meeting we were just discussing?                         16 that is something that could have been done
 17     A Yes.                                               17 safely -- but in retrospect, it was a mistake
 18     Q And is that you speaking in that video?            18 because it couldn't be done safely in that
 19     A Yes.                                               19 particular environment.
 20     Q And in that clip, you say that you wrote           20        We later were in agreement, though, that
 21 an op-ed urging the Ontario legislature to pass a        21 Dr. Zucker shouldn't be, you know, canceled in any
 22 ban on conversion therapy that contributed to            22 way, and he did present at the next WPATH conference
 23 Dr. Zucker being fired, correct?                         23 a couple months later in Serbia.
 24        MR. LANNIN: Object to the form.                   24 BY MR. RAMER:
 25        THE WITNESS: Yes. There was an op-ed by           25     Q At the USPATH 2017 conference, did you
                                                  Page 203                                                  Page 205
  1 one of the colleagues of Dr. Zucker at that program       1 attend the gala or banquet event?
  2 in support of conversion therapy, I think, at least       2      A Yes.
  3 opposing the ban on conversion therapy.                   3        MR. RAMER: I'm going to play another
  4        And then I wrote an opposing view saying           4 video on the thumb drive. It is Karasic_Dep_02.
  5 that conversion therapy should be banned. And the         5 It's about five minutes long.
  6 Ontario legislature did end up banning conversion         6        THE REPORTER: Will this be 11?
  7 therapy.                                                  7        MR. RAMER: Yes, please.
  8        Ken Zucker was -- had said he wasn't               8        So this will be Karasic Exhibit 11.
  9 committing conversion therapy, and there was              9        (Exhibit 11 was marked for identification
 10 actually some litigation with him and the                10      and is attached hereto.)
 11 university.                                              11        (Video played.)
 12        And -- but they had said that he -- well,         12 BY MR. RAMER:
 13 he had been accused of mistreating young people, and     13      Q Dr. Karasic, I've stopped that video,
 14 I think they felt that was sufficient to -- to close     14 Exhibit 11, at the one-second mark.
 15 the program. Whether or not that was conversion          15        Is that you standing in the background
 16 therapy, I think they didn't feel it was a benefit       16 there?
 17 to the university.                                       17      A Yes. I think that was the board of WPATH
 18        So that's what had happened. Obviously            18 and the staff of -- yeah, the board and staff of
 19 there were -- you know, I wasn't the principal           19 WPATH who were standing up there in the background
 20 person involved, but I did write the kind of             20 before all this happened.
 21 counterargument op-ed for when Ontario was               21      Q And does that video depict events that
 22 considering their conversion therapy ban.                22 occurred at the 2017 USPATH gala that you attended?
 23 BY MR. RAMER:                                            23      A Yes.
 24      Q And in that video, you say that even if           24        MR. RAMER: I have one more video on the
 25 the abstract for the panel with Dr. Zucker was           25 thumb drive. This is Karasic_dep_video3.

                                                                                             52 (Pages 202 - 205)
                                           Veritext Legal Solutions
877-373-3660                                                                                         800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 54 of 68

                                              CONFIDENTIAL
                                                 Page 206                                                     Page 208
  1        I'll ask to mark that as Exhibit 12.              1        MR. LANNIN: Object to the form.
  2        (Exhibit 12 was marked for identification         2        THE WITNESS: I don't recall if I
  3     and is attached hereto.)                             3 contributed at all. It was not a board message. It
  4        MR. RAMER: And this is also about five            4 was a message from the executive committee, and I
  5 minutes long.                                            5 was not on the executive committee. So I don't -- I
  6        (Video played.)                                   6 don't recall if I had any input in this.
  7 BY MR. RAMER:                                            7        Again, there was -- the WPATH president
  8     Q Dr. Karasic, did that video depict events          8 met with the activists, and they -- and this was
  9 that occurred at the 2017 USPATH gala that you           9 part of -- I guess this was kind of what they had
 10 attended?                                               10 hashed out, theoretically, in executive committee
 11     A Yes.                                              11 meeting. An agreement would then need to be
 12     Q And I've paused Exhibit 12 at the                 12 approved by the board as a whole, but I don't have
 13 2:49 mark.                                              13 any recollection if that -- if that happened.
 14        The individual on the right of the screen        14 BY MR. RAMER:
 15 in the purple shirt, is that Dr. Jamison Green?         15     Q Was this statement later removed from the
 16     A Yes.                                              16 WPATH website?
 17     Q I've now paused Exhibit 12 at the                 17        MR. LANNIN: Object to the form.
 18 55-second mark.                                         18        THE WITNESS: I assume it was. I don't
 19        Who is the individual holding the                19 know if I -- I don't recall seeing it on the WPATH
 20 microphone?                                             20 website. So -- but it was a long time ago.
 21     A I believe that is Danielle Castro.                21 BY MR. RAMER:
 22     Q I have now paused Exhibit 12 at the               22     Q Do you know why it was removed?
 23 mark.                                                   23        MR. LANNIN: Object to the form.
 24        Do you know who that individual is who's         24        THE WITNESS: No, I don't recall.
 25 holding the microphone?                                 25 ///
                                                 Page 207                                                     Page 209
  1     A I forget her name. She is a leading                1 BY MR. RAMER:
  2 activist in the Los Angeles transgender community.       2     Q Do you recall voting to remove it?
  3 But -- I met her at that conference, but I don't         3        MR. LANNIN: Object to the form.
  4 remember her name.                                       4        THE WITNESS: I don't recall. It was a
  5     Q Did the WPATH executive committee release          5 long time ago.
  6 an apology regarding Dr. Zucker's presentation?          6 BY MR. RAMER:
  7        MR. LANNIN: Object to the form.                   7     Q What was your reaction to this statement
  8        THE WITNESS: I think there was a                  8 in Exhibit 13?
  9 reference on the website about when -- basically         9        MR. LANNIN: Object to the form.
 10 there was an agreement that was hashed out between      10        THE WITNESS: I don't recall.
 11 Dr. Knudson, the WPATH president, and the activists     11        It was a process that happened between the
 12 who were on stage. And with that, there was --          12 WPATH president and the activists, and they had made
 13 there was a statement of some sort on the website.      13 this agreement that, I think, preceded that -- that
 14        (Exhibit 13 was marked for identification        14 last video that -- where they tried to create some
 15     and is attached hereto.)                            15 sort of settlement to essentially make sure that the
 16 BY MR. RAMER:                                           16 conference was -- could go on safely, and then
 17     Q Dr. Karasic, the court reporter has handed        17 I'm -- I don't know what happened with it.
 18 you what's been marked as Karasic Exhibit 13.           18        I do think that there didn't need to be,
 19     A Yes.                                              19 for example, two seats on the SOC-8 committee for
 20     Q Does this appear to be the statement you          20 trans people of color because there were at least a
 21 were just referencing?                                  21 couple of trans people of color, you know. There
 22     A Yes. It's from the WPATH executive                22 were a number of trans people of color who were --
 23 committee, and I was -- I'm not -- I was not on the     23 you know, who were on the committee, not because of
 24 executive committee. But they wrote this statement.     24 being activists.
 25     Q Did you help write it at all?                     25        But I was not the person who developed

                                                                                             53 (Pages 206 - 209)
                                           Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 55 of 68

                                               CONFIDENTIAL
                                                 Page 210                                                     Page 212
  1 this statement, and I don't recall what ended up         1       THE VIDEO OPERATOR: This marks the end of
  2 happening with it.                                       2 Media Unit 3 of the deposition of Dan Karasic, M.D.
  3 BY MR. RAMER:                                            3 The time is 3:58 p.m. We're off the record.
  4     Q I'm going to read the first two sentences,         4       (Recess, 3:58 p.m. - 4:12 p.m.)
  5 and I'll first ask if I read them correctly.             5       THE VIDEO OPERATOR: We are back on the
  6        It says, "On February 3, 2017 a WPATH             6 record at 4:12 p.m. This marks the beginning of
  7 member presented at the USPATH conference on a           7 Media Unit 4 of the deposition of Dan Karasic, M.D.
  8 clinical modality that WPATH opposes. A conference       8       Please continue.
  9 attendee disrupted the offensive session due to this     9       (Exhibit 14 was marked for identification
 10 act of negligence."                                     10     and is attached hereto.)
 11        Did I read that correctly?                       11 BY MR. RAMER:
 12     A Yes.                                              12     Q Dr. Karasic, you've been handed what's
 13     Q Do you think those two sentences                  13 been marked as Karasic Exhibit 14, which is stamped
 14 accurately portray what happened at your panel?         14 "Confidential," and has the Bates stamp of
 15     A No.                                               15 BOEAL_KARASIC_8.
 16     Q Do you think this statement from WPATH is         16       Do you see that?
 17 reflective of a commitment to the open exchange of      17     A Yes.
 18 ideas?                                                  18     Q And about -- just a little over halfway
 19        MR. LANNIN: Object to the form.                  19 down the page, do you see that you are cc'd in this
 20        THE WITNESS: I think it was something            20 email?
 21 that was hashed out by members of the WPATH             21     A Yes.
 22 executive committee and some transgender activists      22     Q And up at the very top, the subject is
 23 who were kind of occupying the conference center.       23 "Forward: A message from the WPATH Executive
 24        I don't think it was -- I don't think the        24 Committee (re USPATH meeting, February 3, 2017),"
 25 presentation was an act of negligence. I think, you     25 correct?
                                                 Page 211                                                     Page 213
  1 know, we should have worked with people in advance       1      A Yes.
  2 and tried to decide if this could be done safely         2      Q And on the next page, the first
  3 before doing it.                                         3 sentence -- I'll just read it first and ask if I
  4        I suppose if it was negligence, it was            4 read it correctly -- says, "The Mini-Symposium
  5 that we didn't, you know, think about the -- you         5 entitled 'Development of Gender Variations:
  6 know, the potential for acts of violence.                6 Features and Factors' that I convened and chaired
  7 BY MR. RAMER:                                            7 was interrupted twice by a small group of
  8     Q Do you think your panel was offensive?             8 protestors."
  9        MR. LANNIN: Object to the form.                   9         Did I read that correctly?
 10        THE WITNESS: I don't think so, but it did        10      A Yes.
 11 offend people.                                          11      Q And the paragraph below that, the first
 12 BY MR. RAMER:                                           12 sentence says, "Because of the time used up by the
 13     Q Do you recall how the other members of            13 first disruption and related questions from the
 14 your panel reacted to this statement?                   14 audience later, I decided to give the first two
 15        MR. LANNIN: Object to the form.                  15 speakers" -- redacted -- "('Gender dysphoria and
 16        THE WITNESS: I think that Heino                  16 dissociative gender identity disorder combined')
 17 Meyer-Bahlburg was unhappy with it. I didn't -- I'm     17 and" -- redacted -- "('Gender variations during
 18 not in regular communication with Ken Zucker.           18 childhood') more time for their presentations and
 19        But Heino and I were working on the paper        19 Q&A sections and was, therefore, unable to present
 20 together, and so we were in communication and -- we     20 my own lecture ('Gender Variations in Somatic
 21 were in communication, and I know he was unhappy        21 Intersexuality,' which also included a summary of
 22 with this session being characterized that way.         22 the fourth lecture by" -- redacted -- "who was
 23        MR. RAMER: We've been going for over an          23 unable to attend)."
 24 hour. Maybe time for a break?                           24         Did I read that correctly?
 25        MR. LANNIN: Great.                               25      A Yes.

                                                                                              54 (Pages 210 - 213)
                                           Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 56 of 68

                                                CONFIDENTIAL
                                                   Page 214                                                    Page 216
  1      Q Is it fair to say this email was written            1     Q And then the -- at the top email, the
  2 by Dr. Bahlburg?                                           2 "From" is redacted, and the "To" is to the WPATH EC
  3      A Yes.                                                3 Listserv.
  4      Q And next paragraph, the final sentence,             4        Do you see that?
  5 which is fairly long, it starts about halfway              5     A Yes.
  6 through the paragraph. I'm just going to read that         6     Q And do you see, two lines down in the
  7 first and ask if I read it correctly.                      7 email, it says, "Begin forwarded message."
  8        "By misrepresenting the content of the              8        Do you see that?
  9 session and labeling the entire session as                 9     A Yes.
 10 'offensive,' 'due to this act of negligence,' (a          10     Q And then "From" is redacted, and "To" is
 11 vague formulation that also needs explanation), you       11 redacted, correct?
 12 are aligning yourselves with the small group of           12     A Yes.
 13 protestors, insult the speakers involved, and             13     Q And then below that, "Subject: A message
 14 violate a primary condition of a scientific meeting,      14 from the WPATH Executive Committee," correct?
 15 namely the open and constructive exchange of ideas,       15     A Yes.
 16 which is particularly important in an area of             16     Q And I'd like to go to the number 1 that
 17 research as emotion-laden as gender."                     17 says, "The first sentence reads: 'On February 3,
 18        Did I read that correctly?                         18 2017 a WPATH member'" -- brackets, redacted --
 19      A Yes.                                               19 "'presented at the USPATH conference on a clinical
 20      Q And then there's a short one-sentence              20 modality that WPATH opposes.'"
 21 paragraph, and then there's a sentence below that.        21        Do you see that?
 22 I'm sorry -- a paragraph below that.                      22     A Yes.
 23        And the first sentence says, "As similar           23     Q And that is quoting the WPATH statement
 24 incidents occurred already in two symposia I was          24 that we previously looked at, correct?
 25 involved with at the recent WPATH meeting in              25     A Yes.
                                                   Page 215                                                    Page 217
  1 Amsterdam, I think WPATH's leadership needs to             1     Q And then below that, the comment says,
  2 become more proactive in furthering a constructive         2 "Let me begin by saying that I do not know if you
  3 style of scientific exchange - rather than                 3 or" -- redacted -- "were at the Symposium (organized
  4 inhibiting scientific exchange by suppressing              4 and chaired by...)" -- redacted. "The sentence
  5 presentations as you did in L.A., when you                 5 simply astonishes me. My talk was not at all about
  6 canceled" -- redacted -- Mini-Symposium on                 6 any 'clinical modality' - it was a summary of
  7 February 4."                                               7 follow-up studies of children diagnosed with GID
  8        Did I read that correctly?                          8 (the diagnostic label that was in place for a number
  9     A Yes.                                                 9 of the follow-up studies) or children subthreshold
 10        (Exhibit 15 was marked for identification          10 for the diagnosis."
 11     and is attached hereto.)                              11        Do you see that?
 12 BY MR. RAMER:                                             12     A Yes.
 13     Q Dr. Karasic, you've been handed what's              13     Q And moving down to the number 2 in the
 14 been marked Exhibit 15, and this is stamped               14 email, it says, "The third sentence reads: 'Later
 15 "Confidential" and has a Bates number of                  15 that day the same presenter was asked to leave by a
 16 BOEAL_WPATH_101671.                                       16 group of professionals attending the conference.'"
 17        Do you see that?                                   17     A Yes.
 18     A Yes.                                                18     Q And that is quoting the WPATH statement
 19        Excuse me. Where is the -- oh, down                19 that we previously looked at, correct?
 20 there. 101671. Yes.                                       20        It's Exhibit 13 if you want to compare it.
 21     Q And the subject of this email is                    21     A Oh, here it is.
 22 "Forward: A message from the WPATH Executive              22     Q And I believe it's the third sentence in
 23 Committee" at the top.                                    23 the Exhibit 13.
 24        Do you see that?                                   24     A Yes.
 25     A Yes.                                                25     Q Going back to Exhibit 15, below where we

                                                                                               55 (Pages 214 - 217)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 57 of 68

                                               CONFIDENTIAL
                                                  Page 218                                                     Page 220
  1 were just reading, it says, "Comment: This sentence   1        Do you see that?
  2 also simply astonishes me. No one asked me to         2     A Yes.
  3 leave," correct?                                      3     Q Do you think Dr. Zucker's presentation
  4     A Yes.                                            4 constituted violence?
  5     Q Is it fair to say this email was written        5        MR. LANNIN: Object to the form.
  6 by Dr. Zucker?                                        6        THE WITNESS: I don't -- that is not
  7     A Yes.                                            7 terminology that I use; so I -- I wouldn't call it
  8     Q Moving down to No. 3, it says, "There is,       8 that, no.
  9 of course, a broader issue at stake here. At WPATH    9 BY MR. RAMER:
 10 in Amsterdam last June, activists disrupted a        10     Q Do you think it would be reasonable for
 11 Symposium on DSDs and defaced a poster. I find it    11 somebody to say that Dr. Zucker's presence at the
 12 remarkable that the leadership of WPATH has remained 12 conference constituted violence?
 13 silent about this. If there cannot be meaningful     13        MR. LANNIN: Object to the form.
 14 dialogue about complex issues at WPATH or USPATH, 14           THE WITNESS: No.
 15 how can the organization consider itself to be       15 BY MR. RAMER:
 16 'professional'?"                                     16     Q Why do you think the authors of this
 17        Did I read that correctly?                    17 document did?
 18     A Yes.                                           18        MR. LANNIN: Object to the form.
 19     Q Do you recall whether the opponents of         19        THE WITNESS: Can I say, "Young people
 20 Dr. Zucker's presence at the conference responded to 20 today"?
 21 either your apology or the WPATH statement we've     21        You know, people have different
 22 been looking at?                                     22 perspectives. And you go into a world where
 23        MR. LANNIN: Object to the form.               23 sometimes other people's perspectives surprise you
 24        THE WITNESS: I don't recall. I wouldn't       24 or are different from you or take things in a
 25 be surprised if my statement on Facebook had people 25 different -- a very different way.
                                                  Page 219                                                     Page 221
  1 responding.                                               1 BY MR. RAMER:
  2         I had said I didn't -- I wasn't                   2     Q And sticking with this document, going up
  3 responsible for the executive committee message or        3 to the Statement No. 1 and the underlined response
  4 the -- or those emails; so I don't -- I don't             4 below it, in the second sentence, which is fairly
  5 recall.                                                   5 long, it refers to "trans-positive practitioners and
  6         (Exhibit 16 was marked for identification         6 researchers."
  7     and is attached hereto.)                              7        Do you see that?
  8 BY MR. RAMER:                                             8     A In -- I'm sorry. What paragraph was that?
  9     Q Dr. Karasic, you've been handed what's              9     Q So up to the Statement No. 1 that begins,
 10 been marked as Karasic Exhibit 16. This is stamped       10 "This letter fails," do you see that?
 11 "Confidential," and the Bates number is                  11     A Yes.
 12 BOEAL_WPATH_143750, correct?                             12     Q And then going to the underlined portion
 13     A Yes.                                               13 after that --
 14     Q Have you seen this document before?                14     A Oh, I see it.
 15     A Not that I recall. I wasn't on the                 15     Q -- the second --
 16 executive committee. And I think that the                16     A Yeah. Yes.
 17 negotiation between the activists and the executive      17     Q And what are trans-positive practitioners
 18 committee took place without my participation. So I      18 and researchers?
 19 don't recall all the communications involved.            19        MR. LANNIN: Object to the form.
 20     Q And going down to Question 2 on this               20        THE WITNESS: I wouldn't use that wording,
 21 page -- sorry, I guess it's not a question --            21 either.
 22 Statement 2 on this page, it says, "This statement       22        From my recollection, there was a -- you
 23 fails to include the multiple people and range of        23 know, kind of a range of presenters for that
 24 identities that were affected by the violence that       24 session. And I don't know if the -- I assume the
 25 Zucker and WPATH allowed and perpetuated."               25 other three presenters would have a different

                                                                                              56 (Pages 218 - 221)
                                           Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 58 of 68

                                               CONFIDENTIAL
                                                  Page 222                                                 Page 224
  1 perspective than Ken Zucker, but I don't think that       1 BY MR. RAMER:
  2 they were there simply to rebut Dr. Zucker's              2      Q So you don't know why the minimum ages
  3 theories. I think the point of the session was to         3 were removed; is that right?
  4 show a range of views.                                    4         MR. LANNIN: Object to the form.
  5 BY MR. RAMER:                                             5         THE WITNESS: Not -- anything would be
  6     Q Do you have any reason to think Dr. Zucker          6 speculation.
  7 is not a trans-positive practitioner?                     7         (Exhibit 18 was marked for identification
  8        MR. LANNIN: Object to the form.                    8      and is attached hereto.)
  9        THE WITNESS: I don't -- for any of those           9 BY MR. RAMER:
 10 people involved, it's not terminology that -- I          10      Q Dr. Karasic, you've been handed what's
 11 don't know what that means.                              11 been marked as Karasic Exhibit 18.
 12        (Exhibit 17 was marked for identification         12      A Yes.
 13     and is attached hereto.)                             13      Q And this is stamped "Confidential" and has
 14 BY MR. RAMER:                                            14 Bates stamp BOEAL_WPATH_105494 at the bottom,
 15     Q Dr. Karasic, you've been handed what's             15 correct?
 16 been marked as Karasic Exhibit 17. And on the first      16      A Yes.
 17 page, it says, "Private Plaintiffs' Supplemental         17      Q And looking at the top, the "From" line
 18 Rule 26 Disclosures."                                    18 first is Asa Radix, correct?
 19        Do you see that?                                  19      A Yes.
 20     A Yes.                                               20      Q And the "To" is Walter Bouman?
 21     Q And I'd like to go to page -- page 3.              21      A Yes.
 22     A Yes.                                               22      Q Who is Walter Bouman?
 23     Q And do you see you're listed there?                23      A Walter Bouman is a -- I think he's the
 24     A Yes.                                               24 past president of WPATH.
 25     Q And the last sentence states, "He,"                25      Q And in the "cc" line is the EC Listserv,
                                                  Page 223                                                 Page 225
  1 referring to you, "is also expected to testify in     1 correct?
  2 response to claims that WPATH limited debate and      2      A Yes.
  3 robust exchange of ideas across the organization and  3      Q And the date of this email is June 14th,
  4 at conferences hosted by affiliate organizations."    4 2022, correct?
  5        Do you see that?                               5      A Yes.
  6     A Yes.                                            6      Q Okay. I'd like to go to page 3 in this,
  7     Q Apart from what we've already discussed         7 which is Bates 105496. And at the bottom, do you
  8 today, are there any other claims that WPATH limited  8 see there's an email from Walter Bouman, dated
  9 debate and robust exchange of ideas across the        9 June 13th, 2022?
 10 organization and at conferences hosted by affiliate  10      A Yes.
 11 organizations that you intend to testify about?      11      Q And the subject is "The imminent release
 12        MR. LANNIN: Object to the form.               12 of the SOC8 - and please be so kind as to give us
 13        THE WITNESS: I think that -- I think that     13 your support or endorsement," correct?
 14 this was put in for -- about the 2017 conference,    14      A Yes.
 15 because I haven't been involved with WPATH aside     15      Q On the next page, which is Bates 105497,
 16 from Standards of Care 8 since 2018.                 16 about a little over three quarters of the way down,
 17 BY MR. RAMER:                                        17 there's a paragraph that begins with, "If you agree
 18     Q Dr. Karasic, the minimum ages for              18 to this."
 19 providing gender-affirming medical care were removed 19         Do you see that?
 20 from the SOC-8 to ensure greater access to care for  20      A Yes.
 21 more people, correct?                                21      Q I'm just going to read that first and ask
 22        MR. LANNIN: Object to the form.               22 if I read it correctly.
 23        THE WITNESS: So I think that was in the       23         It says, "If you agree to this, we will
 24 editor's -- an editor remark in terms of that. I     24 send you a link to the SOC8 (which is currently
 25 wasn't involved with any of that process.            25 under embargo, and currently only ADM Dr. Rachel

                                                                                            57 (Pages 222 - 225)
                                            Veritext Legal Solutions
877-373-3660                                                                                       800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 59 of 68

                                              CONFIDENTIAL
                                                 Page 226                          Page 228
  1 Levine and her Department (HHS/OASH) in the U.S.
  2 have access to the full document) and we will
  3 provide access following the signing of a
  4 nondisclosure document."
  5       Did I read that correctly?
  6     A Yes.
  7     Q Before seeing this email, were you aware
  8 that Admiral Levine and her department were provided
  9 exclusive access to the completed SOC-8?
 10       MR. LANNIN: Object to the form.
 11       THE WITNESS: No.
 12       (Exhibit 19 was marked for identification
 13     and is attached hereto.)
 14 BY MR. RAMER:




                                                 Page 227                          Page 229




                                                                      58 (Pages 226 - 229)
                                           Veritext Legal Solutions
877-373-3660                                                                800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 60 of 68

                                                 CONFIDENTIAL
                                                    Page 230                                                     Page 232
                                                                1 different diagnosis that people also had, a
                                                                2 co-occurring condition.
                                                                3 BY MR. RAMER:
                                                                4      Q And would you ever intentionally omit the
                                                                5 diagnosis for gender identity disorder from those
                                                                6 records?
                                                                7        MR. LANNIN: Object to the form.
                                                                8        THE WITNESS: I think there was just a
                                                                9 time in which it was considered kind of useless to
                                                               10 include that because it -- because it wasn't
                                                               11 covered.
                                                               12        And as a psychiatrist, I see people who
                                                               13 are seeing me because they're depressed or anxious,
                                                               14 and so I would list that as the -- you know, as the
                                                               15 billing diagnosis.
                                                               16        We're talking about before -- certainly
                                                               17 before 2013. In 2013, California banned denying
                                                               18 reimbursement for gender -- transgender-related
                                                               19 care.
                                                               20 BY MR. RAMER:
                                                               21      Q Do you think the distress resulting from
                                                               22 gender incongruence in children should be
                                                               23 categorized as a psychological disorder?
                                                               24        MR. LANNIN: Object to the form.
                                                               25        THE WITNESS: So if -- so if the -- if the
                                                    Page 231                                                     Page 233
                                                                1 child is distressed, they're -- you know, they have
                                                                2 and would have a diagnosis.
                                                                3        There was for -- there was a debate around
                                                                4 gender incongruence of children, which was a World
                                                                5 Health Organization ICD 11 diagnosis, that did not
                                                                6 include distress. And so -- because gender
                                                                7 incongruence doesn't include distress as part of the
                                                                8 disorder.
                                                                9        And so there was a debate whether there
                                                               10 was utility of the World Health Organization even
                                                               11 having a gender-incongruence-of-children diagnosis
                                                               12 because it's a diagnosis prior to which they would
 13     Q Now switching gears a little bit, have you           13 get specific medical treatment.
 14 ever declined to list a patient's diagnosis in             14 BY MR. RAMER:
 15 medical records in order to ensure that insurance          15      Q You do think there should be a diagnosis
 16 will provide reimbursement for care?                       16 for children, though?
 17        MR. LANNIN: Object to the form.                     17        MR. LANNIN: Object to the form.
 18        THE WITNESS: I wouldn't say that I have             18        THE WITNESS: So I think that there is
 19 not listed a diagnosis, but there was a time when          19 a -- there's a theoretical debate, I think, that
 20 there was a -- a CMS exclusion for treatment of            20 when there's a stronger argument for gender
 21 gender identity disorder.                                  21 dysphoria in children, prepubertal children, then
 22        So as a psychiatrist, I would be treating           22 with gender incongruence, which didn't have even
 23 people typically for depression, anxiety, for other        23 distress as part of the diagnosis, and there was the
 24 symptoms, and I would list as a billing diagnosis a        24 potential harm that -- of gender-diverse children
 25 symptom that was -- you know, a diagnosis -- a             25 who are perhaps not distressed being subject to

                                                                                                59 (Pages 230 - 233)
                                             Veritext Legal Solutions
877-373-3660                                                                                             800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 61 of 68

                                                CONFIDENTIAL
                                                   Page 234                                                     Page 236
  1 conversion practices because of their gender               1 they're not suffering from distress?
  2 diversity; so I think there's kind of an open debate       2        MR. LANNIN: Object to the form.
  3 about it.                                                  3        THE WITNESS: That seems like a
  4         The World Health Organization opted to             4 theoretical question.
  5 include gender incongruence of children in ICD 11.         5        The one place where I've seen the question
  6 BY MR. RAMER:                                              6 of lack of distress brought up by clinicians was
  7      Q Do you think gender incongruence in                 7 clinicians from the Dutch program, when there were
  8 children should be included in the ICD?                    8 discussions about inclusion of distress in children,
  9      A So I had concerns about it during the               9 that -- what about if you have a child who is only
 10 process because I didn't see what -- the purpose of       10 distressed -- let's say on puberty blockers, not
 11 it for a diagnosis when you're talking about              11 progressing in puberty, and in that state, they're
 12 prepubertal children who weren't getting specific         12 not -- or it could even be before puberty starts,
 13 treatment for gender incongruence the way                 13 and they're supported in their trans identity.
 14 adolescents and adults were.                              14        So under those circumstances, the distress
 15         And so I've had concern of -- others have         15 might be anticipatory as opposed to -- you know,
 16 raised the question of what is the purpose of the         16 anticipating the -- they might be very anxious about
 17 diagnosis, and I shared their concerns.                   17 the fact that puberty is about to start as opposed
 18      Q What is the harm of having the diagnosis?          18 to puberty having started, and some debate about --
 19      A So the potential harm would be -- and I            19 you know, that there has been about letting kind of
 20 think particularly if it were applying to                 20 puberty start first versus not. I've seen that
 21 gender-diverse youth more generally -- is that it         21 argument.
 22 could subject similar people who are gender-diverse,      22        I don't know about -- if you had no
 23 whether they -- children -- whether trans or not, or      23 distress about your sex assigned as birth, why you
 24 gay or lesbian, to conversion practices.                  24 would go through the considerable difficulties of
 25         And there had been a historical precedent         25 transitioning.
                                                   Page 235                                                     Page 237
  1 for that which was, after homosexuality was removed        1        And so I do think that distress with one's
  2 from the DSM and GID of children was introduced to         2 sex assigned at birth is part of what I see my
  3 the DSM, GID of children was the diagnosis used for        3 patients experience.
  4 billing for conversion practices in children.              4 BY MR. RAMER:
  5        So I think that there was an open question          5     Q But doesn't the ICD omit distress as a
  6 there about the kind of risks versus benefits of           6 requirement for the gender incongruence designation?
  7 having it as a diagnosis before there was specific         7        MR. LANNIN: Object to the form.
  8 treatment, and also whether it was maybe                   8        THE WITNESS: Yes, and -- but when
  9 pathologizing in a way when the interventions were         9 treatment is discussed, whether it's in
 10 really about supporting the child and the family,         10 Standards of Care 8 or whether it's in European
 11 again, prepubertally.                                     11 guidance -- I'm thinking about reading some of this
 12      Q Do you think individuals should be                 12 German country's guidance that they've released, I
 13 permitted to obtain gender-affirming medical              13 think that's where I read it -- but they do make the
 14 interventions even if they are not suffering from         14 point of -- in evaluating someone, they're looking
 15 debilitating distress?                                    15 for gender incongruence with distress even though
 16        MR. LANNIN: Object to the form.                    16 the distress is not part of the diagnosis.
 17        THE WITNESS: So in my experience, people           17 BY MR. RAMER:
 18 who are -- who are seeking care are doing so because      18     Q And what does it mean for an intervention
 19 of the distress of gender dysphoria.                      19 to be medically necessary?
 20        So I think that that is, you know, kind of         20        MR. LANNIN: Object to the form.
 21 a reasonable part of our practice as it stands now.       21        You can answer.
 22 BY MR. RAMER:                                             22        THE WITNESS: A medically necessary
 23      Q But do you think it's possible an                  23 intervention is one that, based on -- a clinician
 24 individual could conclude that they would have a          24 makes a determination that a treatment for their
 25 better quality of life as the other gender even if        25 patient is necessary based on community practice and

                                                                                                60 (Pages 234 - 237)
                                            Veritext Legal Solutions
877-373-3660                                                                                            800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 62 of 68

                                               CONFIDENTIAL
                                                  Page 238                                                    Page 240
  1 the scientific literature that's out there.           1 Standards of Care 8 as opposed to a -- having a
  2 BY MR. RAMER:                                         2 revision that was really separately by the board.
  3      Q And what is the significance of an             3 BY MR. RAMER:
  4 intervention being labeled "medically necessary"? 4         Q Did you help draft the revised statement
  5        MR. LANNIN: Object to the form.                5 of medical necessity for the SOC-8?
  6        THE WITNESS: So the significance is            6     A Yes.
  7 that -- whether it's insurance or certain government 7      Q How did you determine what interventions
  8 programs like the provision of healthcare in          8 qualified as medically necessary interventions?
  9 prisons, generally in the provision of healthcare,    9        MR. LANNIN: Object to the form.
 10 it's medically necessary care that's provided when 10          THE WITNESS: So there already -- there
 11 they make the determination of what healthcare is 11 had already been a list from 2016, and it basically
 12 covered or provided.                                 12 was a list of interventions that there was
 13 BY MR. RAMER:                                        13 scientific evidence of benefit and that the experts
 14      Q And so a determination of medical             14 involved believed were used as treatments for gender
 15 necessity is relevant to insurance reimbursement, 15 dysphoria.
 16 correct?                                             16        And I had a particular concern that I
 17      A Yes, to insurance reimbursement and kind 17 didn't think the 2016 version was just very well
 18 of institutional coverage.                           18 written grammatically and wanted to make sure that
 19      Q Is it relevant to court decisions?            19 it was clear.
 20        MR. LANNIN: Object to the form.               20        And so I was part of the conversation that
 21        You can answer.                               21 the editor of Standards of Care 8 consulted with
 22        THE WITNESS: So there have been court 22 several people on how -- how that should be -- how
 23 decisions on -- that relate to the medical necessity 23 that revised statement should be put in
 24 of a particular intervention because that's what's 24 Standards of Care 8.
 25 covered, for example, by a state's insurance or      25 ///
                                                  Page 239                                                    Page 241
  1 Medicaid's insurance plan or private insurance, that      1 BY MR. RAMER:
  2 they are saying they are covering medically               2     Q As a general matter, not necessarily in
  3 necessary care.                                           3 the context of gender-affirming care but medicine
  4 BY MR. RAMER:                                             4 more generally, what ordinarily happens when a
  5     Q Does SOC-8 contain a statement of medical           5 patient needs medically necessary care but is unable
  6 necessity?                                                6 to consent to that care?
  7     A Yes.                                                7        MR. LANNIN: Object to the form.
  8     Q Why?                                                8        THE WITNESS: So if the person is unable
  9        MR. LANNIN: Object to the form.                    9 to consent, there -- there is either a person with
 10        You can answer.                                   10 legal authority to consent for them, or, for
 11        THE WITNESS: So WPATH, for many years,            11 example, in San Francisco, there's a public guardian
 12 has periodically put out statements about the            12 who can consent for people.
 13 medical necessity of -- of interventions that are        13        And so there's -- there may be -- in
 14 treatments of gender dysphoria. And the last one         14 emergency situations, it may just be the doctors,
 15 that they put out was in 2016. And medical               15 you know.
 16 necessity had been mentioned in prior standards of       16        I did consultation liaison psychiatry in
 17 care, but it had generally been done as a separate       17 the hospital. And, you know, if somebody needed an
 18 statement.                                               18 intervention but couldn't -- you know, was
 19        In 2016 when the statement was put out as         19 unresponsive, they would usually do the -- you know,
 20 a separate statement, there was conversation that        20 the intervention that was necessary to save the
 21 the next revision of that statement should happen        21 person's life even if they didn't, you know, know
 22 with Standards of Care 8.                                22 who the surrogate decision-maker was.
 23        And so it was included -- the revision of         23        But then if somebody needed ongoing care,
 24 that statement, which was a detailed statement about     24 then they would identify the legal documents of who
 25 medical necessity, would be included in                  25 consents when that person lacks capacity to consent.

                                                                                              61 (Pages 238 - 241)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 63 of 68

                                                CONFIDENTIAL
                                                  Page 242                                                    Page 244
  1 BY MR. RAMER:                                             1 BY MR. RAMER:
  2      Q Do those same principles apply in the              2      Q And I'd like to go to page 3.
  3 context of gender-affirming medical interventions?        3      A Yes.
  4      A Yes.                                               4      Q And in particular, it looks like, on these
  5         I would say in the context of -- I think          5 slides, you're describing -- I don't know if you'd
  6 it may be more difficult if you're talking about          6 call them "case studies," but examples of --
  7 people with the initiation of care.                       7      A Yes.
  8         But if -- if there is someone who, let's          8      Q -- situations, correct?
  9 say, is transgender and on hormones and then loses        9      A Yes. Examples that either I have been
 10 the capacity to continue to consent to care, you         10 involved in, or have been brought to me, of when the
 11 know, it might be a surrogate decision-maker who         11 "well-controlled" term was confusing or not useful
 12 might make that decision.                                12 to the people involved.
 13      Q Have you ever seen a situation where a            13      Q And up on -- it's labeled "Slide 5," the
 14 surrogate decision-maker consented for the               14 first bullet, No. 5; do you see that?
 15 initiation of gender-affirming medical                   15      A Yes.
 16 interventions?                                           16      Q It refers to a "Patient in state forensic
 17      A I have not.                                       17 hospital with DID."
 18      Q And what happens in a situation, in the           18      A Yes.
 19 context of gender-affirming medical care, when a         19      Q What is DID?
 20 parent consents but a minor is unable to provide         20      A That's dissociative identity disorder.
 21 informed assent for any reason?                          21      Q Can you explain what that is?
 22         MR. LANNIN: Object to the form.                  22      A So it is a DSM diagnosis where someone has
 23         THE WITNESS: So that might be one for an         23 dissociative disorder to the extent where they -- in
 24 ethics committee meeting.                                24 the formal DID diagnosis, they have amnestic periods
 25         I haven't -- I haven't been involved in a        25 between these different aspects of self, and --
                                                  Page 243                                                    Page 245
  1 situation like that where the -- where a parent is        1 which are sometimes referred to as "alters."
  2 seeking care that the -- their child is -- lacks          2        In this particular case, once -- there are
  3 capacity to consent for it.                               3 people who do therapy with people with dissociative
  4 BY MR. RAMER:                                             4 identity disorder. And if there's an integration of
  5     Q And what is an ethics committee meeting             5 alters, they no longer have DID; they have something
  6 along the lines you were just describing?                 6 called OSDD, other specified dissociative disorder,
  7     A So just in -- if this is happening in a             7 meaning they have a dissociative disorder, but
  8 medical center, they have -- the medical center has       8 there's no longer amnestic periods between alters.
  9 an ethics committee that meets whenever there's a         9        And so this was a case where there was
 10 challenging case just to make sure that that             10 someone in a forensic hospital who was there for
 11 decision is -- is more kind of broadly thought out       11 years. They had integration of the alters. They
 12 before -- before -- you know, before the decision is     12 were permitted to transition by one treatment team,
 13 made.                                                    13 and then another treatment team took over, another
 14        (Exhibit 22 was marked for identification         14 psychiatrist, who thought that that was a mistake
 15     and is attached hereto.)                             15 and tried to forcibly de-transition that patient.
 16 BY MR. RAMER:                                            16        So it was -- there was an actual case
 17     Q Dr. Karasic, you've been handed what's             17 where -- where this happened; where, in this case,
 18 been marked as Karasic Exhibit 22. This is stamped       18 the person did have a severe mental illness, but
 19 "Confidential," and the Bates stamp in the bottom        19 they did have the capacity to consent to
 20 right is BOEAL_WPATH_139861, correct?                    20 testosterone, but were forced to de-transition
 21     A Yes.                                               21 with -- with very negative results.
 22     Q Is this a slide deck from your                     22     Q And just to go back a little bit, when you
 23 presentation at the WPATH convention in Montreal?        23 refer to an "amnestic period," I assume it's -- the
 24        MR. LANNIN: Object to the form.                   24 root is somehow related to amnesia, and so it has
 25        THE WITNESS: Yes, it looks like it.               25 something to do with --

                                                                                              62 (Pages 242 - 245)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 64 of 68

                                                 CONFIDENTIAL
                                                   Page 246                                                      Page 248
  1     A Yes. So in DID, someone has -- they may              1 present, and they're aware of these aspects being
  2 have alters who -- where they are amnestic for when        2 present, but they're not losing consciousness.
  3 the alters are present. In other words, they arrive        3 They're not, you know, having an amnestic period
  4 somewhere and don't know how they got there.               4 when that alter is present.
  5        And so typically we would say that many of          5     Q And so are there situations where the
  6 those people lack the capacity to make medical             6 individual will name the alters but the alters are
  7 decisions; however, with a lot of work in terms of         7 in co-consciousness?
  8 integrating the alters, they might get to a state          8     A Yes.
  9 where they still might hold the alters in                  9     Q And then how does somebody describe that
 10 co-consciousness, that they still identify them, but      10 experience?
 11 they're no longer having amnesia. And that is often       11        MR. LANNIN: Object to the form.
 12 regarded as a place where -- that they've reached a       12        THE WITNESS: So people describe it in
 13 state where they, again, have capacity to consent.        13 different ways. It is -- it may be complicated even
 14     Q And what is co-consciousness in this                14 these days where -- because there are people who
 15 context?                                                  15 have never received a clinical diagnosis of DID but
 16     A Meaning without amnesia.                            16 kind of identify with this way that their mind
 17     Q And I'm not sure I -- I think you                   17 works.
 18 explained it, but I may have missed it.                   18        That's not a clinical diagnosis, but I
 19        But what is an alter?                              19 think that's out there as well, and kind of
 20     A So an alter is when someone with                    20 complicates it in terms of people describing their
 21 dissociative identity disorder has kind of split off      21 experience.
 22 parts of their consciousness.                             22 BY MR. RAMER:
 23        And so with an amnestic period, they might         23     Q And are there situations where an
 24 be in one particular state where another mental           24 individual's alters can be -- one is male and one is
 25 state doesn't have memory of being in that state.         25 female?
                                                   Page 247                                                      Page 249
  1 And those individual states are called "alters," and       1     A Yes.
  2 sometimes the patient names them.                          2     Q And how do you address that in the context
  3         And so that -- that's what you would call          3 of gender-affirming care?
  4 an "alter."                                                4         MR. LANNIN: Object to the form.
  5      Q When you say the patient names the                  5         THE WITNESS: So you can't -- you can't do
  6 different parts of consciousness, what does that           6 that if you're -- if there's this, like,
  7 look like in practice?                                     7 disorganized dissociative kind of state where
  8         MR. LANNIN: Object to the form.                    8 somebody is having amnestic periods because -- or,
  9         THE WITNESS: So it might look in practice          9 you know, you -- you don't really kind of have a
 10 that -- so in a stage where they're having amnestic       10 handle on what they -- what that person wants.
 11 periods, they might not remember these other              11         But if they have done work in therapy and
 12 experiences. But then with work and integration,          12 there has been this integration of alters, and they
 13 they -- they're no longer having the amnesia, but         13 might still identify these different states of self
 14 they might recognize these individual states of           14 but they're not going in and out of these amnestic
 15 themselves without being amnestic of them.                15 periods, then -- then they -- they may be able to --
 16 BY MR. RAMER:                                             16 be able to have the capacity to consent.
 17      Q So then what does it look like in practice         17         Even acknowledging the continued presence
 18 when the alters are in co-consciousness?                  18 of these altered states of mind, they have this
 19      A So that's just meaning that the person is          19 consistent consciousness that is able, you know,
 20 recognizing that they have these alters, but they         20 to -- that is able to make decisions about -- about
 21 don't -- they're not amnestic between them.               21 gender-related care as well as other medical care.
 22      Q How does a person --                               22 BY MR. RAMER:
 23      A That's how some of those -- some of the            23     Q When you say the alters are integrated, is
 24 folks with OSDD would refer to the alters, that they      24 that the same thing as saying that the alters are in
 25 still feel that these aspects of themselves are           25 co-consciousness?

                                                                                                63 (Pages 246 - 249)
                                             Veritext Legal Solutions
877-373-3660                                                                                             800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 65 of 68

                                               CONFIDENTIAL
                                                  Page 250                                                     Page 252
  1      A Yes. Those are different ways that people          1 for, like, 20 years total before they were released.
  2 have -- that people describe it.                          2         So -- but a skilled therapist can work on
  3      Q And when you have a patient who has alters         3 integrating alters, on building the capacity to cope
  4 that are in co-consciousness, and one alter is male       4 with stressors without dissociating, and trying to
  5 and one alter is female, how do you determine what        5 understand and work through some of the trauma that
  6 the appropriate medical intervention would be?            6 may have led to their starting to dissociate as
  7      A Yeah. So -- so there was an interesting            7 young children.
  8 web survey that was never published because it was        8 BY MR. RAMER:
  9 done by these people who identified as having             9     Q Are children and adolescents diagnosed
 10 dissociative disorders.                                  10 with DID?
 11         And it does appear that very often people        11         MR. LANNIN: Object to the form.
 12 will hide the fact that they have alters of              12         THE WITNESS: Yes, they can be.
 13 different genders from their clinician and, you          13 BY MR. RAMER:
 14 know, go ahead with -- with transition.                  14     Q Have you ever provided gender-affirming
 15         But people, when they've reached a stable        15 medical -- let me backtrack.
 16 mental state, can also reach a state where they have     16         Have you ever provided gender-affirming
 17 the capacity to understand risks and benefits of         17 care for a child or adolescent who was diagnosed
 18 treatment and how to minimize gender dysphoria. And      18 with DID?
 19 that can be through transition, or sometimes             19         MR. LANNIN: Object to the form.
 20 being -- having a nonbinary presentation works best.     20         THE WITNESS: No.
 21 It just depends on the individual.                       21 BY MR. RAMER:
 22      Q Can you describe how you -- so you've             22     Q And am I -- with this example in No. 5
 23 described how it's done improperly, which is the         23 that you were discussing, am I correct in thinking
 24 patient feels forced to hide the alter --                24 that that individual had been found not guilty by
 25      A Yeah.                                             25 reason of insanity?
                                                  Page 251                                                     Page 253
  1     Q -- or one of the alters.                            1     A Yes.
  2        Can you explain how you do it properly?            2     Q And sticking with this slide deck, the
  3 Just because as somebody who is ignorant of this, it      3 same page, the No. 8 refers to, scare quotes,
  4 seems like you would have this tension between a          4 "'Experts' in case over whether gender-affirming
  5 male alter and a female alter.                            5 care for youth should be banned recommends
  6        And I realize that's simplistic; so I'm            6 psychotherapy to help youths accept their bodies as
  7 wondering, can you just explain how you analyze that      7 an alternative to transition," correct?
  8 and arrive at the appropriate intervention?               8     A Yes.
  9     A Yes.                                                9     Q And do you think that psychotherapy to
 10        MR. LANNIN: Object to the form.                   10 help youth accept their bodies as an alternative to
 11        THE WITNESS: And there are therapists who         11 transition is conversion therapy?
 12 particularly specialize in trauma work and are           12        MR. LANNIN: Object to the form.
 13 looking -- typically the people who have these           13        THE WITNESS: So I think in the situation
 14 severe -- have severe dissociation are people who        14 where the patient has a gender dysphoria diagnosis
 15 experience early childhood trauma. And so they           15 that is impairing social, occupational functioning
 16 often do years of work with therapists that are both     16 and causing clinically significant distress, that
 17 in terms of working on addressing trauma and how to      17 recommending psychotherapy for that person is -- is
 18 cope with trauma without dissociation, and then how      18 not indicated.
 19 to kind of integrate different feeling states            19        And so there are people -- there are young
 20 without dissociating.                                    20 people who -- who don't transition, but they're not
 21        And so therapists -- there are therapists         21 in that category of people who have severe and
 22 who, like in the examples that I presented, they         22 long-standing gender dysphoria that relates to parts
 23 have been in -- they are people who have been in         23 of their body.
 24 therapy for -- often for years. The person in the        24        (Exhibit 23 was marked for identification
 25 state forensic hospital had almost daily therapy         25     and is attached hereto.)

                                                                                               64 (Pages 250 - 253)
                                            Veritext Legal Solutions
877-373-3660                                                                                           800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 66 of 68

                                               CONFIDENTIAL
                                                  Page 254                                                    Page 256
  1 BY MR. RAMER:                                         1 should be respectful of those individuals as well.
  2     Q Dr. Karasic, you've been handed what's          2        And that's why I always refer to those
  3 been marked as Karasic Exhibit 23.                    3 people who need medical intervention because of the
  4     A Yes.                                            4 level of distress that they're having, because the
  5     Q And the title is "Initial Clinical              5 people described here are not having that level of
  6 Guidelines for Co-Occurring Autism Spectrum Disorder 6 distress and, therefore, you know, may find that a
  7 and Gender Dysphoria or Incongruence in               7 medical intervention is not for them.
  8 Adolescents," correct?                                8 BY MR. RAMER:
  9     A Yes.                                            9     Q So you don't -- sorry.
 10     Q And you helped author these guidelines,        10        Is this not recommending psychotherapy to
 11 correct?                                             11 help these individuals accept their bodies as an
 12     A Yes.                                           12 alternative to transition?
 13     Q I'd like to go to page 111. The page           13        MR. LANNIN: Object to the form.
 14 numbers are on the inside.                           14        THE WITNESS: No, it's something
 15        And in the left column, second full           15 different.
 16 paragraph, a little over halfway down, there's a     16        This is specifically referring to, as it
 17 sentence that begins with, "By providing concrete."  17 says, "people who may realize that full gender
 18        Do you see that?                              18 transition does not fit them."
 19     A Yes.                                           19        And so it's specifically referring to
 20     Q And I'm just going to read those two           20 nonbinary people and helping them figure out what
 21 sentences and ask if I read them correctly first.    21 interventions they may or may not need, and that may
 22        It says, "By providing concrete               22 or may not be a medical intervention.
 23 psychoeducation about how gender for some people can 23        And there certainly are people who don't
 24 be fluid, not just binary and physical, and          24 need a medical intervention. As I said, that's why
 25 concurrent intervention targeting flexible thinking  25 I refer to when -- when somebody is saying it's an
                                                  Page 255                                                    Page 257
  1 and self-awareness, some individuals with less            1 alternative to providing gender-affirming care,
  2 urgent gender presentations may realize that full         2 that, you know, it's okay to ban gender-affirming
  3 gender transition does not fit them. These young          3 care because you can just provide everyone with
  4 people may become more comfortable with a less            4 psychotherapy, there's no evidence that that is
  5 binary solution, such as maintaining a female body        5 effective.
  6 while expressing some male-typical                        6        That's something different than saying
  7 interests/behaviors."                                     7 that there are individuals, especially nonbinary
  8        Did I read that correctly?                         8 individuals, who -- who should work with a therapist
  9     A Yes.                                                9 in terms of kind of better understanding what care
 10     Q Do you think this type of psychoeducation          10 they need and, you know, certainly that care might
 11 and concurrent intervention that you're describing       11 not involve any medical care.
 12 here should be used with individuals who do not have     12 BY MR. RAMER:
 13 an ASD?                                                  13     Q You've been saying "nonbinary." Do you
 14        MR. LANNIN: Object to the form.                   14 mean individuals with ASDs, or do you mean --
 15        THE WITNESS: So I have quite a number of          15     A No.
 16 patients who don't transition, who I've treated for      16     Q -- nonbinary?
 17 their psychiatric illness, who are generally             17        MR. LANNIN: Object to the form.
 18 nonbinary, don't feel like cross-sex hormones would      18        THE WITNESS: I'm talking about nonbinary
 19 benefit them, or occasionally there have been ones       19 people because you had brought up even people
 20 who have been on them for short periods of time to       20 without ASD. So I transitioned the conversation to
 21 lower their voice, and that was kind of enough.          21 just people generally.
 22        So there are people who don't -- there are        22        So that can apply to people with ASD or
 23 many people who are on some kind of spectrum, as         23 not -- people without ASD, but that there are people
 24 this sentence says, who might have other needs other     24 who -- there are people who don't need medical
 25 than traditional binary transition. And so one           25 intervention, and that's why a more involved

                                                                                              65 (Pages 254 - 257)
                                            Veritext Legal Solutions
877-373-3660                                                                                          800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 67 of 68

                                             CONFIDENTIAL
                                               Page 258                                                   Page 260
  1 assessment for adolescents is important, and why     1        I'll turn it over to your counsel.
  2 Standards of Care 8 separates the interventions --   2        MR. LANNIN: Any questions for the
  3 the evaluation for adolescents from the              3 plaintiffs?
  4 evaluations -- the evaluation for adults, because    4        MR. STOLL: Just one question.
  5 that is more typically an issue in adolescents.      5                EXAMINATION
  6        MR. RAMER: We've been going for a while,      6 BY MR. STOLL:
  7 and I presume I'm probably pretty close. Do you      7     Q Dr. Karasic, has anything that you've seen
  8 mind if we take a short break?                       8 or heard today changed any of your opinions
  9        MR. LANNIN: Not at all. By my count, you      9 expressed in your report in this matter?
 10 have five minutes.                                  10     A No.
 11        THE VIDEO OPERATOR: Going off the record, 11           MR. STOLL: That's it. Thank you.
 12 the time is 5:27 p.m.                               12        THE REPORTER: Counsel, would you like a
 13        (Recess, 5:27 p.m. - 5:32 p.m.)              13 copy?
 14        THE VIDEO OPERATOR: Back on the record. 14             MR. LANNIN: Yes.
 15 The time is 5:32 p.m.                               15        MR. STOLL: Yes.
 16 BY MR. RAMER:                                       16        THE REPORTER: For each of you?
 17     Q Dr. Karasic, have you ever practiced in       17        MR. STOLL: Yes.
 18 Alabama?                                            18        THE REPORTER: Rough drafts or just the
 19     A No.                                           19 final?
 20     Q Are you aware of any gender clinics in        20        MR. STOLL: I'd like a rough.
 21 Alabama?                                            21        THE REPORTER: Okay.
 22     A No.                                           22        MR. LANNIN: I do not need a rough.
 23     Q Have you -- do you have any -- did you        23        THE REPORTER: Okay.
 24 review the medical records of any of the plaintiffs 24        MR. LANNIN: I'll follow -- can we
 25 in this case?                                       25 follow -- can we go off the record?
                                               Page 259                                                   Page 261
  1    A In this case, no.                                 1        But before we go off the record, may I say
  2    Q Are you a neurologist?                            2 this: No questions on behalf of the witness.
  3    A No.                                               3        I know there's a protective order in this
  4    Q Are you a surgeon?                                4 case, and we prefer to provisionally designate this
  5    A No.                                               5 entire transcript as "Confidential" until we have a
  6    Q Are you an endocrinologist?                       6 chance to review it and make timely designations.
  7    A No.                                               7        MR. RAMER: No objection.
  8    Q Are you a urologist?                              8        THE VIDEO OPERATOR: This concludes
  9    A No.                                               9 today's deposition of Dan Karasic, M.D. The number
 10    Q Are you a gynecologist?                          10 of media used was four and will be retained by
 11    A No.                                              11 Veritext Legal Solutions. The time is 5:34 p.m.
 12    Q Are you a --                                     12 We're off the record.
 13    A This is a bullet round.                          13           (TIME NOTED: 5:34 p.m.)
 14    Q Are you a bioethicist?                           14                --o0o--
 15    A No.                                              15
 16    Q Are you a social worker?                         16
 17    A No.                                              17
 18    Q Was Cecilia Dhejne ever part of the              18
 19 "Mental Health" chapter?                              19
 20    A Yes.                                             20
 21    Q Why did she leave?                               21
 22    A She had an illness.                              22
 23       MR. RAMER: And those are all the                23
 24 questions that I have for you, Dr. Karasic. Thank     24
 25 you very much for your time today.                    25

                                                                                          66 (Pages 258 - 261)
                                         Veritext Legal Solutions
877-373-3660                                                                                      800.808.4958
Case 2:22-cv-00184-LCB-CWB Document 592-39 Filed 06/24/24 Page 68 of 68

                                                 CONFIDENTIAL
                                                   Page 262
  1
  2
  3
  4
  5
  6
  7
  8       I, DAN KARASIC, M.D., do hereby declare
  9 under penalty of perjury that I have read the
 10 foregoing transcript; that I have made any
 11 corrections as appear noted, in ink, initialed by
 12 me, or attached hereto; that my testimony as
 13 contained herein, as corrected, is true and correct.
 14       EXECUTED this ______ day of _________,
 15 2024, at __________________, _________________.
 16           (City)         (State)
 17
 18
 19                  __________________________
 20                    DAN KARASIC, M.D.
 21
 22
 23
 24
 25
                                                   Page 263
  1        I, the undersigned, a Certified Shorthand
  2 Reporter of the State of California, do hereby
  3 certify:
  4        That the foregoing proceedings were taken
  5 before me at the time and place herein set forth;
  6 that any witnesses in the foregoing proceedings,
  7 prior to testifying, were administered an oath; that
  8 a record of the proceedings was made by me using
  9 machine shorthand which was thereafter transcribed
 10 under my direction; that the foregoing transcript is
 11 a true record of the testimony given.
 12        Further, that if the foregoing pertains to
 13 the original transcript of a deposition in a Federal
 14 Case, before completion of the proceedings, review
 15 of the transcript [ ] was [X] was not requested.
 16        I further certify I am neither financially
 17 interested in the action nor a relative or employee
 18 of any attorney or any party to this action.
 19        IN WITNESS WHEREOF, I have this date
 20 subscribed my name.
 21 Dated this 13th of may, 2024.
 22
 23
 24
                <%7529,Signature%>
 25              CARLA SOARES
                 CSR No. 5908

                                                                        67 (Pages 262 - 263)
                                             Veritext Legal Solutions
877-373-3660                                                                  800.808.4958
